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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         MCALLEN DIVISION

In Re:                                                              §
                                                                    §
     GARCIA GRAIN TRADING                                           §          Case No. 23-70028-EVR-11
     CORP.,                                                         §
                                                                    §
                                 Debtor.                            §


                 DEBTOR’S ORIGINALFIRST AMENDED CHAPTER 11 PLAN OF
                                  REORGANIZATION

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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

In Re:                                                §
                                                      §
    GARCIA GRAIN TRADING                              §   Case No. 23-70028-EVR-11
    CORP.,                                            §
                                                      §
                         Debtor.                      §


      DEBTOR’S FIRST AMENDED CHAPTER 11 PLAN OF REORGANIZATION

      TO THE HONORABLE EDUARDO V. RODRIGUEZ, U.S. Bankruptcy Judge, and All
Creditors and Parties in Interest:

       NOW COMES, Garcia Grain Trading Corporation (“Garcia Grain” or “Debtor”), the
Debtor-in-Possession in the above-referenced bankruptcy proceeding, and files this its OriginalFirst
Amended Plan of Reorganization and Accompanying(“Plan”). A First Amended Disclosure
Statement. This document is intended to serve the dual purpose of a Plan of Reorganization and a
(“Disclosure Statement as those terms are defined in ”) is simultaneously being filed which must be
approved (including any approved amendments, supplements or attachments) by the Bankruptcy
Code. The Court before any solicitation of the Plan of Reorganization (“Plan”) will set forthmay
proceed. Accordingly, the manner and means by which the Debtor intends to pay its creditors and
reorganize its financial structure so that it can continue operations. The Disclosure Statement
(“Disclosure Statement”) contains information intended to solicit the filing or service of a copy of
this First Amended Plan is not a solicitation of acceptance of thethis Plan until accompanied by
persons who are entitled to vote on confirmation or rejection of the Plan of Reorganization. the
Approved Disclosure Statement




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                                       ARTICLE I
                             OVERVIEW OF PLAN IN CHAPTER 11

        Pursuant to the terms of the Bankruptcy Code, this Disclosure Statement must be approved
by the Bankruptcy Court. Such approval is required by statute and will not constitute a judgment of
the Bankruptcy Court as to the desirability of the Plan or as to the value or suitability of any
consideration offered thereby.

        Contained in the packet of documents which has been sent to you by the Debtor is the
Disclosure Statement, the Plan, the Ballot for Voting on the Plan (the “Ballot”) and the Order
Approving Disclosure Statement and Fixing Time for Filing Acceptance or Rejection of Plan,
Combined with Notice Thereof. Please read all these materials carefully. Please note that for your
vote to be counted, you must: 1) include your name and address, 2) fill in, date, and sign the
enclosed Ballot and 3) return it to the attorney for the Debtor by the date and time specified on the
Ballot.



        A.      Explanation of Chapter 11

        Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Under Chapter11,
an attempt is made to restructure the Debtor’s finances so that the Debtor may continue to operate
their business and repay their creditors. Alternatively, the Chapter 11 Plan may provide for the
liquidation of the Debtor’s assets, with the properties subject to security interests going to the
respective secured creditors and all remaining property satisfying, first, administrative claims and,
secondly, general unsecured claims. Formulation of aThis First Amended Plan of Reorganization
is(“Plan”) will set forth the primary purpose of a reorganization proceeding under Chapter 11.

        Purpose of the Plan. The Debtor has filed contemporaneous hereto its Plan of Reorganization.
The purpose of the Debtor's Plan is to provide a method for the successful reorganization of the
Debtor’s business. The Plan was developed by the Debtor with input from the Committeemanner and
proposes, among other things, the means by which all Claims against the Debtor will be finally
resolved and treated for distribution purposes, consistent with the provisions and priorities mandated
by the Bankruptcy Code. The Plan is essentially a new contract between the Debtor and the Debtor
intends to treat and pay its creditors and reorganize its Creditors, proposed by the Debtor to its
Creditors for approval. Creditors approve or disapprove of the Plan by voting their Ballots on the
Plan, if they are in a Class entitled to vote, and, if appropriate, by objecting to confirmation of the
Plan. However, the Plan can be confirmed by the Bankruptcy Court even if less than all Creditors or
Classes accept the Plan and, in such an instance, the Plan will still be binding on those Creditors or
Classes that reject the Plan. Approval and consummation of the Plan will enable the Bankruptcy
Case to be finally concluded.

       The Debtor believes that the Plan is more attractive than other alternatives, such as
conversion to Chapter 7 liquidation or dismissal of this Bankruptcy Case. The alternatives to the
Plan are more fully discussed in this Disclosure Statement in Article VIII of this Disclosure

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Statement. EACH CREDITOR IS URGED TO READ THE PLAN PRIOR TO VOTING.

        The Chapter 11 Plan sets forth and governs the treatment and rights to be afforded to
creditors, other claimants, and equity interest holders with respect to their claims against, and
interests in the Debtor’s assets. According to Section 1125 of the Bankruptcy Code, acceptances of
a Chapter 11 plan may be solicited only after a written Disclosure Statement approved by the
Bankruptcy Court as containingfinancial structure so that its operations may be continued as a post-
Chapter 11 under a structure designed to allow the maximum payment potential to its creditors. The
Approved Disclosure Statement contains adequate information has been provided to each creditor or
equity interest holder. This Disclosure Statement is presented to creditors and interest holders to
satisfy the disclosure requirements contained in Section 1125 of the Bankruptcy Code.

        B.       Disclosure Statement

       Why You Have Received This Disclosure Statement. You have received this Disclosure
Statement because the Debtor has proposed a Plan with the Bankruptcy Court to satisfy its debts and
provide for reorganization of its business. The Bankruptcy Court held a hearing and approved this
Disclosure Statement on _____________. A copy of the Plan is enclosed with the materials that you
have received. This Disclosure Statement, as required by 11 U.S.C. § 1125, is being provided to all
known Creditors and otherintended to allow the Debtor, interested parties-in-interest whose claims
are impaired in connection with the solicitation and including the Official Committee of Unsecured
Creditors, and any Plan Proponent1, to solicit the acceptance of the Plan proposed by the Debtor.

        Purpose of this Disclosure Statement. The Purpose of this Disclosure Statement is to provide
the Creditors and parties in interest adequate information to make an informed judgment about the
Debtor’s Plan and in exercising their rights either to accept or reject the Plan. Generally, this
information includes, among other matters, a brief history of the Debtor, a history of Chapter 11
case, a description of the remaining assets and liabilities of the Debtor, an explanation of how the
Plan will function and an explanation of why the reorganization of the Debtor under the proposed
Plan should result in a greater benefit to the Creditors than if the Chapter 11 case was converted to a
Chapter 7 case and a Chapter 7 Trustee was appointed.

        Sources of Information. The information contained in this Disclosure Statement has been
submitted by the Debtor unless specifically stated to be from other sources. Certain of the materials
contained in this Disclosure Statement are taken directly from other, readily accessible instruments
or are digests of other instruments. While the Debtor has made every effort to retain the meaning of
such other instruments or the portions transposed, the Debtor urges that any reliance on the contents
of such other instrument should depend on a thorough review of the instruments themselves.

        Only Authorized Disclosure. No representations concerning the Plan are authorized by the


1       Other than the Debtor, is anticipated that GrainChain, Inc. will be the only Plan Proponent.



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Debtor or the Bankruptcy Court other than as set forth in this Disclosure Statement. Any
representations or inducements made by any person to secure your vote which are other than herein
contained should not be relied upon, and such representations or inducements should be reported to
counsel for the Debtor,persons who shall deliver such information to the Bankruptcy Court.

        Voting on the Plan. YOUR ACCEPTANCE OF THE PLAN IS IMPORTANT. A
Creditor or Equity Interest Holder, in order to vote on the Plan, must have filed a proof of claim or
interest on or before the Bar Date, unless the Debtor did not schedule the claim as Disputed,
Unliquidated or Contingent. Any Creditor whose Claim is not scheduled as Disputed, Unliquidated
or Contingent is, to the extent scheduled, deemed to have filed a Claim and, absent objection, such
Claim is deemed Allowed. A Creditor or Equity Interest Holder may vote to accept or reject the
Plan by filling out and mailing to counsel for the Debtor the Ballot which has been provided in this
package of information.

         In order for the Plan to be accepted by a class of Creditors, more than one half in number and
at least two-thirds in amount of such class of Claims must vote to accept the Plan. Only those Claim
Holders that actually vote are considered in the calculations. In order for the Plan to be accepted by
Equity Interest Holders, at least two-thirds in number of interests must vote to accept the plan.
Again, only voting Equity Interest Holders are considered in the calculation. You are, therefore,
urged to fill in, date, sign and promptly mail, email and/or fax the enclosed Ballot which has been
furnished to you to counsel for the Debtor as follows:

                                       David R. Langston
                                MULLIN HOARD & BROWN, L.L.P.
                                         P.O. Box 2585
                                   Lubbock, Texas 79408-2585
                                     Email: drl@mhba.com
                                    Facsimile: 806-765-0553

      The Court has fixed November __, 2023, as the last date by which Ballots must be served on
counsel for the Debtor. Except to the extent allowed by the Bankruptcy Court, Ballots that are
received after such time will not be counted. Ballots of Holders of Impaired Claims received
pursuant to this solicitation and which are signed but are not expressly voted for are entitled to vote
on acceptance or rejection of the Plan will be counted as Ballots for accepting the Plan. A Ballot
accepting the Plan may not be revoked, except by order of the Bankruptcy Court.confirmation of the
Plan of Reorganization.

        Whether a Creditor votes on the Plan or not, each creditor will be bound by the terms and
treatments set forth in the confirmed Plan that is accepted by the requisite majorities of creditors and
is confirmed by the Court, or as confirmed by the Court pursuant to the provisions of 11 U.S.C.
§ 1129(b). Absent some affirmative act constituting a vote, a Creditor not voting on the Plan will not
be included in the tally. Allowance of a claim for voting purposes does not necessarily mean that all
or a portion of the claim will be allowed for distribution purposes.

       You are urged to fill in, date, sign and properly mail in duplicate the enclosed ballot, which
has been provided. Be sure to properly complete and legibly identify the name of the creditor, the
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class in which you believe the claim is treated in the Plan, the amount of the claim, and indicate
whether you are voting for or against confirmation of the Plan. Representatives of the Debtor or
creditors of the Debtor may solicit your vote. The cost of any solicitation by the Debtor will be borne
by the Debtor. Likewise, the solicitation costs of competing plan proponents will be borne by the
parties proposing the competing plan.
        C. Creditors Entitled to Vote. Any creditor whose claim is impaired under the Plan is
entitled to vote, if either i) its claim has been scheduled by the Debtors and such claim is not
scheduled as disputed, contingent, or unliquidated, or ii) it has filed a proof of claim on or before the
last date set by the Bankruptcy Court for such filings. Any claim as to which an objection has been
filed and such objection is still pending is not entitled to vote, unless the Bankruptcy Court
temporarily allowed the claim in an amount which it deems proper for the purpose of accepting or
rejecting the Plan upon application by the creditor. Such application must be heard and determined
by the Bankruptcy Court at such time as specified by the Bankruptcy Court. A creditor's vote may
be disregarded if the Bankruptcy Court determines that the creditor's acceptance or rejection was not
solicited or procured in good faith or in accordance with the provisions of the Bankruptcy Court.
       D, Definition of Impairment. Under Section 1124 of the Bankruptcy Code, a class of
claims or equity security interests is impaired under a Chapter 11 Plan unless, with respect to each
claim or interest of such class, the Plan:
              a. Leaves unaltered the legal, equitable, and contractual rights of the holder of such
                 claim or equity security interest; or
              b. Notwithstanding any contractual provision or applicable law that entitled the holder
                 of a claim or equity security interests to receive accelerated payment of his claim or
                 equity security interests after the occurrence of a default:
                     1.     Cures any such default that occurred before or after the commencement of
                            the case under the Bankruptcy Code, other than a default that consists of a
                            breach of any provisions relating to the insolvency or financial condition
                            of the Debtors at any time before the closing of the case, the
                            commencement of a case under the Bankruptcy Code, or the appointment
                            of or taking possession by a trustee in a case under the Bankruptcy Code;

                     2.     Reinstates the maturity of such claim or equity security interest as it
                            existed before the default;

                     3.     Compensates the holder of such claim or equity security interest for
                            damages incurred as a result of reasonable reliance on such contractual
                            provisions or applicable law; and
                     4.     Does not otherwise alter the legal, equitable, or contractual rights to which
                            such claim or equity security interest entitles the holder of such claim or
                            equity security interest; or
              c. Provides that, on the effective date of the Plan of Reorganization, the holder of such
                 claim or equity security interest receives on account of such claims or equity
                 security interest, cash equal to:

                     1.     With respect to a claim, the allowed amount of such claim

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                     2.     With respect to any equity security interest, if applicable, the greater of:

                            i.     Any applicable fixed liquidation preference; or

                            ii.    Any fixed price at which the Debtors, under the terms of the
                                   security, may redeem the security.

      E.     Classes Impaired. Classes Three, Four, Six, Seven, Eight, Nine, Ten, and Eleven are
all impaired under the treatment afforded the Creditors in these classes under the provisions of the
Plan.
       F.     Votes Required for Class Acceptance. The Bankruptcy Code defines acceptance of a
Plan by a class of creditors or equity security interests holders as acceptance by holders of two-thirds
in dollar amount and a majority in number of the claims or equity security interests of that class
which actually cast ballots for acceptance or rejection of the Plan; i.e., acceptance takes place only if
sixty-six and two-thirds percent (66 2/3%) in amount of claims and equity security interests in each
class and more than fifty percent (50%) of claims or equity security interests voting in each class cast
their ballots in favor of acceptance.

       NOTICE
                          ARTICLE I
SUMMARY OF HEARING ON CONFIRMATION

NOTICE IS HEREBY GIVEN THAT THE COURT HAS SCHEDULED A HEARING TO
 DETERMINE WHETHER OR NOT THE PLAN SHOULD BE CONFIRMED ON THE
    _DAY OF NOVEMBER, AT    .M., IN THE UNITED STATES BANKRUPTCY
 COURTROOM. YOU HAVE A RIGHT TO ATTEND THE HEARING AND PRESENT
 TO THE COURT YOUR ARGUMENTS EITHER IN FAVOR OF OR IN OPPOSITION
                   TO CONFIRMATION OF THE PLAN.

The hearing will be held via Go to Meeting. To participate electronically, parties must follow the
instructions set forth on Judge Rodriguez’s web page located at:
 https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-eduardo-v-rodriguez.
Parties are additionally instructed to: (i) call in utilizing the dial-in-number for hearings before Judge
Rodriguez at 832-917-1510, conference room number 999276 and (ii) log on to GoToMeeting for
video appearances and witness testimony, utilizing conference code: judgerodriguez.

Parties MUST HAVE TWO SEPARATE DEVICES to appear by video and telephonically. One
device will be used to log on to GoToMeeting and the other will be used to call the telephonic
conference line.

        NOTICE OF THE FIXING OF A BAR DATE AND THE REQUIREMENTS
                    FOR FILING AND ALLOWANCE OF CLAIMS

     NOTICE IS HEREBY GIVEN that the Court set June 20, 2023, as the last day upon
which proofs of claim can be filed with the Court for the Debtor’s case.


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        DISCLOSURE OF EFFECT OF COURT'S APPROVAL OF Overview of the Plan.
        THIS OVERVIEW DOES NOT REPLACE A THOROUGH READING OF THE
                              DISCLOSURE
          STATEMENT AND OF THE ACCURACY OF THE REPRESENTATIONS
       CONTAINED IN A READING OF THIS DISCLOSURE STATEMENT:PLAN.
    COURT APPROVAL OF THE DISCLOSURE STATEMENT DOES NOT CONSTITUTE
AN ENDORSEMENT OF ANY OF THE REPRESENTATIONS CONTAINED IN EITHER THE
DISCLOSURE STATEMENT OR THE PLAN, NOR DOES COURT APPROVAL OF THE
DISCLOSURE STATEMENT CONSTITUTE AN ENDORSEMENT OF THE PLAN ITSELF.
APPROVAL OF THE DISCLOSURE STATEMENT BY THE COURT REPRESENTS A
DETERMINATION THAT THE DISCLOSURE STATEMENT CONTAINS "ADEQUATE
INFORMATION" OF A KIND, AND IN SUFFICIENT DETAIL, AS REQUIRED BY 11 U.S.C.
SECTION 1125 AS IS REASONABLY PRACTICABLE IN LIGHT OF THE NATURE AND
HISTORY OF THE DEBTORS AND THE CONDITION OF THE DEBTORS’ BOOKS AND
RECORDS, THAT WOULD ENABLE A HYPOTHETICAL REASONABLE INVESTOR
TYPICAL OF HOLDERS OF CLAIMS OR INTERESTS OF THE RELEVANT CLASS TO
MAKE AN INFORMED JUDGMENT ABOUT THE PLAN.
    THE DEBTORS SEEK AN AFFIRMATIVE VOTE FROM EACH CLASS AND EACH
HOLDER OF A CLAIM IN THIS BANKRUPTCY PROCEEDING. THE BALLOT THAT YOU
WILL RECEIVE PERMITS YOU TO ACCEPT OR REJECT THE PLAN.

    EXCEPT WHERE SPECIFICALLY STATED OTHERWISE, ALL OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS BEEN PREPARED
BY THE DEBTORS OR OBTAINED FROM THEIR RECORDS AND FILES. THE
PROJECTIONS CONTAINED IN THIS DISCLOSURE STATEMENT ARE BASED UPON THE
BEST INFORMATION AVAILABLE TO THE DEBTORS AT THE TIME THAT THE
DISCLOSURE STATEMENT WAS PREPARED.

    THE DEBTORS FAVOR ACCEPTANCE OF THE PLAN AND BELIEVE THAT
CONFIRMATION OF THE PLAN WOULD REALIZE PAYMENT OF LARGER DIVIDENDS
TO CREDITORS THAN COULD BE OBTAINED THROUGH A CHAPTER 7 LIQUIDATION.
SUCH CONCLUSION IS BASED ON INFORMATION IN THE POSSESSION OF THE
DEBTORS AT THE TIME THE DISCLOSURE STATEMENT AND PLAN WAS PREPARED.
    WHILE THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS
NOT BEEN AUDITED OR VERIFIED EXCEPT WHERE SPECIFICALLY STATED, AND THE
RECORDS KEPT BY THE DEBTORS ARE NOT REPRESENTED TO BE WITHOUT ANY
INACCURACY OR OMISSION, THE DEBTORS FIRMLY BELIEVE THAT EVERY EFFORT
HAS BEEN MADE TO BE ACCURATE AND COMPLETE.
       G. CRAMDOWN. If any impaired class of claims does not accept the Plan, the
Bankruptcy Court may still confirm the Plan at the request of the Debtors if, as to each impaired
class that has not accepted the Plan, the Plan "does not discriminate unfairly" and is "fair and
equitable." A Plan of Reorganization does not discriminate unfairly within the meaning of the
Bankruptcy Code if no class receives more than it is legally entitled to receive for its claims or
equity security interests. "Fair and equitable" has different meanings for secured claims and
unsecured claims.

      With respect to a secured claim, "fair and equitable" means either: i) the impaired secured
creditor retains its liens to the extent of its allowed claim and receives deferred cash payments at

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least equal to the allowed amount of its claim with a present value on the effective date of the Plan
at least equal to the value of such secured creditor's interest in the property securing its liens; or ii)
property subject to the lien of the impaired secured creditors is sold free and clear of that lien, with
that lien attaching to the proceeds of the sale, and such lien proceeds must be treated in accordance
with clauses (i) and (iii) hereof; or iii) the impaired secured creditor realizes the "indubitable
equivalent" of its claim under the Plan.

        With respect to an unsecured claim, "fair and equitable" means either i) each impaired
unsecured creditor receives or retains property of a value equal to the amount of its allowed claim; or
ii) the holders of the claims and equity security interests that are junior to the claims of the dissenting
class will not receive any property under the Plan.

       In the event one or more classes of impaired claims rejects the Plan, the Bankruptcy Court will
determine at the hearing for confirmation of the Plan whether the Plan is fair and equitable and does
not discriminate unfairly against any rejecting impaired class of claims. If the Bankruptcy Court
determines that the Plan is fair and equitable and does not discriminate unfairly against any rejecting
impaired class of claims, the Bankruptcy Court can confirm the Plan over the objection of any
impaired class.
               The Plan provides for a reorganization of the Debtor and for the resolution and
treatment of outstanding Claims and Equity Interests and payments to creditors. The Plan provides
for the Debtor to transfer its issued and outstanding stock to the Plan Trust created herein, and to
eventually dissolve its organizational structure following confirmation – with the result being all of
its assets transferred to a Plan Trust or to a new entity (“New Co.”) that owns and holds those assets
subject to the terms of this Plan. In other words, the Plan does not provide for the continued
operations of Garcia Grain Trading Corp. as an ongoing Texas corporation. Instead, the Plan
contemplates operations by New Co. that will supervise operations, work with the Plan Agent, and
will pay over net profits to the Plan Trust Agent (the “Plan Agent”) to be distributed to the holders
of unsecured claims over the 5-year term of the Plan. The Plan Agent and New Co. will also work to
realize the highest obtainable price for the assets to be contributed to the Plan Trust and to be sold in
accordance with this Plan and when sold, the net proceeds to be distributed by the Plan Trust to
Creditors who are the Beneficiaries of the Plan Trust.

       Payments to Creditors. The Plan provides for Creditors to be paid as provided in Article V
herein. All Creditors of the Debtor will be paid as provided in accordance with the priority scheme
established by the Bankruptcy Code. PLEASE CONSULT ARTICLE V FOR SEPARATE
INFORMATION REGARDING THE SPECIFIC TREATMENT OF YOUR CLAIM. ALL
HOLDERS OF CLAIMS AND EQUITY INTERESTS ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO
ACCEPT OR REJECT THE PLAN.

                                      ARTICLE II
                             INTRODUCTION TO DEBTOR’S PLAN

A.   Function and Purpose of the Plan of ReorganizationDEFINITIONS, RULES OF
INTERPRETATION AND COMPUTATION OF TIME

       A.     FUNCTION AND PURPOSE OF THE PLAN OF REORGANIZATION

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       The Chapter 11 Plan sets forth and governs the treatment and rights to be afforded to creditors,
other claimants, and equity interest holders with respect to their claims against, and interests in the
Debtor’s assets. According to Section 1125 of the Bankruptcy Code, acceptances of a Chapter 11
Plan may be solicited only after a written Disclosure Statement approved by the Bankruptcy Court as
containing adequate information has been provided to each creditor or equity interest holder. This
Plan and accompanying Disclosure Statement is presented to creditors and interest holders to satisfy
the disclosure requirements contained in Section 1125 of the Bankruptcy Code.

       The Debtor believes the Plan and the Disclosure Statement contain adequate information –
that is, information of a kind and in sufficient detail, as far as is reasonably practical in light of the
nature and history of the Debtor and the condition of the Debtor’s books and records, that would
enable a hypothetical reasonable investor typical of the holders of claims or interests of the relevant
class to make an informed judgment about the Plan.
       B. History of the Debtor and Background Information Related to Need for Financial
       Reorganization.

            1. The Debtor

        Garcia Grain filed for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas,
McAllen Division (the “Bankruptcy Court”), on February 17, 2023 (the “Petition Date”). Since that
time, the Debtor has continued to operate as Debtor-in-Possession pursuant to the provisions of
Sections 1107 and 1108 of the Bankruptcy Code.

         The Debtor was incorporated on June 22, 1998, by Octavio Garcia, Rodolfo Plascencia, Sr.
and Baldemar Salinas Cantu for the purpose of operating licensed grain storage facilities in the Rio
Grande Valley and Coastal Bend regions of the State of Texas. The Debtor originally owned and
operated grain storage facilities located at Progreso, Texas, and then it acquired additional grain
facilities in Donna, Edcouch, Alamo, and Santa Rosa, Texas.

         Each of these storage facilities were bonded and licensed by the Texas Department of
Agriculture (the “TDA”). The total of the surety bonds issued by Harco National Insurance Co. for
each of the public grain warehouses in the possession of the TDA on the Petition Date for each
facility is set forth in the following chart:

Location of the Public Grain Warehouse                     Penal Sum of Bond Date of Last Rider
Progreso, Texas                                               $1,009,750                  6/01/2022
Santa Rosa and Donna, Texas                                     $739,200                  6/01/2022
Edcouch, Texas                                                  $406,700                  6/01/2022
Alamo, Texas                                                    $242,200                  6/01/2022
TOTAL                                                         $2,397,850

      The laws of the State of Texas require that all public grain warehouses be bonded prior to the
TDA issuing them a license to operate.

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        In summary, these bonding requirements are as follows:

Tex. Agric. Code Ann. § 14.031 requires that each applicant for a license to warehouse grain
“shall file or have on file a bond” with the Department.

    (a) In accordance with this section, each applicant for a license shall file or have on file a
    bond with the department.

    (b) The bond must:

        (1) be payable to the State of Texas;
        (2) be executed by the applicant as principal;
        (3) be issued by a corporate surety licensed to do business as surety in the State of Texas;
        and

        (4) be in a form and contain terms and conditions prescribed by the department.
Tex. Agric. Code Ann. § 14.031 (West).

        These bonds are tied to the location of each public grain warehouse.


Tex. Agric. Code Ann. § 14.031 (f)

“Except as provided by department rule, the applicant must give a single bond meeting the
requirements of this section to cover warehouses licensed as a single facility or combination. A
single bond may not be used to cover more than one individually licensed facility, more than one
combination, or one or more individually licensed facilities and one or more combinations.”

      The bonds are in place for the benefit of those persons that meet the definition of a
“Depositor.”

    Tex. Agric. Code Ann. § 14.001 defines “depositor” as follows:

    “(1) “Depositor” means a person who:
           (A) delivers grain to a public grain warehouse for storing of the grain for hire, handling
           of the grain for hire, or shipping of the grain for hire;
           (B) is the owner or legal holder of an outstanding receipt for grain stored in the public
           grain warehouse issuing the receipt; or
           (C) is lawfully entitled to possession of grain stored in a public grain warehouse.”
Tex. Agric. Code Ann. § 14.001 (West).

        These statutes requiring public grain warehouses to be bonded by a corporate surety licensed

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in the State of Texas are in place to indemnify or guarantee recourse for “depositors” if their grain is
lost or otherwise disposed of without the warehouse honoring the “depositors’” right to possession of
the grain.

        The Debtor’s business operations historically have consisted of buying, storing, and selling
feed grains, primarily corn and grain sorghum, within the United States and Mexico. The Debtor has
also traded in edible beans and oilseeds, such as black beans, pinto beans, sunflower seeds, sesame
seeds, and canola as well. In addition, the Debtor has regularly purchased grain and milo from
farmers in the United States to be exported into the country of Mexico where they were used by
livestock feed operators and other businesses.

        Over the years during which the Debtor was operating, it was the normal course of business
for the Debtor to purchase properties with funds derived from the Debtor and then to place the title
to such properties under the names of either its individual shareholders or in entities that were
created and owned by its shareholders. For example, in the case of the Alamo Elevator, it was placed
under the name of “Alamo Grain,” which is a Texas General Partnership with Rodolfo Plascencia,
Octavio Garcia, and Baldemar Salinas Cantu as its general partners, but which was operated solely
with the funds from the Debtor and none of the personal funds of the three partners.

        Likewise, the officers and directors of the Debtor formed or held an interest in affiliated
entities created to own real property or facilitate various aspects of the operations of the Debtor.
Those entities included PSG Products, LLC; Gacia Balli, Ltd.; Garba, LLC; Rio Bravo Imports,
LLC; Alamo Grain, A Texas General Partnership; Val Verde Grain, A Texas General Partnership;
International Earth Products, LLC; IEP Minerals, LLC; IEP Logistics, LLC.

         The Debtor began encountering financial troubles in 2014 related to the difficulty of
financing and managing a large volume of grain operations as well as disputes between individual
officers and directors over suspicious receipts and disbursements from company accounts. These
conflicts lead Octavio Garcia and Baldemar Salinas to take steps to remove Rodolfo Plascencia as an
officer, director, and employee of the company. His removal resulted in five separate lawsuits being
filed by Mr. Plascencia against the company and its remaining officers and directors as well as
several of the related entities in which they held joint ownership. This litigation sought the partition
of properties owned by the company, its individual directors, and several of its related entities.
Ultimately, the parties entered into a Settlement Agreement on July 26, 2022, by which title to the
Alamo Elevator plus another 10-acre tract of real estate and $200,000 was transferred to Rodolfo
Plascencia and his son.

        During the last six months of 2022, the Debtor’s financial condition began to rapidly
deteriorate. A severe drought in the Coastal Bend region of Texas from which the Debtor regularly
acquired a large portion of its grain stocks caused almost a complete failure of the area’s production
of feed grain. In turn, the company encountered significant problems in its cash flow as its grain
operations became increasingly difficult to manage. Toward the end of calendar year 2022 the
Debtor lacked sufficient funds to pay farmers who had sold their grain to the company during the
harvest and began struggling to pay its creditors as the debts became due.

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        2.       Events Leading to Bankruptcy

      To understand the measures that the Debtor will take to make its Original Chapter 11 Plan of
Reorganization successful, a brief history of the Debtor’s operations prior to the filing of the
bankruptcy is necessary.

       During the first days of 2023, the TDA conducted one of its regular audits to make sure there
were sufficient grain stocks in the four public grain warehouses located in Progreso, Santa Rosa/
Donna, and Edcouch to match the outstanding warehouse receipts. The initial audit in January
showed the company had sufficient grain in storage to comply with TDA regulations.

       Later in January one of its major secured creditors, Frost Bank, accelerated the maturity of
the Debtor’s notes and demanded the immediate repayment of approximately $2,200,000 in
outstanding loans. The Debtor was successful in arranging a loan from GrainChain, Inc. to pay the
bank debt in full.

         Then, in late January, TDA conducted another audit of the facilities and discovered
significant deficiencies between the records for warehouse receipts when compared to physical
measurements of the grain. Due to the shortage, TDA pulled all licenses and sealed the grain in all
facilities. No grain could move in or out, and suddenly the Debtor no longer had any means to
generate revenues for its operations.

         Without any ability to pay its creditors, the Debtor elected to seek bankruptcy relief and filed
a petition under chapter 11 of the Bankruptcy Code on February 17, 2023 (“Petition Date”).

        C.      Developments in the Bankruptcy Case and Status of Operations

        1.      Orders Allowing the Use of Cash Collateral, Restoring Operations, and
                Providing for the Use and Disposition of Assets

     The Debtor filed its voluntary petition for relief under chapter 11 of the Bankruptcy Code on
February 17, 2023 (the “Petition Date”),
     B.     DEFINITIONS OF TERMS USED IN THE PLAN AND DISCLOSURE
            STATEMENT

       Scope of Definitions. Unless the context otherwise requires, the following terms used in the
Plan shall have the following meanings. Any term used in this Plan that is not defined below but that
is defined in Title 11 of the United States Code, as amended, shall have the meaning assigned to
such term therein. Any term defined in this Plan not included in this section shall have the meaning
provided in the Plan and Plan usage.

       If any definition of any term used in this Plan and Disclosure Statement is not referenced in
the following Definitions section, then the Bankruptcy Code shall be controlling as to the meaning of
the word. However, if the term is not defined in the Bankruptcy Code, then the plain meaning of the

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word is intended to be used.

General. Unless the context otherwise requires, the following terms used in the Plan shall have the
following meanings. Any term used in this Plan that is not defined below but that is defined in Title
11 of the United States Code, as, shall have the meaning assigned to such term therein.

       2.1 Administrative Claim shall mean any Claim in respect of costs or expenses of
administration for the Proceeding that is allowed under Sections 503 and 507(a) of the Bankruptcy
Code.

       2.2 Affiliates shall mean all persons or entities affiliated with the Debtor pursuant to
Section 101(2) of the Bankruptcy Code.

        2.3 Allowed or Allowed Amount shall mean the amount of any Allowed Claim.

        2.4 Allowed shall mean, when used with respect to a Claim or Equity Interest, means the
Claim or Equity Interest (as applicable) (a) to the extent that it is listed in the Schedules in a
liquidated, non-contingent, and undisputed amount, but only if no proof of Claim or proof of Equity
Interest is Filed with the Bankruptcy Court to evidence such Claim or Equity Interest on or before
the Bar Date; (b) any Equity Interest registered in a Debtor’ books and records as of the Petition
Date; (c) as evidenced by a proof of Claim or proof of Equity Interest Filed on or before the Bar
Date, but only to the extent asserted in a liquidated amount, and only if no objection to the allowance
of the Claim or Equity Interest or no motion to expunge the proof of Claim or Equity Interest is Filed
on or before the Claims Objection Deadline; or (d) to the extent allowed by a Final Order.

        2.5 Allowed Claim shall mean a Claim against the Debtor that (i) is allowed by an Order
which is not stayed on appeal, (ii) is scheduled as liquidated, undisputed and non-contingent by the
Debtor in their schedules filed with the Bankruptcy Court as they may be or supplemented
(collectively the “Schedules”), (iii) is timely filed with the Clerk of the Bankruptcy Court and no
objection has been made to the allowance thereof, (iv) any reconciled contested claim that has been
negotiated to an agreed amount or established by Court Order, or (v) is provided to be allowed by the
terms of this Plan.

       2.6 Allowed Administrative Claim shall mean an Allowed Claim which a Claimant asserts
is an Administrative Claim and is determined to be entitled to priority pursuant to Sections 503 and
507(a)(1) of the Bankruptcy Code.

      2.7 Allowed Priority Claim shall mean an Allowed Claim which a Claimant asserts is an
Administrative Claim and is determined to be entitled to priority under Section 507 of the
Bankruptcy Code.

        2.8 Allowed Secured Claim shall mean an Allowed Claim for which a Claimant asserts and
is determined by an Order not stayed on appeal to hold a valid, perfected and enforceable lien,
security interest or other interest in or encumbrance on property in which the Debtor have an interest


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to the extent of the value, determined in accordance with Section 506(a) of the Bankruptcy Code, of
the Claimant’s interest in the Debtor’s interest in the property.

        2.9 Allowed Unsecured Claim shall mean an Allowed Claim for which the Claimant has
not asserted or is determined by an Order not stayed on appeal not to hold a valid, perfected and
enforceable lien, security interest or other interest in or encumbrance against property of the Debtor
or right to setoff to secure the payment of such Claim.

       2.10 Austin Settlement Conference shall mean the settlement conference that took place on
July 15-16, 2023 among certain key parties and interests over two-days in Austin including the
Debtor, the Secured Creditors (StoneX, Vantage and Falcon), the Contested Secured Creditor
(GrainChain), the Unsecured Creditors Committee, and Octavio Garcia, individually.

        2.11 Avoidance Action shall mean those causes of action such as preferences, fraudulent
transfers and other such avoidance claims arising under section 506, 542, 543, 544, 545, 546, 547,
548, 549, 550, 551 and 553 of the Bankruptcy Code and various state laws.

       2.12 Ballot shall mean the ballot to be delivered with the Disclosure Statement to holders of
Claims and Interests on which such holder will be able to vote to accept or reject the Plan. The
Ballot may be different for holders of the various Claims and Interests.

        2.12.13 Bankruptcy Case shall mean the Debtor’s Bankruptcy Case, commenced by the
filing of a voluntary petition under Chapter 11 of the Bankruptcy Code on February 17, 2023, and
currently pending under Case No. 23-70028-EVR-11 in the U.S. Bankruptcy Court for the Southern
District of Texas, McAllen Division, where it is pending under Case No. 23-70028-EVR-11
(“Bankruptcy Case”). The Bankruptcy Case is presided over by the Honorable Eduardo V.
Rodriguez (“Bankruptcy Judge”)..

       2.14 SinceBankruptcy Code shall mean the filing United States Bankruptcy Code, 11
U.S.C. § 101 et seq. and all amendments thereto.

        2.15 Bankruptcy Court shall mean the United States Bankruptcy Court for the Southern
District of this Texas, McAllen Division.

      2.16 Bankruptcy Clerk shall mean the Clerk of the Bankruptcy Court located at U.S.
Bankruptcy Court, 1701 W. Business Hwy. 83, McAllen, Texas 78501.

       2.17 Bankruptcy Rules shall mean the Federal Rules of Bankruptcy Procedure and all
relevant local rules of the Bankruptcy Court.

       2.18 Bar Date shall mean December 15, 2023, being the deadline ordered by the Bankruptcy
Court for Claimants to file Proofs of Claim in the Bankruptcy Case, the .



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       2.19 Baryta Industrial Tract shall mean a 22-acre tract of real property contiguous to the
Progreso Facility, and legally described as Lion Lake Division Lot Nos. 28 and 29, Hidalgo County,
Texas.

        2.20 Chief Reorganization Officer shall mean Richard S. Schmidt (retired U.S. Bankruptcy
Judge), who was authorized, pursuant to the Court’s Agreed Order entered on August 15, 2023 [Dkt
#429], to serve as the Chief Restructuring Officer (“CRO”) in the Debtor’s Chapter 11 Bankruptcy
Case.

         2.21 Claim shall mean (i) a right to payment from the Debtor, whether or not such right is
reduced to a judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
undisputed, legal, equitable, secured or unsecured or (ii) a right to an equitable remedy for breach of
performance if such breach gives rise to a right to payment from the Debtor, whether or not such
right to an equitable remedy has produced a judgment, or is fixed, contingent, matured, unmatured,
disputed, undisputed, secured or unsecured.

        2.22 Claimant shall mean the holder of a Claim.

        2.23 Class shall mean a category designated in the Plan of holders or owners of Claims or
Interests that are substantially similar pursuant to section 1122 of the Bankruptcy Code.

        2.24    Committee shall mean the Official Committee of Unsecured Creditors of the Debtor.

       2.25 Confirmation Date shall be the date that the Bankruptcy Court enters its written
Order confirming the Plan.

        2.26 Confirmation Hearing shall mean the hearing that will be held before the
Bankruptcy Court in which the Debtor will seek Confirmation of the Plan pursuant to Section 1128
of the Bankruptcy Code.

        2.27    Confirmation Order shall mean the Order of the Bankruptcy Court confirming the
Plan.

         2.28 Contested Claims shall mean Claims to which objections are timely filed or which
are listed as disputed, contingent or unliquidated in the Schedules of the Debtor.

        2.22.29         Contested Secured Creditor shall mean GrainChain with respect to pre-
Petition liens taken significant steps to rehabilitate its business and restart operationsagainst Moore
Farms, Emory Farms, the Pitts Property, the Edcouch Facility and the Progreso Facility.

         First, to address the suspension of the Debtor’s licenses and the sealing of its grain elevator
facilities in early February that halted all grain operations the Debtor sought permission from the
Bankruptcy Court to use the funds in its possession to reopen its facilities and sell the grain.


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        On February 23, 2023, the Debtor filed an Emergency Motion for Authority to Use Cash
Collateral. After conducting a hearing, the Court granted the Debtor’s request on an interim 14-day
basis. This cash collateral order allowed the Debtor to retain the employment of a skeleton
management and work staff to perform the accounting and documentation related to the Debtor’s
finances as is required by the rules of the Office of the U.S. Trustee while at the same time
maintaining the security and safe operation of the grain storage facilities and prevent the
deterioration of the grain, edible beans, and other inventory. Since the first hearing on the interim use
of cash collateral, the Debtor negotiated the terms with the company’s secured creditors and entered
three agreed orders on the continued interim use of cash collateral.

       Next, the Debtor obtained authority from the Bankruptcy Court quickly to sell the grain
remaining in the Progreso Facility. The Debtor sold and successfully delivered all the grain sorghum
with most of it being transported to Archer Daniels Midland Company (“ADM”) in Corpus Christi,
Texas. It provided a complete accounting of the sales, transport fees and other associated costs and
deposited the proceeds into the Grain Escrow Account.

      2.30 Subsequently, it entered a contract with Impulsora Ganadera de Mexico, S.A.
(“Impulsora”) for the sale of #2 yellow corn. This corn was imported into Mexico through its
ongoing arrangement withCreditor shall have the meaning set forth in Section 101(10) of the
Bankruptcy Code.

        2.31    Debtor or Debtor-in-Possession shall mean Garcia Grain Trading Corp.

       2.32 Debtor Related Entity-Owned Property includes: Moore Farms, Garcia Balli, Ltd.,
PSG Products, LLC, Emory Farm, Rincon Ranch, SPI Condominium, Moore Farm South, Hoffman,
Toluca Ranch, Pitts Property, Miscellaneous Rental Tracts, and the Baryta Industrial Tract.

      2.33 Debtor Owned Property includes: the Progreso Facility, the Santa Rosa Facility, the
Edcouch Facility, Willacy Farm and the Donna (Val Verde) Facility.

       2.34 DIP Accounts shall mean the Debtor-in-Possession bank accounts maintained by the
Debtor at Wells Fargo Bank as of the Effective Date.

        2.35 Disclosure Statement shall mean the Disclosure Statement prepared and submitted
by the Debtor with respect to the Plan, including all Exhibits attached thereto, and prepared pursuant
to the Bankruptcy Court’s Orders and Section 1125 of the Bankruptcy Code and, if applicable,
Bankruptcy Rule 3018(b) for the Solicitation of Ballots, and all supplements and amendments
thereto.

        2.36 Disputed shall mean the portion (including, when appropriate, the whole) of a Claim
or Equity Interest that is not an Allowed Claim or Allowed Equity Interest as to which: (a) a proof of
Claim or proof of Equity Interest has been File, or deemed Filed under applicable law or Order of the
Bankruptcy Court; (b) an objection has been or may be timely Filed; and (c) such objection has not
been (i) withdrawn, (ii) overruled or denied in whole or in part pursuant to a Final Order, or (iii)

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granted in whole or part pursuant to a Final Order. Before the time that an objection has been or may
be Filed, a Claim or Equity Interest shall be considered a Disputed Claim or Equity Interest (a) if the
amount or classification of the Claim or Equity Interest specified in the proof of Claim or proof of
Equity Interest exceeds the amount or classification of any corresponding Claim or Equity Interest is
listed by a Debtor in its Schedules, to the extent of such excess; (b) in its entirety, if any
corresponding Claim or Equity Interest is listed by a Debtor in its Schedules as disputed, contingent,
or unliquidated; or (c) in its entirety, if no corresponding Claim or Equity Interest has been listed by
a Debtor in its Schedules.

       2.37 Distribution(s) shall mean funds paid out to Secured Creditors, holders of
Administrative Claims, Priority Claims, Unsecured Claims, or others under the provisions of the
Plan by the Plan Agent while administering the Plan Trust.

        2.38 Distribution Date(s) shall mean the date(s) when the Debtor pay out the funds from
the sale of unencumbered, non-exempt assets of the Estate. The Debtor anticipates that the first
Distribution Date will be on the Effective Date of the Plan.

        2.39 Donna Facility shall mean the grain elevator facility owned by the Debtor located
at the municipal address of 101 North Val Verde Rd. Donna, Texas

       2.40 Edcouch Facility shall mean the grain elevator facility owned by the Debtor
located at the municipal address of 624 W. Missouri, Edcouch, Texas 78538.

        2.41 Effective Date shall mean the later of March 31, 2024 or the date that is the thirtieth
(30th) day following the date when the Confirmation Order becomes final, if the Confirmation Order
has not been stayed on appeal, or if such a stay has issued, immediately after such stay is dissolved
by Final Order.

         2.42 Elkins shall mean Elkins Grain, LLC, a Texas limited liability company, which has
its registered office address at 910 Rio Grande Dr. Mission, Texas 78572

       2.43 Emory Farms shall mean the 56-acres tract located at Santiago Galvan Rd. in
Progreso, Texas (Lion Lake Division) titled in PSG Products.

        2.44 Equity Interest shall mean any equity interest, any claim of ownership of an equity
interest, or any right to acquire any equity interest in Debtor.

       2.45 Estate shall mean the estate of Debtor created by section 541 of the Bankruptcy Code
upon commencement of the case under Chapter 11 of the Bankruptcy Code.

       2.46 Executory Contract or Unexpired Lease shall mean an executory contract or
unexpired lease within the meaning of Section 365 of the Bankruptcy Code, in effect between or
among the Debtor and any other Person or Persons as of the Petition Date.


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        2.47 Face Amount shall mean (a) when used in reference to a Disputed or Disallowed
Claim, the full stated amount claimed by the holder of such Claim in any proof of claim timely Filed
or otherwise deemed timely Filed by a Final Order or other applicable bankruptcy law, and (b) when
used in reference to an Allowed Claim, the Allowed Amount of such Claim.

         2.48     Filed shall mean filed with the Clerk of the Bankruptcy Court.

        2.49 Final Order shall mean an order of the Bankruptcy Court or any appellate court
thereof that has not been reversed, modified, or stayed, and the time for appeal or to seek review or
certiorari or rehearing thereof has expired and as to which no appeal, review or rehearing is pending,
and has become conclusive of all matters adjudicated thereby and is in full force and effect.

       2.50 Garcia Grain shall mean Garcia Grain Trading Corporation, the Debtor or Debtor in
Possession in Case No. 23-70028-EVR-11, pending in the United States Bankruptcy Court for the
Southern District of Texas, McAllen Division.

      2.51 GrainChain shall mean GrainChain, Inc., a Texas Corporation as a Secured and
Unsecured Creditor and a participant in this Plan.

         2.52     Harco shall mean the Harco National Insurance Co.

        2.53 Impaired shall mean a class of claims or interests that falls within the definition set
forth in section 1124 of the Bankruptcy Code.

      2.54 Insider shall mean the various persons and entities listed under section 101(31) of the
Bankruptcy Code.

      2.55 IRS shall mean the Internal Revenue Service of the United States of America
Department of the Treasury.

       2.56 Moore Farms shall refer to the 1,460 acres of farmland located at Military Road,
Hidalgo County, Texas, owned by PSG Products, LLC and currently pledged to Falcon International
Bank under a first lien.

       2.57 New Co. shall mean that certain new corporation or other form of entity to be created
by GrainChain on the Effective Date into which those certain specified assets as described in the
Plan shall be transferred and conveyed. New Co. will be structured in a form that is acceptable to
GrainChain with the equity of New Co. being owned by GrainChain and/or its authorized assigns.
The function of New Co. will be to fashion continued operations of the Elkins Lease 2, with the

2 Elkins and the Debtor entered into a Court approved lease of Progreso (the “Elkin’s Lease”). GrainChain has been
providing Elkins with certain financing through one or more factoring arrangements with Elkins, with respect to Elkins’
operations of Progreso. Certain before tax net profits have been generated by the operations (the “Pre-Confirmation Pre-
Tax Net Profits”). No operating agreement between Elkins, GrainChain and the Debtor has been entered into nor


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distribution of the net profits of New Co. as specified in the Plan. New Co. will be subject to a
variety of covenants to capture and retain all operating cashflow and profit of the enterprise within
New Co. including, but not limited to, limitations on the ability of New Co. to further encumber its
assets without the approval of the Plan Agent and satisfaction of certain credit metrics (either
leverage or interest coverage) to be further negotiated. Further, New Co. will be subject to certain
limitations on “Permitted Investments,” “Permitted Capital Expenditures” and limitations on
Restricted Payments that will not allow dividends or other distributions to the equity holders other
than the Distributions specified in the Plan.

        2.58 New Co. Property shall mean those certain properties that will be contributed to the
Plan Trust on the Effective Date including the Progresso Facility, the Edcouch Facility and the
Baryta Industrial Tract subject to any liens in favor of Falcon International Bank but free and clear of
any liens asserted by GrainChain. For the avoidance of doubt, any liens asserted by the Contested
Secured Creditor with respect to New Co. Property shall be nullified under the Plan, but the lien of
Falcon Bank shall not be affected.

        2.59 Objection Date shall mean the date established by the Bankruptcy Court for filing
objections to confirmation of the Plan.

        2.60 Opt-in shall mean the right of Unsecured Creditors who qualify or believe they
qualify as a “depositor” under the Tex. Agric. Code section 14.001(1) to participate in the proposed
settlement under which proceeds from the TDA Surety Bond payments will be paid to StoneX and
potential liability for avoidance actions such as preferences against them will be waived and
released.

        2.61 Opt-out shall mean the right of Unsecured Creditors who qualify or believe they
qualify as a “depositor” under the Tex. Agric. Code section 14.001(1) to choose to not participate in
the proposed settlement and instead seek their pro rata share of the TDA Surety Bond proceeds;
however, these Creditors will not be released and will potentially face liability for bona fide
avoidance actions for preferences.

        2.62      PACA shall mean the Perishable Agricultural Commodities Act, 7 U.S.C. §§ 499a-
499t, et seq.

     2.63 PACA Reserve Account shall mean the escrow account in which amounts related to
PACA claim(s) were held.




approved by the Bankruptcy Court. An operating agreement will be part of the Chapter 11 Plan and Confirmation Order
dealing only with the post-confirmation operations. The Elkins Lease will terminate on the Effective Date of the Chapter
11 Plan.


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       2.64 Person shall mean an individual, corporation, partnership, limited liability company,
association, joint-stock company, joint venture, estate, trust, unincorporated organization,
governmental unit or any political subdivision thereof.

       2.65 Petition Date shall mean the date on which Debtor filed its Petition for relief under
Chapter 11 of the Bankruptcy Code, which was February 17, 2023.

       2.66 Plan shall mean this Debtor’s First Amended Plan of Reorganization as it may be
modified and/or supplemented from time to time pursuant to the Bankruptcy Code.

       2.67 Plan Agent shall mean the Richard S. Schmidt, retired U.S. Bankruptcy Judge. (Also
see “Chief Restructuring Officer” defined above).

        2.68 Plan Trust shall mean the Grantor Trust created under the terms of the Plan
following the confirmation date into which specified assets of the Debtor’s estate and certain other
assets or claims owned by the Debtor shall be transferred and conveyed.

       2.69 Plascencia Adversary shall mean the adversary proceeding initiated by the Debtor
against Rodolfo Plascencia, Sr. and WNGU Properties, LLC styled: Garcia Grain Trading
Corporation v. Rodolfo Plascencia, Sr. and WNGU Properties, LLC, Adv. Proceeding No. 23-
07002, on May 26, 2023, pending before the Bankruptcy Court.

       2.70 Post-Petition Interest shall mean the non-default interest which shall accrue on the
unpaid principal balances of the Allowed Secured Claims from the Petition Date to the Effective
Date calculated at the annual percentage rate established in the written agreements between the
Debtor and the holders of the Allowed Secured Claims.

        2.71 Preference shall mean any transfer of an interest of the Debtor assets that is
avoidable under section 547 of the Bankruptcy Code and that is not waived, released, or discharged
by the terms of this Plan or by Court Order.

        2.72 Preference Property shall mean those certain properties including Moore Farms and
Emory Farms for which any remaining equity value remaining after the full satisfaction of any liens
for Secured Creditors will be contributed to the Plan Trust. For the avoidance of doubt, any liens
asserted by the Contested Secured Creditor with respect to Preference Properties shall be nullified
under the Plan.

       2.73 Priority Claim shall mean any Claim, to the extent entitled to priority in payment
under Section 507(a) of the Bankruptcy Code, other than an Administrative Claim, that (1) has not
been barred by the Plan and (2) has not been disallowed by a Final Order.

       2.74 Priority Non-Tax Claim shall mean any Priority Claim other than a Priority Tax
Claim, Administrative Claim or Professional Claim.


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        2.75 Priority Tax Claim shall mean the allowed claims of governmental taxing authorities
that are entitled to priority claims under section 507(a)(8) of the Bankruptcy Code or tax claims as
otherwise specified herein. The term “allowed” shall include the definition of “deemed allowed,” as
set forth in 11 U.S.C. § 502(a), when no objection has been filed to a claim of the Internal Revenue
Service.

       2.76 Proceeding or Chapter 11 Case shall mean this case for reorganization of the Debtor
pending before the Bankruptcy Court. (Also see “Bankruptcy Case” defined above).

       2.77 Professional shall mean any Person employed in the Bankruptcy Cases pursuant to
Sections 326, 327, 328, 330, 331, 503(b) or 1103 of the Bankruptcy Code.

       2.78 Professional Claim shall mean any Claim that is Filed by a Professional pursuant to
Sections 327, 328, 330, 331, 503(b) or 1103 of the Bankruptcy Code.

        2.79 Progreso Facility shall mean the grain elevator facility owned by the Debtor located
at the municipal address of 707 S. Int’l Blvd., Progreso, Hidalgo County, Texas.

         2.80 Progreso Lease shall mean the lease agreement between Garcia Grain Trading
Corporation (“Landlord”), a Texas corporation, and Elkins Grain, LLC (“Tenant”), a Texas limited
liability company.

        2.81 Pro Rata shall mean the proportion that the amount of an Allowed Claim in a
particular Class bears to the aggregate Face Amount of all Allowed Claims in such Class.

        2.82    Proof of Claim shall mean a proof of claim conforming to Bankruptcy Official Form
410.

        2.83 Representative shall mean any Affiliate, Person, agent, insider (as defined in Section
101(31) of the Bankruptcy Code), attorney, accountant, fiduciary, heir, guardian, surety, corporate
parent or subsidiary (whether direct or indirect), and other entity having a legal or equitable
relationship with another entity whatsoever.

        2.32.84         Rio Bravo shall mean a Mexican corporation named Granos y Cereales Rio
Bravo, S.A. de C.V. (“Rio Bravo”), which acts as the importer of all corn, milo, pinto and black
beans or other commodities or products to customers in Mexico, directly invoices the customers, and
the customers pay Rio Bravo for the invoices, from which Rio Bravo deducts the importation fees,
and wires the net receipts to the appropriate escrow account in the United States.
As a result of these efforts, the Debtor reflects a cash balance in the Grain Escrow Account in the
amount of $3,517,611.77 as of July 31, 2023. [Dkt #463-1].

        To determine the legal right to the funds in the Grain Escrow Account, on April 6, 2023, the
Debtor obtained an Order Establishing Procedures for Determination of Rights, Ownership Interests,
Liens, Security Interests, and All Other Interests in and to Grain and Proceeds of Grain Pursuant To

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11 U.S.C. § 557 [Dkt #126]. Following the entry of the order establishing such procedures, only
three (3) creditors filed claims against the grain and submitted briefs supporting their interest in the
proceeds: StoneX Commodity Solutions, Vantage Bank Texas, and GrainChain, Inc. The Debtor
timely responded to these claims and the legal arguments supporting them mainly questioning the
validity of the interests asserted by StoneX in foreign and domestic grain receivables. The
Bankruptcy Court’s decision on these various claims to the grain and grain proceeds remains
pending.

       In addition, on April 14, 2023, the Debtor obtained an Order [Dkt #157] from the Court
establishing procedures for the Court to determine the nature, extent, and validity of any claims of
bean suppliers under the provisions of 7 U.S.C. § 499a known as the Perishable Agricultural
Commodities Act (“PACA”). Subsequently, the Debtor resolved two PACA Claims of Stony Ridge
Food, Inc. in the total amount of $237,077.50. The Debtor continues to hold $400,000 of bean
proceeds in the PACA Reserve Account (“PACA Reserve”).

          Unfortunately, while the Debtor was fulfilling the corn deliveries to Impulsoro, a windstorm
hit its facilities on April 29, 2023, causing substantial damage to the Progreso Facility. After filing
the appropriate claim with its insurance carrier, FCCI Insurance Company, the Debtor worked to
salvage the spoiled grain and cleanup and remediate the damaged facility. Currently, it is awaiting a
final determination with respect to the claim associated with the salvaged grain but estimates it to
total approximately $2,318,400. With respect to the physical damage to the Progreso grain storage
facility the Debtor received an advance check of $275,000.00 it used to initiate the cleanup plus an
additional $3.4 million check from FCCI to finance the restoration of the plant. In addition, the
Debtor is waiting for the settlement to finalize the claim for the interruption of its business
operations which has a policy cap of $1.2 million which will be to mitigate the losses sustained by
the company due to the windstorm.

        The Debtor has an ongoing arrangement with a Mexican corporation named Granos y
Cereales Rio Bravo, S.A. de C.V. (“Rio Bravo”), which acts as the importer of all corn, milo, pinto
and black beans to customers in Mexico, directly invoices the customers, and the customers pay Rio
Bravo for the invoices, from which Rio Bravo deducts the importation fees, and wires the net
receipts to the appropriate escrow account in the United States.

       On May 17, 2023, the Court granted the Motion and entered its Order Granting Debtor
Authority to Assume Executory Contracts for Purchase and Sale of Edible Beans and Sunflower
Seeds [Docket #229]. This Order granted the Debtor to assume the bean supply contracts with Stony
Ridge Food, Inc. and provided a protocol for the Debtor to purchase and pay for the beans. It also
allowed the Debtor to assume contracts for the assumption of purchase contracts it had with farmers
growing sunflower seeds in South Texas and for the Debtor to export them through its Mexican
entity, Rio Bravo, and sell them to a Mexican company which crushes the seeds for their oil. The
Debtor has projected profits from the sunflower and edible bean enterprises to total $1 million by the
end of this calendar year.

        At the beginning of the year management of Garcia was notified by its insurance carrier that
its liability and casualty coverage on its grain facilities and inventory of grain as well as its

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workmen’s compensation insurance would expire and not be renewed by FCCI Insurance beyond
May 31, 2023. Consequently, management planned to lease its facilities at Progreso, Santa
Rosa/Donna, and Edcouch to other grain companies in the area.

        The Debtor successfully entered into a lease agreement with Texas Valley Grain Co.
(“TVG”) to lease its grain storage located at Santa Rosa that provided for the insurance coverage to
be force placed by Vantage Bank, and then reimbursed in accord with a formula tied to the amount
of grain which passed through the facility. Based upon the last reports from TVG, needed repairs at
Santa Rosa have been successfully completed and the operations have been generating more revenue
than anticipated.

        With respect to Donna Facility, Vantage Bank force placed insurance on the grain facility
and warehouse located there, and the Debtor has been cooperating with the bank to explore the
possibility of purchasing the portion of the facility which is built on the right-of-way of the Union
Pacific Railroad Company so that issues related to the property impeding its sale are resolved and
the proceeds of any sale can be applied to the bank’s indebtedness.

         Finally, the Debtor obtained authority from the Bankruptcy Court for the Progreso and
Edcouch facilities to be leased to Elkins Grain, LLC (“Elkins”) based upon a through-put formula of
5 cents per bushel. The funds necessary for the payment of the premiums for the insurance, including
coverage for the physical plant, the grain inventory, along with liability and workmen’s coverage are
the subject of post-petition financing provided by GrainChain, Inc. (“GrainChain”). In this regard,
arrangements have been made for GrainChain and Elkins to cooperate in the management and the
use of the grain facilities pursuant to an Operating Agreement with the Debtor. This financial
arrangement provides for GrainChain to supply up to $1.5 million of loans to finance the operations
of the grain facilities as well as the provisions of a line of credit of up to $15 million for the purchase
and sale of the grain. The financing will be provided at an interest rate of prime plus 3.0%, and
extensive negotiations have led to an arrangement that allows Elkins to provide the management and
accounting functions and GrainChain and the Debtor to share in a division of the net profits from the
storage and marketing of the grain under an arrangement that will fund the Debtor’s Plan and allow
for a settlement of the contested liens which GrainChain asserts against assets of the Debtor as well
as those other tracts of real estate against which GrainChain holds deeds of trust. The Operating
Agreement contemplates that net profits will be paid to holders of unsecured claims who also will—
through shared liens against these same properties—have guaranteed payments made to the
unsecured creditor class over the life of the Plan.

        The specific terms and conditions of the financing arrangement and the resolution of the lien
disputes are the subject of a compromise and settlement proposed to the creditors of the Debtor in
this Plan. The Debtor asserts that if the settlement is approved by its creditors and the Plan is
confirmed by the Bankruptcy Judge the claims of all general unsecured creditors filing claims in the
Bankruptcy Case can be paid in full.

        2.      Summary of the Plan


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        A summary of the Plan being proposed appears below. This summary is intended to set forth
in a simplified form the way the Debtor will be reorganized if the Plan is approved by the
Bankruptcy Court. The summary is also intended to inform each Creditor the way their particular
claims are to be paid under the terms of the Plan. A reading of the summary will provide you with
general information about the Plan and its proposed treatment of all Creditors. However, to make a
fully informed judgment about the Plan, you are urged to read the entire Disclosure Statement and
Plan. The Plan is subject to modification prior to the approval of this Disclosure Statement and
confirmation of the Plan.

      The Plan provides for the Debtor to continue its organizational structure following
confirmation – although its stock with be conveyed in the Plan Trust. In other words, the Plan does
not provide for a liquidation and subsequent dissolution of the Debtor. However, in the event that the
Plan Agent and GrainChain agree to the formation of a new corporation to operate the grain facilities
which are the subject of an operating agreement between the Debtor, Elkins Grain, and GrainChain,
they may do so.


        2.85    Rincon Ranch shall refer to 1,882 acres of ranch land located in Starr County, Texas.

       2.86 Santa Rosa Facility shall mean the grain elevator facility owned by the Debtor
located at the municipal address of 22056 Bass Boulevard in Harlingen, Texas.

        2.87 Santa Rosa Lease shall mean the lease agreement between Garcia Grain Trading
Corporation (“Landlord”), a Texas corporation, and Texas Valley Grain – Santa Rosa #2 (“Tenant”),
a series of Texas Valley Grain, LLC, a Texas registered series limited liability company, in which
Texas Valley Grain, LLC is the sole member and owner.

       2.88 Section 502(c)(1) Valuation or Estimation shall mean in the case of contingent,
unliquidated claims the value of the creditor’s claim as estimated by the Bankruptcy Court.

       2.89 Section 506 Valuation shall mean the value of collateral as established by the
Bankruptcy Court after a hearing held pursuant to Bankruptcy Rule 3012 and in accordance with
Section 506 of the Bankruptcy Code, or made part of a Final Order of Bankruptcy Court.

        2.90 Secured Claim or Secured Claim Lien shall mean any Claim that is considered
secured under Section 506(a) of the Bankruptcy Code and secured by a lien, or other encumbrance
that has been properly perfected as required by law with respect to property owned by the Debtor.

        2.91 Secured Creditors shall mean all Creditors who hold a Secured Claim lien, security
interest, or other encumbrance that has been properly perfected as required by law with respect to
property owned by the Debtor.

        2.92 Subordinated Claim shall mean any Claim (a) arising from rescission of a purchase
or sale of a Security of any of the Debtor or of an affiliate of any of the Debtor, (b) for damages
arising from the purchase or sale of such a Security, (c) for reimbursement or contribution allowed

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under Section 502 of the Bankruptcy Code on account of a Claim described in (a) or (b) above, (d)
otherwise subordinated pursuant to Section 510 of the Bankruptcy Code, (e) subordinated by Final
Order, (f) based on fines, penalties, forfeiture or for multiple, exemplary, or punitive damages, or (g)
any Claim of any Insider of the Debtor.

        2.93 TDA shall mean the Texas Department of Agriculture established and acting under
the authority of the laws of the State of Texas.


       2.94 TDA Surety Bond shall mean those certain Surety Bonds funded by Harco National
Insurance Company on behalf of Garcia Grain, thereby meeting TDA statutory requirements for
licensed public grain facilities, and covering the deposits of grain in the Alamo, Edcouch,
Donna/Santa Rosa, and Progreso public grain warehouse facilities operated by the Debtor.

        2.95    Texas Comptroller shall mean the Texas Comptroller of Public Accounts.

       2.96 Union Pacific Industrial Lease shall mean the industrial lease agreement between
Union Pacific Railroad Company (“Lessor”) and Garcia Grain Trading Corporation (“Lessee”) dated
April 22, 2009 for the lease of the land in Santa Rosa, Texas on which the Santa Rosa Facility is
located.

       2.97 Unliquidated Claim shall mean any Claim that is listed in the Schedules as
“unliquidated,” and did not have an exact amount owing on the indebtedness as of the Petition Date.

        2.98    Unsecured Claims shall mean all Claims not a Secured Claim or Tax Claim.

       2.99 Unsecured Creditors shall mean any and all Creditors having Unsecured Claims,
including but not limited to Claimants holding Unsecured Deficiency Claims.

        2.100 Unsecured Deficiency Claims shall mean all Allowed Claims of creditors that are
deemed to be unsecured following valuation of the Debtor’s property as a result of either a Section
506 Valuation hearing, the Bankruptcy Court or the District Court’s order determining the nature,
extent or validity of a creditor’s lien on the Debtor’s property that is not stayed on appeal, or the
agreement of the parties, due to the fact that the value of the collateral securing repayment of a claim
against property of the estate is less than the amount of such allowed claim as determined by the
provisions of Section 506 of the Bankruptcy Code.

       2.101 Waived Unsecured Deficiency Claims shall mean the unsecured deficiency claims
of StoneX and Vantage that are waived under the Plan upon the completion of the treatments
described in their respective Classes of Secured Claims.

       2.102 Wells Fargo DIP Account(s) shall mean the Debtor-in-Possession bank accounts
maintained by the Debtor at Wells Fargo Bank.
       2.103

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        Rules of Interpretation. For purposes of this Plan, (i) any reference in the Plan to a contract,
instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that such document shall be substantially in such form or
substantially on such terms and conditions; (ii) any reference in the Plan to an existing document,
pleading or exhibit filed or to be filed means such document or exhibit as it may have been or may
be amended, modified, or supplemented as permitted herein; (iii) the words “herein,” “hereto” and
“hereof” refer to the Plan in its entirety rather than to a particular portion of the Plan; and (iv) the
rules of construction set forth in Section 102 of the Bankruptcy Code and in the Bankruptcy Rules
shall apply, unless an alternate calculation is expressly provided herein (i.e., Business Days).

       Computation of Time. In computing any period of time prescribed or allowed in this Plan, the
provisions of Bankruptcy Rule 9006(a) shall apply.

         Exhibits and Plan Supplement. All exhibits are incorporated into and are a part of the Plan as
if set forth in full herein. Holders of Claims and Equity Interests may obtain a copy of the Filed
exhibits upon written request to the Debtor. Upon their Filing, the exhibits may be inspected in the
office of the clerk of the Bankruptcy Court or at the Bankruptcy Court’s CM/ECF or PACER
website. The documents contained in the exhibits shall be approved by the Bankruptcy Court
pursuant to the Confirmation Order. The Debtor expressly reserve the right to modify or make
additions to or subtractions from any exhibit or to the Plan and to amend, modify or supplement any
exhibit to the Plan in conformance with the provisions of this Plan.

         Approved Disclosure Statement. The terms and provisions of the Disclosure Statement, as
approved by the Bankruptcy Court, are expressly incorporated herein, except where such provisions
of the Disclosure Statement may conflict with the terms of this Plan. In the event that such a conflict
arises, the terms of this Plan and the Confirmation Order shall control, with the Confirmation Order
controlling over the terms of this Plan.

                                     ARTICLE III
                           DESIGNATION OF CLASSES OF CLAIMS

        Designation of Classes of Claims. A Claim is classified in a particular Class only to the
extent that the Claim qualifies within the description of that Class and is classified in a different
Class to the extent that any remainder of the Claim qualifies within the description of such different
Class in that Class and has not been paid, released or otherwise satisfied before the Effective Date.

       The First Amended Plan separates Claims against the Debtor into four main categories,
which are: (I) Administrative and Priority Unsecured Claims; (II) Secured Claims, (III) Unsecured
Claims, and (IV) Unsecured Claims of Harco and GrainChain, Inc.
       Below is a concise list of all Classes in this Plan:

(I)     Administrative and Priority Unsecured Claims

        A.      Class 1 – Administrative Claims (Unimpaired)

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        B.      Class 2 – Priority Unsecured Claims (Unimpaired)

(II)    Secured Claims

        C.      Class 3 – Secured Claim of StoneX Commodity Solutions, LLC f/k/a FCStone
                Merchant Services, LLC (“StoneX”) (Impaired)
        D.      Class 4 – Secured Claim of Vantage Bank Texas (Impaired)
        E.      Class 5 – Secured Claim of Falcon International Bank (Unimpaired)
        F.      Class 6 – Contested Secured Claim of GrainChain, Inc. (Impaired)
        G.      Class 7 – Secured Claim of Ford Motor Credit (Impaired)

(III)   Unsecured Claims

        H.      Class 8 – Unsecured Bean Claims (Impaired)
        I.      Class 9 – Unsecured Farmers’ and Grain Claims (Impaired)
        J.      Class 10 – Administrative Convenience Class (Impaired)
        K.      Class 11 – General Trade Claims (Impaired)

(IV)    Unsecured Claims of Harco and GrainChain, Inc.

        L.      Class 12 – Unsecured Claim of Harco and GrainChain, Inc. (Impaired)

                          ARTICLE IV
PAYMENT OF ADMINISTRATIVE CLAIMS AND PRIORITY UNSECURED CLAIMS

      The Plan provides for all Administrative Claims to be paid in full upon approval by the
Bankruptcy Court of applications for their allowance or the Effective Date which is estimated to be
before Decemberon March 31, 20232024.

       The Debtors disputePlan will pay the priority claims of unsecured claims of persons engaged
in the production or raising of grain, as defined by Section 557(b) of the Code, as the Debtor owns
and operates grain storage facilities as defined in such section and those claims are associated with
grain or the proceeds of grain. These priority claims are estimated to total approximately $112,125,
but may be more after all Claims listed as contingent, unliquidated or disputed file proofs of claim.

       The Debtor disputes the Priority Tax Claim asserted by the Internal Revenue Service for
income taxes because upon the filing of a contemplated amended returnreturns it believes the Debtor
will not be liable be for such taxes. They assert thatIt appears the taxes reflected were based upon
false revenues and if properly reflected the Estateestate may be entitled to tax refunds for prior years.
They intend rather than being liable for taxes. The Debtor intends to object to the IRS claim and
once, file the amended returns, and seek refunds if the returns reflect the Debtor is entitled to them.
Provided, however, if any taxes are established, if any, to pay any taxes owed to be due and owing,
the Plan provides for the payment of them in accord with the provisions of the Bankruptcy Code
within 60 months of the Petition Date.


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The The claims of ad valorem taxing authorities due local taxing authorities will be paid in full
either upon the sale of the real property tracts against which the taxing authorities hold liens or as
such taxes become due. The taxing authorities will retain their statutory liens to secure the payment
of such taxes until they are paid in full.




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                         ARTICLE V
SUMMARY OF TREATMENT OF CLASSES OF CLAIMS AND EQUITY INTERESTS

        A.      TREATMENT OF CLAIMS OF SECURED CREDITORS

        The Plan contains a comprehensive settlement of the competing claims and interests held by
the four major secured creditors against the Debtor’s Bankruptcy Estate, the principals of the Debtor
and their related entities, and the General Unsecured Creditors.

      Based upon this concept of settling all claims, the treatment of the claims of the Secured and
Unsecured Creditors in the Plan is premised on the following:

                1.) it is better to settle the competing claims of StoneX and Vantage relating to their
                respective interests in the proceeds from the sale of grain, surety bonds covering the
                grain at the grain facilities in which they hold warehouse receipts as evidence of
                entitlement to the grain than to engage in expensive and lengthy litigation;

                2.) it is better to settle with GrainChain over the validity of their asserted liens
                against the various tracts of real property against which they hold deeds of trust
                signed by the Debtor less than a month before the Petition Date if GrainChain, the
                General Unsecured Creditors, and Harco can agree to share the net proceeds from the
                sale of the properties while allowing the Debtor and its grain facilities at Progreso
                and Edcouch to continue to operate under terms which provide for the sharing of the
                profits in the same percentage to which their respective claims bear to the total
                amount of unsecured claims against the Debtor;

                3.) it is better to negotiate settlements with Unsecured Creditors who received
                payments from the Debtor within 90 days of the Petition Date than to pursue the
                preference claims through litigation in the Bankruptcy Court;

                4.) it is better to reach an agreement to allow the principals of the Debtor to have
                time to orderly market and sell their assets and then to contribute the net proceeds to
                the Plan Trust than to litigate the various causes of action owned by the estate against
                them based upon fraudulent conveyances, breach of fiduciary duty, conversion of
                corporate opportunities, and other such derivative claims, and then attempt to attach
                and sell the assets after obtaining a judgment against them; and

                5.) it is better to reach an agreement with the TDA and Harco relating to the payment
                of the TDA Surety Bonds into the Plan Trust than to litigate the complex issues
                surrounding the TDA Surety Bond claims thereby depleting valuable resources of the
                Estate by funding the attorneys’ fees and costs of the lawsuit(s).




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    Therefore, relying on such premises as being within the exercise of the best business judgment of
the CRO, the major Secured Creditors of the Debtor are treated under the terms of the Plan as
follows:

    •   StoneX Commodity Solutions LLC f/k/a FCStone Merchant Services, LLC (“StoneX”)
        asserts that it holds title to or a security interest in certain grain inventory located at the
        Debtor’s grain elevator facility in Progreso, Texas (“Progreso facilityFacility”), along with
        the associated grain warehouse receipts, cash, accounts receivable, and other proceeds from
        the sale of the grain of the Debtor at such facility to secure the repayment of indebtedness
        owed to it having an outstanding balance of an estimated $19.5 million. The Debtor
        estimates the current collateral for the repayment of the StoneX Secured Claim to be as
        follows:

                         -       Funds in Grain Escrow Account     =           $3,517,371.00
                         -       Collectible Accounts Receivable   =           $ 812,184.00
                         -       FCCI Claim Against Salvaged Grain =           $2,318,400.00
                         -       Surety Bond Claim at Progreso     =           $1,009,750.00
                         -       Total Collateral Value            =           $7,711657,705.00

        Thus, the Secured Claim of StoneX totals $7,711657,705.00, and its Unsecured Deficiency
        Claim
        is approximately $11,749803,353.00

        Terms of Settlement with StoneX:

       The Debtor and StoneX have reached an agreement to compromise and settle its claims by
the payment from the Plan Trust of the total sum of $13,000,000. Upon the receipt of the
$13,000,000 from the Plan Trust all claims and causes of action which StoneX holds against the
Bankruptcy Estate shall be fully extinguished and discharged.
        The initial payment in the amount of $7,000,000 will be made on the Effective Date from the
funds in the Grain Escrow Account, and contributions to the Plan Trust realized by the sale of real
estate owned by Octavio Garcia as well as certain assets titled in the name of entities owned or
controlled by him and his wife.
        The balance of the funds totaling approximately $6,000,000 will be paid from the Plan Trust
out of funds collected from grain receivables, the amount received from the Estate from FCCI
Insurance for its claim for the damaged grain at the Progreso Facility, and the balance to be paid
from recoveries or contributions received by the Plan Agent summarized as follows:

            •    Miscellaneous Funds Paid Into Plan Trust      $2,869,416

            •    Collected Grain Receivables                   $ 812,184

            •    FCCI Claim for Grain Stock                    $2,318,400

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                TOTAL CONSIDERATION:                            $6,000,000


        Terms of Settlement with Vantage:

         Vantage Bank Texas (“Vantage”) holds title to or a security interest in certain grain
inventory, machinery and equipment, and other personal property assets located at the Debtor’s grain
elevator facilities located in Santa Rosa and Donna, Texas, (“Santa Rosa/ Facility” and “Donna
Facility”), and asserts title to or a security interest in any grain currently located at the Progreso
facility that in the ordinary course of Debtor’s business was relocated from Santa Rosa/Donna to the
Progreso facilityFacility in preparation for its export and sale to Debtor’s customers in Mexico.
Vantage also asserts title to or a security interest in grain warehouse receipts associated with the
grain inventory at Donna/Santa Rosa, along with any associated cash, accounts receivable, and other
proceeds from the sale of the grain at such facilities. Vantage claims its collateral interest in such
assets of the Debtor to secure the repayment of indebtedness represented by promissory notes
executed by the Debtor having an estimated current outstanding balance of $8,789,064. In addition
to its asserted ownership and security interest against the personal property of the Debtor, Vantage
holds deeds of trust against real property of the Debtor known as the Pitts Property valued at an
estimated $3,600,000; Santa Rosa/Donna having a combined estimated value of $2,750,000; and a
claim against the Surety Bond at Santa Rosa/Donna $739,400 – altogether having an estimated total
collateral value of $10.2 million.

        Thus, the Secured Claim of Vantage totals $7,089,400, and its Unsecured Deficiency Claim
is approximately $1,699,664.

        Vantage and the Debtor have reached an agreement to compromise and settle all of its claims
against the estate in exchange for the following consideration:

Pitts Property (1st Lien Deed of Trust)               $3,600,000.00
Santa Rosa Elevator (1st Lien Deed of Trust)          $1,350,000.00
Donna Elevator (1st Lien Deed of Trust)               $1,350,000.00
Subtotal                                                                            $6,300,000.00
Assignment to the estate or its designee all          $400,000.00
Warehouse Receipts held as collateral and
any right to assert claims against Surety
Bonds issued by Harco National Insurance
Co. in the penal sum of $2,402,704
Claim against the A/R in inventory and cash           $625,000.00
for the bean enterprise


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Subtotal                                                                             $1,025,000.00
TOTAL                                                                                $7,325,000.00


    Vantage holds security interests against pre-Petition bean inventory, bean accounts receivable
and proceeds from the sale of beans. By virtue of entry of an Order Granting Debtor’s Emergency
Motion for Authority to Obtain Post-Petition Financing, Payoff Certain Liens of Vantage Bank and
Establish Procedures for Purchase of Edible Beans [Docket #467] the Court approved the
conveyance, or modification of the automatic stay permitting foreclosure of the tracts of the real
property listed in the chart above. Additionally, due to the payment of $625,000 from the PACA
Reserve and the bean enterprise operating account, Vantage will release its claims against the assets
of the bean enterprise. The Debtor projects that the provision of financing for the purchase of
additional inventories of black and pinto beans will result in net profits from the bean enterprise in
the approximate sum of $800,000. These funds then can be used to fund necessary expenditures by
the Debtor in carrying out the provisions of this Plan.

       Further, in complete extinguishment of all its other claims against the estate in exchange for
the payment of $400,000 Vantage will transfer all of its collateral warehouse receipts to the Plan
Trust.

        Terms of Plan Treatment with Falcon:

Falcon International Bank (“Falcon”) is owed notes totaling approximately $5,989,153 and holds a
first lien deed of trust against the Progreso Elevator valued at an estimated $4,430,000 along with a
first lien deed of trust against 1,460 acres of farmland known as the Moore Farms having an
estimated value of $7,884,000 and a security interest in equipment having a value of an estimated
$330,00000.

       Thus, the Debtor believes the total collateral value to secure Falcon’s debt is estimated at
$12,644,000 leaving equity available of about $6,654,847.

        Falcon will receive payment in full of its outstanding claim in the amount of approximately
$6,000,000, plus all accrued interest and attorneys’ fees since the date of the filing of its Proof of
Claim, by receiving the net proceeds from the sale of the Moore Farms having an estimate value for
purposes of the Plan of $7,000,000. The payment of the indebtedness owed to Falcon will be
consideration for Falcon releasing its Deeds of Trust against all other real property of the estate
including but not limited to its Deeds of Trust against the Progreso Facility and any other tracts of
real property encumbered in any manner by its recorded Deeds of Trust.

        Terms of Settlement with GrainChain:

GrainChain, Inc. (“GrainChain”) has total indebtedness according to its Proof of Claim filed in this
case of $7,841,055. It asserts second lien deeds of trust against real property having equity after the
lien of Falcon (Progreso Elevator & Moore Farms) of approximately $6,654,847 and first lien deeds

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of trust against the Baryta Industrial Tract, Emory Farms, and the Edcouch Elevator having
estimated values totaling $2,754,711.

       Thus, the Secured Claim of GrainChain totals $7,841,055 following the extinguishment of
the Secured Claim of Falcon totaling $5,989,153 secured by the second liens against the equity in the
Progreso facilityFacility and Moore Farms, as well as a first lien against the Edcouch facilityFacility,
Baryta Industrial Tract, anand Emory Farms having an estimated total collateral value of $9,409,558.

        The Plan contains a comprehensive settlement Debtor asserts that all of the competing claims
        and interests liens held by the four major secured creditors against the Debtor’s bankruptcy
        estate, the principals of the Debtor and their related entities, and the general unsecured
        creditors. Based upon this concept of settling all claims, the treatment of the claims of the
        Secured and Unsecured Creditors in the Plan is premised on the following:

                1.) it is better to settle the competing claims of StoneX and Vantage relating to their
                respective interests in the proceeds from the sale of grain, surety bonds covering the
                grain at the grain facilities in which they hold warehouse receipts as evidence of
                entitlement to the grain than to engage in expensive and lengthy litigation;

                2.) it is better to settle with GrainChain over the validity of their asserted liens
                against the various tracts of real property against which they hold deeds of trust
                signed by the Debtor less than a month before the Petition Date if GrainChain, the
                General Unsecured Creditors, and Harco can agree to share the net proceeds from the
                sale of the properties while allowing the Debtor and its grain facilities at Progreso
                and Edcouch to continue to operate under terms which provide for the sharing of the
                profits in the same percentage to which their respective claims bear to the total
                amount of unsecured claims against the Debtor;

                3.) it is better to negotiate settlements with Unsecured Creditors who received
                payments from the Debtorare preferential transfers which occurred within 90 days of
                the Petition Date than. GrainChain asserts it has valid defenses to pursue the
                preference claims through litigation in the Bankruptcy Court;

                4.) it is better to reach an agreement to allow the principals of the Debtor to have
                time to orderly marketassertions and sell their assets and then to contribute the net
                proceeds to the Plan Trust than to litigate the various causes of action owned by the
                estate against them based upon fraudulent conveyances, breach of fiduciary duty,
                conversion of corporate opportunities, and other such derivative claims, and then
                attempt to attach and sell the assets after obtaining a judgment against them; and

                5.) it is better to reach an agreement with the TDA and Harco relating to the payment
                of the surety bonds into the Plan Trust than to litigate the complex issues surrounding
                the bond claims thereby depleting valuable resources of the estate funding the
                attorneys’ fees and costs of the lawsuit.

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        Settlement Terms with Secured and Unsecured Creditors:

StoneX will release all its claims against the estate in exchange for the following consideration:

            •    Funds in the Grain Escrow Account              $3,517,371

            •    Surety Bond Proceeds                           $2,397,850

            •    Collected Grain Receivables                    $ 812,184

            •    FCCI Claim for Grain Stock                     $2,318,400

            •    Payment from Plan Agent                        $3,500,000

                 TOTAL CONSIDERATION:                           $12,545,805.

Vantage will release all its claims against the estate in exchange for the following consideration:

Pitts Property (1st Lien Deed of Trust)               $3,600,000.00
                         st
Santa Rosa Elevator (1 Lien Deed of Trust)            $1,350,000.00
                    st
Donna Elevator (1 Lien Deed of Trust)                 $1,350,000.00
Subtotal                                                                           $6,300,000.00
Assignment to the estate or its designee all          $400,000.00
Warehouse Receipts held as collateral and
any right to assert claims against Surety
Bonds issued by Harco National Insurance
Co. in the penal sum of $2,402,704
Claim against the A/R in inventory and cash           $625,000.00
for the bean enterprise
Subtotal                                                                           $1,025,000.00
TOTAL                                                                              $7,325,000.00


        Vantage holds security interests against prepetition bean inventory, bean accounts receivable
and proceeds from the sale of beans. By virtue of entry of an Order Granting Debtor’s Emergency
Motion for Authority to Obtain Post-Petition Financing, Payoff Certain Liens of Vantage Bank and
Establish Procedures for Purchase of Edible beans [Docket #467] the Court approved the
conveyance, or modification of the automatic stay permitting foreclosure of the tracts of the real
property listed in the chart above. Additionally, due to the payment of $625,000 from the PACA

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Reserve and the bean enterprise operating account, Vantage will release its claims against the assets
of the bean enterprise. The Debtor projects that the provision of financing for the purchase of
additional inventories of black and pinto beans will result in net profits from the bean enterprise in
the approximate sum of $800,000. These funds then can be used to fund necessary expenditures by
the Debtor in carrying out the provisions of this Plan.

                Falcon will receive payment in full of its outstanding claim in the amount of
approximately $6,000,000, plus all accrued interest and attorneys’ fees since the date of the filing of
its Proof of Claim, by receiving the net proceeds from the sale of the Moore Farm having an estimate
value for purposes of the Plan of $7,000,000. The payment of the indebtedness owed to Falcon will
be consideration for Falcon releasing its Deeds of Trust against all other real property of the estate
including but no limited to its Deeds of Trust against the Progreso Facility and any other tracts of
real property encumbered in any manner by its recorded Deeds of Trust. For purposes of the Plan,
the Debtor projectsdisputes that the sale of Moore Farms will result in unencumbered net proceeds
available to fund the Plan in the approximate sum of $500,000transfers are invalid.

        In order to compromise and settle the dispute between the Debtor and GrainChain relating to
its asserted second liens against the Progreso Facility and Moore Farms, as well as its first liens
against the Baryta Industrial Tract, Emory Farms and the Edcouch Facility, the Parties have reached
an agreementDebtor proposes to nullifysettle the disputes between the parties as follows:
        •       GrainChain’s liens will be nullified as to the asserted liens of GrainChain against
            these assets.
        •      In exchange for releasing its liens, including its Deeds of Trust against these real
            property tracts, the Debtor has entered into an agreement whereby GrainChain, the
            Unsecured Creditors, and Harco Insurance will hold joint liens against the tracts with
            GrainChain being entitled to 45%, the General Unsecured Creditors entitled to 4045%
            and Harco entitled to 15%. 10%.
        •       Upon the sale of any of the tracts the net proceeds from the sale will be paid over to
            the Plan Agent and he will distribute the fundsbe distributed among these three
            constituent groups in accordance with suchthe above percentages. These percentages,
            and the division of the net proceeds according to these ratios, will continue until such
            time as the claims of the constituent groups have been paid in full or all of the real
            property assets have been sold.
        Further, the percentages held by the three constituent groups against the real property tracts
will carry over and control the division of the net profits derived from the operations of the Edcouch
and Progreso Facilities in accordance with the terms of the Operating Agreement put in place prior
to theupon confirmation of the Plan.
        GrainChain will be obligated to pay up to a minimum of $250,000 per year to the claims of
General Unsecured Creditors. depending on the percentage of “net profits” distributions. In the
event that the percentage of net profits due to be paid to the General Unsecured Creditors Class is

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less than $250,000 to the Unsecured Creditor Class, GrainChain will pay the difference to the Plan
Agent for distribution to the Unsecured Creditor Class. If the net profits distribution exceeds
$250,000 the largerexcess sum shall be paid over to the Unsecured Creditor Class and paid pro-rata
among the Creditors who have voluntarily chosen to be treated in such Class. The payment of the
net profits to the General Unsecured Creditors will be reduced as the claims are paid. Such such that
for each percentage reduction the percentage of net profits to GrainChain will increase and the
percentage paid to the General Unsecured Class will decrease. The Unsecured Creditor Class will
not be paid any more than the principal amount of the allowed Unsecured Claims; provided,
however, GrainChain will endeavor to operate the Debtor and arrange the sale of the joint lien assets
at a value to pay the Unsecured Creditor Class the highest recovery possible on their Allowed
Claims.
         B.             Since Harco Insurance holds a contingent unliquidated claim that may not be
              determined by the Effective Date for the first three yearsTREATMENT OF OTHER
              CLAIMS
        Harco Proof of Claim: Harco National Insurance Company (“Harco”) has filed a Proof of
Claim for the full amount of all TDA Surety Bonds. This Plan proposes to allow that Claim in full
pursuant to the treatment and impairment set out herein. This consensual treatment provided in the
Plan provides that, upon funding of the TDA Surety Bonds in full to the Creditors provided in this
Plan, thereafter for the first three (3) years, the net profits shall be divided solely between
GrainChain at the initial percentage of 45% and the General Unsecured Creditors receiving 55%.
The unsecured claimUnsecured Claim of Harco is being subordinated due to the fact that they areit is
a creditor whoCreditor which must fund the payment of the surety bondsTDA Surety Bonds to the
creditorsCreditors entitled to receive them under the provisions of this Plan. AfterHowever,
beginning in the third year of the Plan, Harco shall be entitled to receive 1510% of the net profits3 to
reduce its presumably liquidated claimLiquidated Claim until such time as the claimClaim is
extinguished from either the receipt of net proceeds realized from the sale of real property or its
share of the net profits of the Debtor. upon completion of the five-year term of the Plan and the
payment of its share of the assets of New Co.
       The net profits are understood to be derived from the combined operations relating to the
purchase and sale of grain, edible beans, and sunflower seeds as well as any other revenue
generating activities undertaken by the Debtor.
        Creditor-Farmers holding claimsClaims that may be entitled to distributionsDistributions
from the proceeds of the surety bondsTDA Surety Bonds may either choose to be paid solely by the
bondTDA Surety Bond receipts, or to participate and receive their pro-rata share of the percentages
paid to General Unsecured Creditors on a prpro-rata basis from the receipt of net proceeds from the
sales of real estate or the net profits from the operations of the Debtor as provided herein.
         All grainOnly claimants deemed that specifically “opt-out” of the Plan will be eligible to

3        The “net profits” are understood to be derived from the combined operations relating to the purchase and sale of
grain, edible beans, and sunflower seeds as well as any other revenue generating activities undertaken by the Debtor.


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participate in the distribution of the surety bondTDA Surety Bond proceeds will be paid from the
pool of funds to be distributed by the TDA. However, if these Plan Agent. Further, for the avoidance
of doubt, any holders of grain claims that choose distribution from the bondto “opt-out” of the Plan
in favor of Distribution from the TDA Surety Bond claims they will not have any preferences they
received waived by the Debtor. The Debtor projects that the holders of grain claims associated with
the delivery of feed grains to the Progreso Facility will be paid approximately 12 cents on the dollar;
the holders of grain claims associated with the delivery of feed grains to Santa Rosa/Donna will
receive approximately 5 cents on the dollar; and the holders of grain claims making deliveries to
feed grains to the Edcouch Facility will receive a projected 100 cents on the dollar. also face
preference exposure.

        The holders of grain claims who opt-in to the Plan will participate in the pool of
creditorsCreditors treated in the General Unsecured Class and will have all preference
claimsPreference Claims waived and released by the Debtor in exchange for their transfer and
assignment of any rights they may have to assert claims and receive distributionsDistributions from
the proceeds of the surety bonds.TDA Surety Bonds. The amount of their allowed general unsecured
claimAllowed General Unsecured Claim will then share pro-rata from all distributionsDistributions
made to the Debtor for the benefit of holders of General Unsecured Claims as provided in the Plan.
                Any Plan Treatment Objections by Harco: Absent the agreed Plan treatment for
the Harco Claim, Harco holds a contingent Unliquidated Claim that may not be determined, absent
adjudication under this Plan process by the Effective Date. Thus, in such event of a Harco Objection
to this Plan and/or confirmation of the Plan, the Debtor will respond and file its own written object to
Harco’s Claim based on:
               (i)     subordination 4 of Harco’s Claim to payment in full of all Creditors in the
        Class of Unsecured Creditors who are potential Bond Claimants, and
                (ii)   the obligation of Harco to advance the full amount of its filed Proof of Claim
        to those Creditors provided in this Plan, and as provided in the Plan.
Such Objection by Harco and Objection by Debtor (the “Objections”) shall be determined at, and as
a part of, the Confirmation hearing upon the Bankruptcy Court invoking the Adversary Rules of
Procedure to the determination of the Objections pursuant to its authority to do so. 5 The Debtors

4       See, American Surety Co. v. Sampsell, 317 U.S. 269, 66 S. Ct. 571 (1946) - a surety's claim was properly
postponed until payments in full were made to all claimants who were members of the class of creditors covered by the
bond.
5       See, e.g. Lucas v. Dynergy Inc. (In re Dynegy Inc.), 2013 U.S. Dist. LEXIS 78479, at *17-18 (S.D.N.Y. June 4,
2013)
        At the discretion of the Bankruptcy Court, Rule 23 may be invoked in the context of an objection to
        the confirmation of a chapter 11 plan. The objection to the confirmation of a chapter 11 plan is a
        "contested matter." See Fed. R. Bankr. P. 3020(b)(1) ("An objection to confirmation is governed by
        Rule 9014."); Bear Tooth Mountain Holdings Ltd. P'ship v. ML Manager LLC ("In re Mortgs. Ltd."),
        No. 2:08 bk 07465 RJH, 2013 Bankr. LEXIS 1393, 2013 WL 1336830, at *4 n.12 (Bankr. D. Ariz.
        Mar. 28, 2013) [*18] ("Pursuant to [Rule] 3020(b) . . . and 9014, confirmation of plans and hearings


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projectDebtor hereby requests the Bankruptcy Court invoke the Adversary Rules of Procedure to
determine the Objections. Accordingly, it shall not be necessary to file a separate Adversary
Proceeding, upon invoking the adversary rules of procedure, to resolve the Objections and the Plan
treatment of Harco’s.
       The Debtor projects that over the five-year term of the Plan that holders of unsubordinated
General Unsecured Claims will be paid in full. At the end of the Plan, GrainChain will become the
sole equity interest holder owingowning stock in the Debtor or its successorNew Co.
         3.      Status of C.       MEANS FOR IMPLEMENTATION OF THE PLAN

On the Administration ofday following the Bankruptcy
        Formation of Official Committee of Unsecured Creditors

       On March 9, 2023, the U.S. Trustee’s Office appointed an Official Committee of Unsecured
Creditors (“UCC”) in this case. The members of the Committee are as follows:

                      Thomas Walker, Jr.                               Thomas Zdansky
                      Stony Ridge Foods, Inc.                          1467 Fm 498
                      715 Atlantic Ave.                                Lyford, TX 78569
                      Benson, MN 56215
                                                                       Johnny Guin
                      Frank E. Russell                                 PO Box 1773
                      Russell Plantation II                            Weslaco, TX 78599
                      28481 St. Hy 100
                      Los Fresnos, TX 78566                            Karen Arnold
                                                                       PO Box 595
                      William E. Bailey                                Weslaco, TX 78599
                      Frank Bailey Grain Company, Inc.
                      230 Montgomery St.                               Brian Jones
                      Fort Worth, TX 76107                             d/b/a Brian Jones Farms
                                                                       PO Box 213
                                                                       Edcouch, TX 78538

        Retention and Payments to Professionals

        on objections to confirmation are contested matters . . . ."); In re Farrell, 38 B.R. 654, 655 (Bankr.
        W.D. Mo. 1984).6 This case involves an objection to a chapter 11 plan. Therefore, Bankruptcy Rule
        9014 provided the Bankruptcy Court with discretion to decide whether to apply Bankruptcy Rule 7023
        and with it the latter's inclusion of Rule 23. In re Ephedra Prods. Liab. Litig., 329 B.R. 1, 5 (S.D.N.Y.
        2005); see also In re Am. Reserve Corp., 840 F.2d at 488 ("Rule 23 may apply . . . at the bankruptcy
        judge's discretion.").




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        Employment of Mullin Hoard & Brown, L.L.P. as counsel for the Debtor

        On February 27, 2023, the Debtor filed its Motion to Employ Mullin Hoard & Brown, L.L.P.
as Counsel for the Debtor. As set forth in the motion to employ, Mullin Hoard & Brown, L.L.P.
received a retainer in the amount of $100,000.00 fromEffective Date, Garcia Grain Trading Corp.,
prior to the filing of the Bankruptcy Case. Upon filing the Bankruptcy Case, MULLIN HOARD &
BROWN, L.L.P. made a draw on the retainer of $38,866.50 to pay for legal fees and expenses that
had been incurred prior to filing the petition in this case, leaving a balance in the retainer account of
$61,133.50. On April 6, 2023, the Court entered an Order Granting the Motion to Employ Mullin
Hoard & Brown, LLP. On August 28, 2023, counsel for the Debtor filed it First Motion for
Compensation and First and Last Request for Draw Against Retainer seeking $564,500.50 in fees
and reimbursement of expenses of $22,350.29 as well as a request for permission to draw against
retainer funds totaling $61,133.50. The hearing on this fee application is set for September 20, 2023.

        Employment of D. Williams & Co., Inc. as accountants for the Debtor.

        On March 3, 2023, the Debtor filed its Motion to Employ D. Williams & Co., Inc. as
Accountants for the Debtor. On April 6, 2023, the Court entered an Order Granting the Motion to
Employ D. Williams & Co., Inc. The services of the accounting firm of D. Williams & Company
included a forensic accounting investigation into the facts and circumstances that resulted in losses
of grain or receipts from the grain which resulted in the Debtor’s Bankruptcy and a determination as
to what causes of action the Estate may have to recover the missing property of the Estate.
transferred to insiders within a year prior to the Petition Date. On August 28, 2023, the accountants
for the Debtor filed their First Motion for Compensation seeking $61,460.03 of fees. The hearing on
this fee application is set for September 20, 2023.
        Employment of Jordan & Ortiz, P.C. as counsel for the UCC

        On March 17, 2023, the Committee filed its Application of the Official Committee of
Unsecured Creditors of Garcia Grain Trading Corp. to Retain and Employ Jordan & Ortiz, P.C. as
Counsel. On April 10, 2023, the Court entered an order authorizing the employment of Jordan &
Ortiz, P.C. as counsel for the Committee. On September 14, 2023, counsel for the UCC filed a
corrected fee application with the Court seeking fees totaling $285,353.75 and expenses of $523.48.
The hearing on this fee application is set for September 20, 2023.

        Employment of Dundon Advisers, LLC as Financial Advisor for the UCC

       On April 5, 2023, the Committee filed their Motion to Employ Dundon Advisers, LLC as
Financial Advisor for Committee. On April 28, 2023, the Court entered an order authorizing the
employment of Dundon Advisers, LLC as Financial Advisor for the Committee. On August 30,
2023, Dundon filed an application requesting fees of $92,273, and expenses of $1,606.04. The
hearing on this fee application is set for September 20, 2023.

        Employment of Sánchez Devanny as Counsel for Debtor to Collect Foreign Receivables

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        To expedite the collection of the Accounts Receivable in Mexico, the Debtor obtained
authority to initiate foreign collection procedures [Dkt #162], and obtained an Order [Dkt #270]
authorizing the Debtor to employ the law firm of Sánchez-Devanny Eseverri, S.C. (“Sánchez
Devanny”), a law firm based in Nuevo León, Mexico, as counsel for Granos Y Cereales Rio Bravo,
S.A. de C.V. (“Rio Bravo”) to institute foreign collection procedures, as reorganized pursuant to the
provisions of 11 U.S.C. § 105. Since then, the Debtor has cooperated with Sánchez Devanny as its
attorneys have undertaken efforts to analyze and address the collection of foreign receivables from
customers of the Debtor in Mexico. Sánchez Devanny is in the process of preparing an application
for compensation and reimbursement of expenses which is anticipated to request $8,000 in fees and
$373 in expenses.

        Appointment of Chief Restructuring Officer:

        The Debtor engaged Richard S. Schmidt, pursuant to the Court’s Agreed Order entered on
August 15, 2023 [Dkt #429], serve as the Chief Restructuring Officer (“CRO” or “Schmidt”) in the
Debtor’s Chapter 11 bankruptcy case. The compensation for the CRO has been established at
$20,000 per month plus reasonable and necessary expenses, and these funds will come from the
profits out of the sunflower enterprise whereby GrainChain has committed up to $250,000 to cover
the administrative expenses.

        Employment of Kay Walker as Independent Counsel for the Chief Reorganization Officer

       The Debtor engaged Kay Walker as Independent Counsel for the CRO pursuant to the
Court’s Order entered on August 16, 2023 [Dkt. #431], and she was paid an initial retainer by the
Debtor of $20,000. No fee application has been filed by Ms. Walker to the present date.

        3.      Status of Reorganization Efforts Undertaken by the Debtor

        Following a hearing the Plan, shall emerge as a Texas corporation (the “New Co.”),
notwithstanding that all operations will be conducted by the Bankruptcy Judge on July 7, 2023, to
consider Debtor’s Amended Emergency Motion for (I) Interim Authority to Incur Post-Petition
Indebtedness with GrainChain, Inc. Pursuant to 11 U.S.C. § 364(c)(1) Together with Final Authority
to Grant Priority Pursuant to 11 U.S.C. § 364(c)(2),(3); (II) Request to Approve Operating Agreement
with GrainChain, Inc., and independent manager, Elkins Grain, LLC; and (III) Request for
Preliminary and Final Hearings [Dkt. #352], the Court instructed the Debtor and its counsel that the
Court required a fiduciary be named on behalf of the Debtor’s Bankruptcy Case to whom he could
look for accountability with respect to the reorganization and management of Garcia. The
Bankruptcy Court denied final approval of the Operating Agreement pending the appointment of
such a fiduciary and recommendations from such fiduciary concerning the advisability of the Debtor
entering such a transaction, overseen by both the Plan Agent and GrainChain and subject to the
continuing jurisdiction of the Bankruptcy Court.

        On July 13, 2023, the Court entered its Order granting the Debtor interim authority on an

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emergency basis to incur indebtedness with GrainChain, Inc. (“GrainChain”) not to exceed
$1,280,281.00 secured with a super priority administrative claim under 11 U.S.C. § 364(c)(1), as
reflected in the Promissory Note attached to such Order, and bearing interest at an annual interest
rate of 3 points over the prime interest rate as published by the Wall Street Journal, and if not paid
before, maturing and becoming fully payable on February 29, 2024. This Order allowed the Debtor
to secure financing from GrainChain to put in place a bond with TDA in favor of Elkins Grain and
by the premiums for insurance covering the Debtor’s Progreso and Edcouch grain facilities, along
with the grain stocks stored there, and liability and workmen’s compensation insurance as well. This
Order [Dkt. #373] allowed the Debtor to begin operations at Progreso and Edcouch by leasing such
facilities to Elkins Grain and allowing Elkins to manage the purchase and sale of feed grains.

       In response to the Bankruptcy Judge’s instructions with respect to the appointment of a
responsible fiduciary for the Bankruptcy Case, on July 11, 2023, the Debtor filed its Ex Parte
Emergency Motion for Authority to Engage the Honorable Richard S. Schmidt as Mediator for the
Debtor [Dkt. #366].

        Following the entry of an Order appointing the mediator, the Debtor along with
representatives of the major secured creditors, the UCC and its counsel and financial advisor, as well
as counsel for the Debtor, the owners of Garcia and their individual counsel, attorneys from the
Texas Attorney General’s Office, and counsel for Harco National Insurance Co. met in Austin,
Texas, to participate in negotiations toward agreements that would allow the filing of a confirmable
Plan of Reorganization.

        As a result of the progress made during the mediation, the Debtor along with the creditors
came up with a Term Sheet which sets forth the basic terms of a Plan of Reorganization which could
be further refined, drafted into written form, and submitted to the Court by the Court’s established
deadline.

       To facilitate all these tasks, on August 2, 2023, the Debtor requested appointment of a Chief
Restructuring Officer (“CRO”) [Dkt #393] to administer the case and to propose a confirmable Plan.
An Agreed Order appointing Richard S. Schmidt as the CRO was entered on August 15, 2023 [Dkt
#429].

        The Plan of Reorganization and Disclosure Statement as reflected in this document is the
result of hours of discussions with counsel representing the major secured creditors in the case, the
UCC and its counsel, and attorneys representing the major suppliers of edible beans, as well as the
attorneys representing the TDA and Harco National Insurance Co. which is the company that issued
the surety bonds connected with the pre-petition licenses for Progreso, Santa Rosa/Donna, and
Edcouch.

        4.               Estimated Value of Current Assets and Liabilities

         The estimated current value of the Debtor’s major assets along with a listing of its liabilities
is set forth in summary form in the charts below.

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                               ASSETS (As of July 31, 2023)
Category          Description                         Estimated Value
PERSONAL PROPERTY
Cash and Cash     Cash on hand                        $2,800.00
Equivalents       Checking,           Wells Fargo –   $16,365.09
                  savings, money Gen. Operating
                  market, or          Wells Fargo –   $3,517,611.77
                  financial           Grain Escrow
                  brokerage           Wells Fargo –   $868.83
                  accounts            Edcouch repair
                                      Wells Fargo –   $7,801.49
                                      Progreso repair
                                      Wells Fargo –   $11,951.01
                                      Sunflower
                                      Wells Fargo –   $258,419.22
                                      Bean
                                      Wells Fargo –   $408.327.38
                                      PACA Reserve
                                      Wells Fargo --  $3,425,766.34
                                      Investment for
                                      Progreso Rehab.
        Category                                                        $7,649,911.13
         Subtotal
Accounts          Grain & Sunflower a/r               $1,049,895.90
Receivable        Bean a/r                            $218,459.92
                  Accounts receivable – Petition Date $2,140,698.79
        Category                                                        $3,409,054.61
         Subtotal
Surety Bonds       Hargo National Insurance           $2,155,650.00
                  Company (Surety Bonds for grain
                  in storage for benefits of TDA )
        Category                                                        $2,155,650.00
         Subtotal
Inventory,        Work in progress: In and out        $20,000.00
Excluding         service of yellow peas
Agricultural      Inventory of pinto and black beans, $584,236.65
Assets            Grain at Progreso Elevator (Salvage $2,318,400.00
                  Claim)
                  Soybean seed                        $284,000.00
        Category                                                        $3,206,636.65
         Subtotal
Office Furniture, See Dkt #50, Exhibit B50            $38,360.00

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Fixtures, and
Equipment and
Collectibles
         Category                                                              $38,360.00
          Subtotal
Machinery,              2017 Ford 250                      $48,999.72
Equipment, and          VIN#1FT7W2BT3HEE56508
Vehicles                2020 Ford F159                     $29,200.00
                        VIN#1FTEWVV1E59LFB68462
                        Other – miscellaneous located at   $444,600.00
                        Progreso, Edcouch, Santa
                        Rosa/Donna
        Category                                                             $522,799.72
         Subtotal
         TOTAL                                                             $16,982,412.11
      PERSONAL
      PROPERTY

REAL PROPERTY
Real Property     Santa Rosa Elevator (22056 Bass          $2,000,000.00
                  Blvd, Harlingen, Texas); Adams
                  Gardens Subdivisions B&C PT Blk
                  281 and 503
                  Progreso Elevator (1/8 Mile N. Int’l     $4,430,000.00
                  Bridge 1015
                  Edcouch Elevator (624 W. Missouri        $1,334,435.00
                  Edcouch, Texas 78538)
                  Pitts Property Corporate Office &        $2,410,000.00
                  Val Verde Elevator (101 N. Val
                  Verde Rd, Donna, Texas 78537)
                  Willacy Property (25 acres)              $75,000.00
                  McCook Property (subject to              $22,670.00
                  contract of sale) (FM 490 1/2 Mile
                  East of FM 681)
                  Donna Elevator (101 N. Val Verde)        $1,500,000.00
        Category                                                           $11,772,105.00
         Subtotal
  TOTAL REAL                                                               $11,772,105.00
     PROPERTY
All Other Assets  Notes Receivable from Val Verde          $0
                  Grain Holding LC ($614,603.00)
                  Note Receivable from PSG                 $0
                  Products ($3,453,493.00)

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                       Note Receivable from Mission        $0
                       Crane, LLC ($28,000.00)
                       Insurance Claim (Edcouch            $0
                       Elevator) FCCI Insurance Co.
      Category                                                                 -0-
      Subtotal
TOTAL OF                                                            $28,439,242.28
REAL AND
PERSONAL
PROPERTY

                                 LIABILITIES (As of July 31,2023)




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         Secured Creditors and Their Collateral:

Name of         Description of             Liquidation Value      Amount of        Amount of
Creditor        Asset/Collateral           of Collateral/Source   Secured Claim    Equity
                                           of Estimated Value
                                                                                   /(Deficiency)
StoneX          Ownership or               Grain Escrow Acct.:    Claim:           ($11,749,353)
                security interest in       $3,571,371             $19,461,058.00
                warehouse receipts
                for grain in Progreso,     Surety Bond for
                along with any             Progreso: $1,009,750
                associated accounts
                receivable, bond
                                           Accounts receivable:
                claims, or insurance
                                           $812,184
                claims associated
                with such grain
                                           FCCI Claim for grain
                                           stock: $2,318,400
                                           (Estimated for
                                           240,000 bushels @
                                           $9.66)                 TOTAL:
                                                                  $19,461,058


                                           TOTAL:
                                           $7,711,705.00

Falcon          1st lien deeds of trust    Progreso Elevator:
                                                                  Claim:           $5,770,847
Bank            against real estate        $4,430,000             $5,989,153
                consisting of
                Progresso Elevator         Security interest in
                and Moore Farm             equipment valued at
                (1,460 acres)              $330,000

                                           Moore Farm:
                                           $7,000,000             TOTAL:
                                           TOTAL:                 $5,989,153
                                           $11,760,000




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                                           Surety Bond for
Vantage         1st lien deeds of trust                           Claim:       ($939,864)
Bank            against real estate        Donna/Santa Rosa       $8,789,064
                consisting of Pitts        (TXIFSU 0570548):
                Property, 101 N. Val       $739,200.00
                Verde Donna), and
                Santa Rosa elevator,       Pitts Property:
                                           $2,410,000
                and security interest
                in warehouse receipts
                                           Santa Rosa Elevator:
                for grain in Santa
                                           $2,200,000
                Rosa, along with
                inventory, accounts
                                           101 N. Val Verde
                receivable, and cash
                                           (Donna) [Titled in
                of bean enterprise
                                           Val Verde Holdings]:
                                           $1,500,000

                                           Inventory, A/R, and
                                                                  TOTAL:
                                           Cash of Bean
                                                                  $8,789,064
                                           Enterprise =
                                           $1,000,000




                                           TOTAL: $7,849,200



Grain      2nd lien against                Equity in Progresso    Claim:       $684,503
Chain, LLC Progreso Elevator               Elevator and Moore     $7,841,055
           and Moore Farms;                Farms: $5,770,847
                1st lien deeds of trust    Emory Farms:
                against real estate        $770,000
                consisting of Emory        Baryta industrial
                Farms (56 acres)           tract: $650,276
                [Titled in PSG
                Products], and Baryta      Edcouch Elevator:
                Industrial [Titled in      $1,334,435             TOTAL:
                Octavio Garcia] and                               $7,841,055


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                Edcouch Elevator
                                           TOTAL: $8,525,558
                facilities
EQUITY                                                                            $684,503
AFTER
SECURED
CLAIMS


UNSECURED CLAIMS

General Unsecured                                      Priority    Non-Priority

American Bean, LLC                 $184,000.00                     $184,000.00

American Express                   $4,617.90                       $4,617.90

Amex Trs. Co., Inc.                $8,524.35                       $8,524.35

Brian Jones Farms                  $76,916.82          $7,475.00   $69,441.82

Cargill                            $44,422.90                      $44,422.90

Carl Hensz                         $97,748.78          $7,475.00   $90,273.78

Chad Szutz                         $58,495.56          $7,475.00   $51,020.56

Dreibelbis Farms                   $290,691.70         $7,475.00   $283,216.70

East Fresh Farms                   $65,769.41          $7,475.00   $58,294.41

Fike Farms                         $353,230.88         $7,475.00   $345,755.88

Frank Bailey Grain Co.             $653,585.11                     $653,585.11

Graneros Guadalupe SA              $506,334.56                     $506,334.56

HAR-VEST                           $182,214.60         $7,475.00   $174,739.60

Helena Enterprises, LLC            $518,134.08                     $518,134.08

Internal Revenue Service           $190,597.64                     $190,597.64

Johnny Guin                        $117,560.65         $7,475.00   $110,085.65


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 Karen Arnold                       $107,332.39         $7,475.00        $99,857.39

 Lothringer Family Farms            $70,618.69          $7,475.00        $63,143.69

 Planter's Grain Coop               $255,696.00                          $255,696.00

 Robert Walsdorf                    $8,018.76           $7,475.00        $543.76

 Russell Plantation II              $668,169.85         $7,475.00        $660,694.85

 Simplot A.B. Retail                $217,537.13                          $217,537.13

 Skalitsky Farms                    $149,842.47         $7,475.00        $142,367.47

 Sorghum Checkoff Program           $301,795.30                          $301,795.30

 Stony Ridge Food, Inc.             $1,439,027.75                        $1,439,027.75

 ValleyCoop Oil Mill                $115,201.99                          $115,201.99

 Wesley Valerius                    $119,444.52         $7,475.00        $111,969.52

 Zdansky, J.V.                      $346,739.93         $7,475.00        $339,264.93

 TOTAL GENERAL                      $7,152,269.72       $112,125.00      $7,040,144.72
 UNSECURED




 Administrative Claims:


Administrative Expenses                                     $1,500,000
Priority Claims pursuant to 11 U.S.C. Section               $ 112,125
507(a)(6)(A)
Priority Claim of the IRS                                   $ 571,705
Priority Claim of the Texas Comptroller                     $   5,676
Priority Claims of Local Taxing Authorities                 $ 138,537
Total Estimated Priority Claims:                                                         $2,328,045




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Summary of General Unsecured Claims:

StoneX (Deficiency Claim)                                   $11,749,383
Vantage Bank (Deficiency Claim)                             $ 939,684
Unsecured Claim of the IRS (Penalties)                      $ 190,598
Unsecured Claims (Outstanding Grain Payables)               $ 3,254,255
Unsecured Claims (Outstanding Bean Payables)                $ 1,504,489
Unsecured Claims (Outstanding General                       $ 1,977,193
Payables)
Harco Insurance Co. (Outstanding Bond Claim)                $ 1,748,950
Total General Unsecured Claims:                                            $21,364,552




 Insider Suit to Recover the Alamo Grain Elevator and Other Assets:

         The Debtor will continue to prosecute and pursue to judgment the recovery of the assets
 transferred to Rodolfo Plascencia, Sr. and WNGU Properties, LLC as is now joined in Adversary
 Proceeding No. 23-7002, styled Garcia Grain Trading Corporation vs. Rodolfo Plascencia, Sr. and
 WNGU Properties, LLC, pending before the U.S. Bankruptcy Court for the Southern District of
 Texas, McAllen Division (the “Alamo Adversary”). The Alamo Adversary will be transferred to the
 Plan Trust and be administered by the Plan Agent.

         In addition, all other causes of action owned by the estate against insiders or third parties will
 be transferred to the Plan Trust and administered by the Plan Agent. These claims would include any
 lawsuits relating to the collection of pre-petition accounts receivable as well as any preference,
 turnover actions, fraudulent conveyances or other rights belonging to a Debtor in Possession in the
 bankruptcy cases.

         Plan Governing Law.

         New Co. will be maintained as a Texas corporation organized under Texas law.

         Debtor’s Equity.

        As of the Effective Date, all of the existing equity in the Debtor will be transferred and
 assigned to the Plan Trust.

         Plan Trust.

         A post-confirmation trust (the “Plan Trust”) will be established to carry out the
 implementation of the Plan and administration of Claims as provided herein. The Plan Contribution
 shall be transferred to the Plan Trust on the Effective Date. The Plan Agent (as defined below) shall

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be the trustee of the Plan Trust. The beneficiaries of the Plan Trust shall be the General Unsecured
Creditors of the Debtor as more specifically defined in the Plan of Reorganization. The Plan Agent is
authorized to engage counsel and other professionals as is reasonably necessary to administer the
Plan Trust without further Bankruptcy Court order or approval. The Plan Agent will charge an
hourly fee as provided in the Plan for the work involved in administering the Plan Trust. The Plan
Agent’s fees and expenses related to the administration of the Plan Trust, including the fees and
expenses of all professionals engaged by the Plan Agent shall be paid from the assets of the Trust,
along with any unpaid administrative expenses of the Debtor approved by the Court shall be paid
prior to disbursement to the Plan beneficiaries.

        Creation of the Plan Trust.

         On the Effective Date, the Plan Trust Agreement shall be executed, and the Plan Trust shall
be established and become effective. In accordance with this Plan and the Plan Trust Agreement, the
Plan Trust shall be established for the purpose of (i) collecting, receiving, holding, maintaining, and
administering the Plan Trust Assets; (ii) making all payments and Distribution to holders of Allowed
Claims in accordance with the terms of this Plan; (iii) closing the Bankruptcy Cases; and (iv)
otherwise implementing the Plan and finally administering the Estate. The Plan Trust shall not
engage in a trade or business and shall conduct its activities consistent with the Plan Trust
Agreement. On and after the Effective Date, the Plan Trust shall perform and pay when due
liabilities, if any, related to ownership or operation of the Plan Trust Assets.

        Plan Agent.

        Upon confirmation of the Plan of Reorganization, the CRO shall become the Plan Agent (the
“Plan Agent”) and shall administer the Plan Trust in accordance with the terms and provisions of the
Plan Trust Agreement as described and set forth in the Plan. The Plan Agent shall be authorized to
retain professionals to advise and assist in the functions of the Plan Agent and the Plan Agent and his
professionals and advisors will be compensated from Plan Trust Assets.

        Transfer of Plan Trust Assets.

        On the Effective Date, the Plan Trust Assets shall be transferred and assigned to the Plan
Trust, but subject to the Plan Trust’s obligations under the Plan and Plan Trust Agreement and
subject to all properly perfected Liens not released pursuant to the terms of this Plan. The Plan
Agent, as trustee of the Plan Trust, shall be substituted as the plaintiff, defendant, or other party in all
lawsuits in which either of the Debtor is, as applicable, a party as of the Effective Date. The
conveyance of all Plan Trust Assets shall be accomplished pursuant to the Plan and the Confirmation
Order and shall be deemed effective upon the Effective Date. Any Person having a Lien,
encumbrance, or other interest against any Plan Trust Assets shall be conclusively deemed to have
consented to the transfer and assignment of such Plan Trust Assets to the Plan Trust by failing to
object to confirmation of this Plan, except as otherwise provided in this Plan. The Plan Agent may
present such Order to the Bankruptcy Court as may be necessary to require third parties to accept
and acknowledge such conveyance to the Plan Trust. Such Order may be presented without further
notice other than as has been given in this Plan.


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        Specifically included as Plan Trust Assets are the following:

        The following is a listing of assets and funds that the Debtor anticipates having on the
Effective Date. These assets will be contributed to the Plan Trust and be available to fund the initial
payments called for in the Plan on the Effective Date.

        Proceeds from the Sale of Real Property:

                Proceeds from the sale of Willacy Farm                 $144,000

                Proceeds from the sale of McCook                       $22,000

                Subtotal Real Estate Proceeds                          $166,000

        Contributions to the Trust:

                Funds to be contributed by Octavio Garcia:             $3,500,000

        FCCI Insurance Claims:

                Claim for Rehabilitation/Reconstruction – Progreso $3,400,000

                Claim for Damaged Grain                                $3,000,000

                Claim for Business Interruption                        $1,200,000

                Claim for Damaged Conveyors                            $   80,000

                Subtotal                                                       $7,680,000

        Claims Against Surety Bonds:

                Alamo, Texas                                                   $242,200

                Progreso, Texas                                                $1,009,750

                Santa Rosa and Donna, Texas                                    $739,200

                Edcouch, Texas                                                 $406,700

                Subtotal                                                       $2,397,850

        Funds/Claims in Debtor-in-Possession Accounts:

                Grain Proceeds Reserve Account                                 $3,550,402

                Accounts Receivable (Grain)                                    $812,000

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                Accounts Receivable Collections (Farm Accounts)               $500,000

                Profits Derived from Operations of Elkins Grain               $1,313,059

                Subtotal                                                      $6,175,461

        TOTAL Funds Available on Effective Date                               $19,919,311


        Plan Contributions.

        Certain tracts of real property held in the name of PSG Products, LLC, Garcia Balli, Ltd., and
Val Verde Grain Holdings, LLC, as well as in the name of Octavio Garcia, as more specifically
described herein and in the plan of reorganization, will be marketed and liquidated by Octavio
Garcia so that the net proceeds from the sales of these assets which shall not be less than $3,500,000
shall be paid over to the CROPlan Agent and used to pay creditorsCreditors of the Debtor’s
bankruptcy estateBankruptcy Estate as is provided in this Plan.

         All funds paid into the bankruptcy estateBankruptcy Estate or constituting property of the
estateEstate, including any funds from the business interruption claim connected with the damage to
the Progreso facilityFacility, and any funds recovered by the Debtor in any pending or contemplated
litigation brought by the Debtor under the provisions of the Bankruptcy Code.

       The sum of $350,000 to be funded by GrainChain as provided in the Operating Agreement
between the Debtor, Elkins Grain Company, and GrainChain for the payment of administrative fees
and expenses of Garcia.

Implementation of Restructuring:

        On the day following the Effective Date, Garcia as reorganized pursuant to the provisions of
the Plan shall emerge as a Texas corporation (“Reorganized Debtor”).

Plan Trust:

        A post-confirmation trust (the “Plan Trust”) will be established to carry out the
implementation of the Plan and administration of claims as provided herein. The Plan Contribution
and the Alamo Adversary shall be transferred to the Plan Trust on the Effective Date. The Plan
Agent (as defined below) shall be the trustee of the Plan Trust. The beneficiaries of the Plan Trust
shall be the general unsecured creditors of the Debtor as more specifically defined in the plan of
reorganization. The Plan Agent is authorized to engage counsel and other professionals as is
reasonably necessary to administer the Plan Trust without further Bankruptcy Court order or
approval. The Plan Agent will charge an hourly fee as provided in the Plan for the work involved in
administering the Plan Trust. The Plan Agent’s fees and expenses related to the administration of
the Plan Trust, including the fees and expenses of all professionals engaged by the Plan Agent shall
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be paid from the assets of the Trust, along with any unpaid administrative expenses of the Debtor
approved by the Court shall be paid prior to disbursement to the Plan beneficiaries.

Plan Agent:

        Upon confirmation of the plan of reorganization the CRO shall become the Plan Agent (the
“Plan Agent”), and shall administer the Plan Trust in accordance with the terms and provisions of the
trust agreement as described and set forth in the Plan.

Residual of Reserve Account From Sale of Assets:

       The balance of the Plan Contribution, if any, existing after payment in full of all allowed
claims as provided in the Plan, shall be returned to the Plan Sponsors.

Governing Law:

        Reorganized Debtor will be maintained as a Texas corporation organized under Texas law.

Debtor’s Equity:

       As of the Effective Date, all of the existing equity in the Debtor will be transferred and
assigned to the Plan Trust.

        Post-confirmation contributions, including net profits and make-up payments to reach
minimum net profits, sale of joint lien properties, recoveries on asset or avoidance litigation, and
other sources.

        Issuance of Plan Trust Interest.

        It is an integral and essential element of this Plan that the offer and issuance of Plan Trust
Interest pursuant to this Plan, to the extent such Plan Trust Interest constitute securities under the
1933 Act, shall be exempt from registration under the 1933 Act and any State or local law, pursuant
to Section 1145 of the Bankruptcy Code and any other applicable exemptions, without limitation.
The Confirmation Order shall include a finding and conclusion, binding upon all parties to the
Bankruptcy Cases, the Debtor, the Plan Agent, the U.S. Securities and Exchange Commission and all
other federal, state and local regulatory enforcement agencies, to the effect that the Plan Agent is
successor to the Debtor under this Plan pursuant to Section 1145 of the Bankruptcy Code, that the
offer of the Plan Trust Interest is occurring pursuant to this Plan, that the offer of the Plan Trust
Interest is in exchange for any Claim or Equity Interest, and that such offer and issuance, to the
extent such Plan Trust Interest constitute securities under the 1933 Act, fall within the exemption
from registration under the 1933 Act and any state or local law pursuant to Section 1145 of the
Bankruptcy Code. In lieu of certificates evidencing the Plan Trust Interest, the Plan Agent shall
maintain a register of the names, addresses and interest percentages of the Plan Trust Beneficiaries
based upon the provisions of this Plan, which designate the persons who are entitled to receive the

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Plan Trust Interest. The Plan Trust Interest may not be transferred, sold, pledged or otherwise
disposed of, or offered for sale except for transfers by operation of law.

        Cancellation of Equity Interests.

        On the Effective Date, all Equity Interests in the Debtor shall be terminated and extinguished
and any certificates that previously evidenced ownership of those Equity Interests shall be deemed
cancelled (all without further action by any Person or the Bankruptcy Court) and shall be null and
void and such certificates shall evidence no rights or interests in the Debtor, save and except for any
duties and responsibilities of the members and managers of the Debtor, along with the requisite
authority, to prepare and file the final tax returns for the Debtor.

        Plan Provisions for Releases and Injunction:.

         On the Effective Date, and except as otherwise provided herein, the Debtor, on behalf of
itself and its bankruptcy estateBankruptcy Estate, shall release, acquit, and forever discharge the
Plan Sponsors, the CRO and GrainChain, and each of their respective directors, officers,
representatives, agents and attorneys, from any and all claims, counterclaims, demands,
controversies, costs, contracts, debts, sums of money, accounts, reckonings, bonds, bills, damages,
obligations, liabilities, objections, actions, and causes of action of any nature, type or description,
whether at law or equity, by common law or statute, in contract, for, or otherwise, known or
unknown, asserted or unasserted, or suspected or unsuspected that have or could have been asserted
in connection with the Debtor’s bankruptcy caseBankruptcy Case.

Conditions to Confirmation:

       The Plan Contribution necessary to fund distributions under the Plan on the Effective Date
as provided herein shall be not less than $6,500,000.

        Preservation of Causes of Action and Rights.

        All Causes of Action, rights of setoff and other legal and equitable defenses of the Debtor or
the Estate are preserved unless expressly released, waived, or relinquished under the Plan or the
Confirmation Order, and shall vest in the Plan Trust as part of Plan Trust Assets. No Person may rely
on the absence of a specific reference in the Plan or the Disclosure Statement to any Cause of Action
against them as an indication that a Cause of Action will not be pursued against them.

       Further, unless expressly released by the Plan or by an order of the Bankruptcy Court,
any and all such claims and Causes of Action against third parties not otherwise assigned to
the Debtor or released as part of a Settlement are specifically reserved, including but not
limited to any such claims or Causes of Action relating to any counterclaims, demands,
controversies, costs, debts, sums of money, accounts, reckonings, bonds, bills, damages,
obligations, liabilities, objections, legal proceedings, equitable proceedings, and executions of
any nature, type, or description, avoidance actions, preference actions, fraudulent transfer

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actions, strong-arm power actions, state law fraudulent transfer actions, improper assignment
of interest, negligence, gross negligence, willful misconduct, usury, fraud, deceit,
misrepresentation, conspiracy, unconscionability, duress, economic duress, defamation,
control, interference with contractual and business relationships, breach of fiduciary duty,
conversion, aiding and abetting, civil conspiracy, conflicts of interest, misuse of insider
information, concealment, disclosure, secrecy, misuse of collateral, wrongful release of
collateral, failure to inspect, environmental due diligence, negligent loan processing and
administration, wrongful recoupment, wrongful setoff, violations of statutes and regulations of
governmental entities, instrumentalities and agencies, equitable subordination, debt re-
characterization, substantive consolidation, securities and antitrust laws violations, tying
arrangements, deceptive trade practices, breach or abuse of any alleged fiduciary duty, breach
of any special relationship, course of conduct or dealing, obligation of fair dealing, obligation
of good faith, malpractice, at law or in equity, in contract, in tort, or otherwise, known or
unknown, suspected or unsuspected.

       Unless expressly released by the Plan or by an Order of the Bankruptcy Court, the Debtor
may hold the following claims, all of which shall be preserved and transferred to the Plan Trust
pursuant to the terms of this Plan.

                •        Preference claims under section 547 of the Bankruptcy Code;

                •        Fraudulent transfer and other avoidance claims arising under section 506,
                         542, 543, 544, 545, 546, 547, 548, 549, 550, 551 and 553 of the Bankruptcy
                         Code and various state laws;

                •        Unauthorized post-Petition transfer claims including, without limitation,
                         claims under section 549 of the Bankruptcy Code;

                •        Claims and Causes of Action asserted in current litigation, whether
                         commenced pre- or post-Petition;

                •        Counterclaims asserted or which may be asserted in current or future
                         litigation;

                •        Any and all claims and Causes of Action against any related entities,
                         including, without limitation any other entity sharing common ownership
                         with the Debtor, Octavio Garcia, Baldemar Salinas, Rodolpho Plascencia,
                         including, but not limited to, (i) any Cause of Action listed above, (ii) any
                         claims based on any intercompany debt or amounts borrowed by any
                         Affiliate or related company from either the Debtor or any other related
                         entity, and (iii) any Avoidance Actions, including preference and fraudulent
                         transfer;

                •        Any and all claims and Causes of Action against the officers, directors, or
                         shareholders of the Debtor, including, but not limited to, (i) any Cause of

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                         Action listed above, (ii) any claims based upon any amounts borrowed by a
                         third party or credit extended to a third party, from the Debtor, (iii) breach of
                         fiduciary duty; and (iv) Avoidance Action, including preference and
                         fraudulent transfers;

                •        Any unasserted rights to pursue judgment the recovery of the assets
                         transferred to Rodolfo Plascencia, Sr. and WNGU Properties, LLC as is now
                         joined in Adversary Proceeding No. 23-7002, styled Garcia Grain Trading
                         Corporation vs. Rodolfo Plascencia, Sr. and WNGU Properties, LLC,
                         pending before the U.S. Bankruptcy Court for the Southern District of Texas,
                         McAllen Division (the “Alamo Adversary”). Specifically, the Alamo
                         Adversary will be transferred to the Plan Trust and be administered by the
                         Plan Agent; and

                •        Any and all other causes of action, whether brought or whether known at the
                         time, owned by the estate (whether legal or equitably) against Insiders or
                         third parties will be transferred to the Plan Trust and administered by the Plan
                         Agent. These claims would include any lawsuits relating to the collection of
                         pre-Petition accounts receivable as well as any preference, turnover actions,
                         fraudulent conveyances, or other rights belonging to the Debtor in Possession
                         in the Bankruptcy Case.

        Standing Plan Agent to Serve as Trustee and Representative of the Estate.

        The Plan Agent shall serve as Trustee and shall be appointed representative of the Estate
pursuant to Section 1123(b)(3)(B) of the Bankruptcy Code with respect to the Plan Trust Assets.
With regard to the Plan Trust Assets, the Plan Trust may enforce, sue on, and, subject to Bankruptcy
Court approval (except as otherwise provided herein), settle or compromise (or decline to do any of
the foregoing) any or all of the Causes of Action transferred to the Plan Trust. Except as otherwise
ordered by the Bankruptcy Court, the Plan Agent shall be vested with authority and standing to
prosecute the Causes of Action transferred to the Plan Trust. The Plan Agent and his or her attorneys
and other professional advisors shall have no liability for pursuing or failing to pursue any such
Causes of Action.

                             ARTICLE IIIVI
             TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

                (I) ADMINISTRATIVE AND PRIORITY UNSECURED CLAIMS
                                              (Classes 1 and 2)

        A.      Class 1 – Administrative Claims (Unimpaired)

       Class 1 shall consistconsists of the Administrative Claims entitled to priority under Section
507(a)(1) through (7) of the Bankruptcy Code, including the fees for services rendered and expenses

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incurred by the court-appointed counsel and other professionals for the Debtor through the Effective
Date.

Class 1 - Administrative Claims
Name of Claim Holder                     Description                  Estimated Amount
Mullin Hoard & Brown, LLP                Counsel for Debtor           $850,000
D. Williams & Co.                        Accountants for Debtor       $120,000
Jordan & Ortiz, P.C.                     Counsel for UCC              $450400,000
Dundon AdvisorsAdvisers, LLC             Financial Advisor for UCC    $150,000
Sánchez-Devanny Eseverri, S.C.           Special Counsel for Debtor   $20,000
Richard Schmidt                          CRO                          $250,000
Kay Walker                               Counsel for CRO              $50,000
TOTAL                                                                            $1,890840,000.00

         The Plan provides that holders of Class 1 claims shall be treated in the following manner: On
or before the Effective Date, allowed administrative expense claims, including any unpaid fees and
expenses of the CRO, counsel, financial advisors, and accountants for the Debtor and the
Committee, and allowed priority tax claims shall be paid in full from the Plan Contribution.
Reorganized DebtorNew Co. shall pay allowed administrative expense claims that come due after
the Effective Date in the ordinary course of business as they come due. All fees for services rendered
and expenses incurred after the Effective Date by court-appointed counsel and other professionals
for Debtor shall be paid by the Debtor in the ordinary course of their business without the necessity
of filing fee applications or seeking approval or allowance of the Bankruptcy Court.

        Additionally, if there are any pre-confirmationConfirmation U.S. Trustee quarterly fees,
these will be paid upon Confirmation of the Plan. Further, any post -confirmation fees pursuant to 28
U.S.C. § 1930(a)(6) will be paid in the Debtor’s ordinary course of business as these fees arise. After
confirmation, the Debtor shall file with the Court and serve on the United States Trustee a monthly
financial report for each month (or portion thereof) the case remains open in a format prescribed by
the U.S. Trustee and provided to the Debtor by the U.S. Trustee. All U.S. Trustee Feesfees will cease
upon the closing of the case by the courtCourt.

        B.      Class 2 – Priority Unsecured Claims (Unimpaired)

         Class 2 shall consistconsists of the unpaid pre-petitionPetition claims of the taxing
authorities owed by the Debtor as to Ad Valorem taxes, income taxes and sales taxes, which are
allowed pursuant to Section 507(a)(8) of the Bankruptcy Code., and unsecured priority claims of
grain claimants pursuant to section 507(a)(6) of the Bankruptcy Code. A total amount of taxes due
shall be determined by the filed Proof of ClaimClaims filed by the taxing entities prior to the date set
by the Bankruptcy Court for filing proofs of claim. However, the Debtor believes that the total
amount outstanding in Class 2 for pre-petitionPetition Ad Valorem taxes due Cameron County and
for Hidalgo County to be less than the amounts reflected in the filed Proofs of Claim of these taxing
authorities. Thus, the Debtor will either clarify the amount owing these counties through negotiations
or, if necessary, file an objection to the Proofs of Claim and allow the Court to determine the exact
amount owed by the Debtor.


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   Class 2 – Priority Unsecured Claims
   1. IRS Asserted Priority Claim                                                     $571,705.00
   2. Ad Valorem Tax Claims                                                           $138,537.00
   3. Texas Comptroller of Public Accounts3. Grain                              $5,675112,125.00
   Priority – Section 507(a)(6)
   4. Grain Priority – Section 507(a)(6)Claims of                            $112,125138,537.00
   Local Taxing Authorities
   TOTAL:                                                                    $828,042960,904.00

       On or before the Effective Date, the allowed priority tax claims Allowed Priority Tax Claims
shall be paid in full from the Plan Contribution. Reorganized Debtor shall pay allowed
administrative expense claims that come due after the Effective Date in the ordinary course of
business as they come due.

Treatment of Secured Tax Claims of Ad Valorem Taxing Authorities:.

         The allowed secured claims of ad valorem taxing authorities shall bear interest at the
statutory rate (12% per annum) and shall be paid in full from the proceeds of any sales of
estateEstate assets, if not paid in full from the proceeds of the sale, then by the Debtor upon or before
the Effective Date of the planPlan by Reorganized DebtorNew Co. Taxing authorities shall retain
their statutory liens until their allowed claims are paid in full.



Treatment of Claim of State Comptroller:.

        Any unpaid claims of On October 11, 2023, the Texas State Comptroller will be paid in
fullof Public Accounts withdrew its Proof of Claim (POC #36 filed on the Effective Date of the Plan
of Reorganization.6/6/2023).

Treatment of Tax Claims of the Internal Revenue Service: (IRS).

        After the Debtor has analyzed any asserted tax claims of the IRS and filed any appropriate
amended IRS returns of the Debtor, the allowed priority claimsAllowed Priority Claims of the IRS
shall bear interest at the applicable statutory rate and shall be paid in sixty (60) monthly installments
by the Reorganized Debtor. Reorganized DebtorNew Co. New Co. is permitted to pre-pay the
allowed priority tax claims are paid in fullAllowed Priority Tax Claims at any time at its sole
discretion.

                                     (II). SECURED CLAIMS
                                         (Classes 3 through 7)

        Secured Claims under the proposed Plan consist of Classes 3 through 67 described below.

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        C.      Class 3 – Secured Claim of StoneX Commodity Solutions, LLC f/k/a FCStone
                Merchant Services, LLC (“StoneX”) (Impaired)

       Class 3 consists of the Secured Claim of StoneX Commodity Solutions, LLC f/k/a FCStone
Merchant Services, LLC (“StoneX”) in the approximate amount of $19,461,058.000 (POC #37 filed
on 6/13/2023). StoneX has a claim represented by negotiable warehouse receipts and it asserts
ownership interests or security interests in the following collateral:
    •   Pre-Petition Accounts Receivable (“A/R”) derived from the sale of the grain in the
        approximate sum of $1,929,160.00 of which the estimated sum of $812,184.01 is collectible.
    •   Funds in the Grain Escrow Account in the amount of $3,517,371.00.
    •   Surety Bond in the amount of $1,009,750. This amount consists of the surety bond covering
        the Progreso Elevator (Progreso Elevator refers to the grain elevator facility owned by the
        Debtor located at the municipal address of 707 S. Int’l Blvd., Progreso, Hidalgo County,
        Texas) in the amount of $1,009,750.in the amount of $1,009,750.
    •   FCCI CheckFunds realized for the stockgrain insurance claim for salvaged corn from out of
        the corngrain damaged in the April 2023 windstorm in the amountestimated sum of
        $2,318,400.00 (i.e., ~240,000 bushels at $9.66 per bushel per Impulsora Contract)..
Total value of thesethis collateral in which StoneX either holds title or has a security interest is
approximately $7,711657,705.0100.


StoneX’s Security Interest in the Collateral          Value
Pre-Petition Accounts Receivable (“A/R”)              $812,184.01
derived from the sale of the grain
Funds in Grain Escrow Account                         $3,571,371.00
Surety Bond for Progreso (TXIFSU 0570549)             $1,009,750.00
for $1,009,750
FCCI Check for the stock insurance claim for          $2,318,400.00
salvaged corn

Subtotal (StoneX’s security interest)                                             $7,711,705.01


The source    Thus, StoneX has a secured claim against the estate estimated at $7,657,705.00 and
an unsecured deficiency claim in the approximate sum of $11,803,353.
        Treatment of StoneX Claims:



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         The Debtor and StoneX have reached an agreement to compromise and settle all secure,
unsecured, priority or any other claims which StoneX holds against the estate for the consideration
of $13,000,000, and to waive and release any claims against the estate over that amount. In order to
raise a portion of the $13,000,000 to be paid to StoneX, Octavio Garcia and his related entities agree
to contribute to the Plan Trust $3.5 million, plus such other funds as may be agreed upon between
Octavio Garcia and the Debtor to reach the $13,000,000 threshold.
       Upon the receipt of the $13,000,000 from the Plan Trust all claims and causes of action
which StoneX holds against the bankruptcy estate shall be fully extinguished and discharged, and the
personal guarantee of Octavio Garcia given to StoneX to secure the indebtedness owed by the
Debtor will be released.
        An initial payment for this claim isin the amount of $7,000,000 will be made on the Effective
Date from the funds in the Grain Escrow Account, along with contributions to the Plan Trust realized
by the sale of real estate owned by Octavio Garcia as well as certain assets titled in the name of
entities owned or controlled by him and his wife which shall not be less than $3.5 million.
       The sources of payment from Octavio and his related entities to satisfy his contribution to the
Plan Trust comes from equity in real property assets summarized as follows:.
        Octavio Garcia, the principal of the Debtor, has and his related entities have disclosed assets
with an estimated value of $4,086100,000.00, which consists These assets consist of three rental
houses (Garcia Balli, LLC) approximately worth $370,000.00; the Fort Stockton land (4.6 acres)
worth approximately $14,000.00; equity in Rincon Ranch [i.e., 1,882 acres of ranch land located in
Starr County, Texas, known as Rincon Ranch] and Duke Energy Wind Lease royalties in the
approximate amount of $2,795,600.00 [consisting of 1,800,000; equity in Toluca Ranch with the
valued at an estimated $1,500,000 estimated value less VantageVantage’s secured position ($of
$450,000.00), i.e.,, leaving equity of $1,050,000.00, plus Rincon Ranch ($850,000.00 in IOLTA
account + $1,000,000.00 Note), i.e., $1,800,000.00), total about $2.8 million];; equity in the Moore
South, SPI Condo, & Huffman in the approximate amount tract of land, South Padre Island
Condominium, and Hoffman Farm all having an estimated combined value of $866,000.00. The
estimated value of the unencumbered assets ofThese properties are all being presently marketed for
sale by Octavio Garcia consistingin an effort to raise a minimum of equity in those assets is around
$3,036,000.00..5 million which he shall then contribute to the Plan Trust.
There are claims against Octavio Garcia for personal guarantees on Notes; however, these claims are
only worth as much as After the amount that can realistically be collected. Moreover, if payment
from the Estate owns these causesPlan Agent of action, the amount recovered from Octavio Garcia’s
unencumbered assets would be shared with all of the creditors, not just StoneX. Instead, the parties
will enter into a Compromise funds from the Grain Reserve Account equaling $3.5 million and
Settlement Agreement to resolve these claims, as allowed under the Bankruptcy Code for Chapter 11
proceedings.

Source of Payment to StoneX                           Amount
StoneX’s Security Interest                            $7,711,705.01


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Payment from Plan Agent                               $3,500.000.00
TOTAL                                                 $11,211,705.01


If Octavio Garcia contributes aroundthe other $3.5 million from his unencumbered assets, the
amount that can to be contributed by Octavio Garcia, the balance of the funds totaling approximately
$6,000,000 will be paid to StoneX will be around $11,211,705.01 (including StoneX’s security
interest in from the amount of $7,711,705.01).
Treatment:
       The approximate amount of StoneX’s distributionPlan Trust from recoveries or contributions
received by the Debtor’s estate in exchange for StoneX’s release all its claims against the estate is
estimated at $12,545,005.00 which isPlan Agent summarized in as follows:

Miscellaneous Funds in the Grain Escrow Account         $3,517,371.00
          • Surety Bond Proceeds                Paid Into Plan Trust $2,397,050.00869,416

            •    Collected Grain Receivables                    $812,184.00

            •    FCCI Claim for Grain Stock                     $2,318,400.00

Payment from Plan Agent                           $3,500,000.00
TOTAL CONSIDERATION:                              $12,545,005.00

In accordance with the Compromise and Settlement Agreement reached between StoneX and the
Debtor, the parties have agreed to resolve all of the claims of StoneX and release the Debtor and all
related parties in exchange for payment of $12,545,005.00 to StoneX.
Specifically, the partially secured claim of StoneX and its unsecured claim shall be treated as
follows:
    a. $12,545,005.00 (“StoneX Payment”) to be paid pursuant to an agreed upon Chapter 11 Plan;
                 A minimum of $76,000,000 of the StoneX Payment will be paid no later than
                 confirmation of the Chapter 11 Plan;

    b. The minimum initial payment will include the then current balance of the Grain Escrow
       Account and a $3.5MM cash payment paid into the bankruptcy estate from Octavio Garcia
       and then paid out to StoneX;
    c. After payment of $7,000,000.00, the remaining $5,545,005.00 will be paid from the Surety
       Bond Proceeds; Collected Grain Receivables; FCCI Claim for Grain Stock; and Accounts
       Receivable;
    d. The remaining $5,545,005.00 will be guaranteed by Octavio Garcia to cover any shortfalls in
       the sources of cash identified above; the guaranty will be executed upon plan approval and

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        will be without any defense known or unknown, specifically including any defenses raised in
        the pending District Court Guaranty litigation being pursued by StoneX;
    e. Until such time as the $3.5MM cash is paid by Octavio Garcia (through Plan Agent), the
       current District Court litigation will continue to proceed pursuant to the current Case
       Management Order;
    f. The parties will agree upon provisions to include in the Chapter 11 Plan to mitigate and
       account for the risk of Octavio’s either filing or being involuntarily placed into bankruptcy
       within 90 days of making the $3.5MM payment; and
    g. Upon the payment of $12,545,005.00, StoneX claims will be considered fully paid and
       extinguished and it shall not be entitled to assert any unsecured deficiency claims against the
       bankruptcy estate.

        D.      Class 4 – Secured Claim of Vantage Bank Texas (Impaired)

      Class 4 consists of the Secured Claim of Vantage Bank Texas (“Vantage Bank”) whowhich
filed a Proof of Claim (POC #41) in the amount of $8,789,063.88 on June 16, 2023 for loan of
monies.


      Vantage Bank’s claim is secured by 1st Lien Deeda first lien deed of Trusttrust against the
Santa Rosa Elevator (i.e., the grain elevator facility owned by the Debtor located at the municipal
address of 22056 Bass Boulevard in Harlingen, Texas) which the Debtor believes has an
approximate value of $1,350,000.00; a 1st Lien Deedfirst lien deed of Trusttrust against the Donna
Elevator (i.e., the grain elevator facility owned by the Debtor located at the municipal address of 101
North Val Verde Rd. Donna, Texas) which the Debtor believes has an approximate value of
$1,350,000.00; and a 1st Lien Deedfirst lien deed of Trusttrust against the Pitts Property (i.e., the
real property owned by the Debtor with the municipal address of 1919 Mile 3 ½ Road, Donna,
Texas, i.e., corporate office and the Val Verde Elevator) which the Debtor believes has an
approximate value of $3,600,000.00.

      Vantage Bank has an outstanding loan in the amount of approximately $450,000 (plus interest)
which his secured by a Deed of Trust against a 170-acre tract of land known as “Toluca Ranch” (the
real property at the municipal address of Country Rd 793 & 1702 TX Hidalgo County, Texas)
owned by Garcia Balli, Ltd. having an estimated value of $1,700,000.00; however, such
indebtedness is not cross-collateralized with the debt and assets of the Debtor.
      Vantage Bank also has a claim for the warehouse receipts to grain in the Donna/Santa Rosa
Facility (Donna Elevator or “Donna Facility” refers to the grain elevator facility owned by the
Debtor located at 101 North Val Verde Rd. Donna, Texas and the Santa Rosa Elevator or “Santa
Rosa Facility” refers to the grain elevator facility owned by the Debtor located at the municipal
address of 22056 Bass Boulevard in Harlingen, Texas) which has a bond (TXIFSU 0570548) in the
amount of $739,200.00.



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      In addition, Vantage Bank has claim against the A/R in the inventory and cash for the bean
enterprise, the Debtor estimates that Vantage Bank will be entitled to an additional amount of about
$1,000,000.00. Per Compromise and Settlement agreement between the parties, the Debtor offered
and Vantage Bank agreed to accept $625,000.00 instead of $1,000,000.00 for its interest in the bean
enterprise.
Thus, Vantage Bank’s total collateral can be summarized as follows:
Vantage Bank’s Security Interest in the               Value
Collateral
Pitts Property (1st Lien Deed of Trust)               $3,600,000.00
Santa Rosa Elevator (1st Lien Deed of Trust)          $1,350,000.00
                    st
Donna Elevator (1 Lien Deed of Trust)                 $1,350,000.00
Subtotal                                                                          $6,300,000.00
Assignment to the estate or its designee all          $400,000.00
Warehouse Receipts held as collateral and
any right to assert claims against Surety
Bonds issued by Harco National Insurance
Co. in the penal sum of $2,402,704
Claim against the A/R in inventory and cash           $625,000.00
for the bean enterprise
Subtotal                                                                          $1,025,000.00
TOTAL                                                                             $7,325,000.00

Therefore, the total payment to Vantage Bank is estimated to be $6,300,000.00 (total value of its
collateral) plus $1,025,000.00 which will be $7,325,000.00.
Therefore, Vantage Bank’s estimated take-out amount will be $7,325,000.00.
Treatment of Vantage Claims:

The partially secured claim of Vantage and its unsecured claim shall be treated as follows:

    a. Loan #54613 [Garcia Grain Trading Corporation] – At Vantage Bank Texas’ (at times
       may be referred to as “Bank” or “Lender”) election, the Debtor will deed and assign the Pitts
       Farmland including any and all rights that may include but are not limited to water and
       mineral rights and agreements associated with the Pitts Farmland (collectively the “Pitts
       Farmland Collateral”), to the Bank pursuant to a bankruptcy court order Bankruptcy Court
       Order deeding and assigning the Pitts Farmland Collateral to the Bank (or its designated
       nominee) (subject to the Texas Banking Commissioner’s approval), free and clear of any and
       all liens, or by agreement as to a termination of automatic stay and/or any injunction to
       permit the Bank to proceed with foreclosure (deed and assignment to Bank by court

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        orderCourt Order or foreclosure by Bank of Pitts Farmland Collateral shall collectively be
        referred to as the “Pitts Farmland Collateral Bank Sale”). Prior to the Pitts Farmland
        Collateral Bank Sale, the Pitts Farmland Collateral may be sold to a third party for a sales
        price agreed upon by the Bank in writing. The sale of the Pitts Farmland Collateral will be
        subject to any Lender regulatory requirements including but not limited to such requirements
        of the Office of Foreign Assets Control (also referred to as “OFAC”). For clarification, prior
        to Pitts Farmland Collateral Bank Sale, the Pitts Farmland Collateral will not be sold nor a
        contract for sale be entered into with a third party (“Proposed Buyer”) without prior written
        approval from the Bank which shall be contingent upon an OFAC search of all beneficial
        owners of the Proposed Buyer and/or its assigns (collectively, “Beneficial Owners”)
        acceptable to the Bank. The Proposed Buyer and its Beneficial Owners will be required to
        provide any information needed by the Lender to conduct such OFAC search. The sale of
        the Pitts Farmland Collateral to any 3rd party approved by the Bank will be free and clear of
        all liens and the Bank shall be entitled to all net proceeds after payment of standard closing
        costs. It is further understood that the Bank shall have the right to review and approve the
        closing settlement statement including all settlement or closing costs, proration of expenses
        and withholdings from sale proceeds upon any sale of the Pitts Farmland Collateral. Any
        and all income, including but not limited to rental income, due and/or received for the Pitts
        Farmland Collateral prior to the sale to a 3rd party approved by the Bank or the Pitts
        Farmland Collateral Bank Sale shall be paid to Bank. Save and except ad valorem taxes, any
        capital gain taxes or other taxes that may be owed resulting from the sale, disposition,
        transfer, assignment, or other similar treatment of the Pitts Farmland Collateral will be the
        responsibility of and borne by the Debtor and Bank is released from any and all liability as to
        such taxes. Solely for the purposes of Debtor’s/Bankruptcy Estate’s estimation only, it is
        believed that the sale of the Pitts Farmland Collateral may produce net proceeds to be paid to
        the Bank on its claim owed by Debtor in the approximate amount of $3,600,000.00.


    b. Loan #112382 & #112390 [Garcia Grain Trading Corporation] – At Bank’s election, the
       Debtor will deed and assign the Santa Rosa Grain Facility, including any and all rights that
       may include but are not limited to water and mineral rights, and agreements associated with
       the Santa Rosa Grain Facility (collectively, the “Santa Rosa Collateral”), composed of Tract
       1 and Tract 2 as described in the deeds securing the loans of Debtor to the Bank pursuant to
       a bankruptcy court order deeding and assigning the Santa Rosa Collateral to the Bank (or its
       designated nominee) (subject to the Texas Banking Commissioner’s approval), free and clear
       of any and all liens, or by agreement as to a termination of automatic stay and/or any
       injunction to permit the Bank to proceed with foreclosure (deed and assignment to Bank by
       court order or foreclosure by Bank of Santa Rosa Collateral shall collectively be referred to
       as the “Santa Rosa Collateral Bank Sale”). Prior to the Santa Rosa Collateral Bank Sale, the
       Santa Rosa Collateral may be sold to a third party for a sales price agreed upon by the Bank
       in writing. The sale of the Santa Rosa Collateral will be subject to any Lender regulatory

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        requirements including but not limited to such requirements of the Office of Foreign Assets
        Control (also referred to as “OFAC”). For clarification, prior to the Santa Rosa Collateral
        Bank Sale, the Santa Rosa Collateral will not be sold nor a contract for sale be entered into
        with a third party (“Proposed Buyer”) without prior written approval from the Bank which
        shall be contingent upon an OFAC search of all beneficial owners of the Proposed Buyer
        and/or its assigns (collectively, “Beneficial Owners”) acceptable to the Bank. The Proposed
        Buyer and its Beneficial Owners will be required to provide any information needed by the
        Lender to conduct such an OFAC search. The sale of the Santa Rosa Collateral to any 3rd
        party approved by the Bank will be free and clear of all liens and the Bank shall be entitled
        to all net proceeds after payment of standard closing costs. It is further understood that the
        Bank shall have the right to review and approve the closing settlement statement to include
        but not limited to all settlement or closing costs, proration of expenses, and withholdings
        from sale proceeds upon any sale of the Santa Rosa Collateral. It is specifically understood
        by Debtor that no contract for the sale of the Santa Rosa Collateral will be entered into until
        all impediments to the sale of the Santa Rosa Collateral have been cleared and approved by
        the Bank. The sale of the Santa Rosa Collateral is subject to any limitation in the existing
        lease agreement between the Debtor and Texas Valley Grain and any other current limitation
        that may exist impacting the Santa Rosa Collateral. For clarification, the Bank is and will
        remain entitled to all rental income received through the existing lease period with Texas
        Valley Grain of the Santa Rosa Collateral. The Debtor shall work and cooperate with the
        Lender to resolve any issues that may impact the sale of the Santa Rosa Collateral including
        but not limited to Tract 2. Save and except ad valorem taxes, any capital gain taxes or other
        taxes that may be owed resulting from the sale, disposition, transfer, assignment, or other
        similar treatment of the Santa Rosa Collateral will be the responsibility of and borne by the
        Debtor and Bank is released from any and all liability as to such taxes. Solely for the
        purposes of Debtor’s/Bankruptcy Estate’s estimation only, it is believed that the sale of the
        Santa Rosa Collateral may produce net proceeds to be paid to the Bank on its claim owed by
        Debtor in the approximate amount of $1,350,000.00.


    c. Loan #115998 [Garcia Balli Loan] –Debtor, Octavio Garcia and Spouse, individually and
       as owners of Garcia Balli, LTD, acknowledge and agree that Vantage Bank Texas has a first
       lien on the property described as the Toluca Ranch, including any and all rights that may
       include but are not limited to water and mineral rights, and agreements associated with the
       Toluca Ranch (the “Toluca Ranch Collateral”) that secures the non-bankruptcy Loan
       #115998 to Garcia Balli, LTD, as borrower, (the "Garcia Balli Loan"). The Bank shall be
       paid all amounts due and owing on the Garcia Balli Loan upon the sale and/or foreclosure of
       the Toluca Ranch Collateral. Any and all income, including but not limited to rental income,
       due and/or received for the Toluca Ranch Collateral prior to the sale of the Toluca Ranch
       Collateral shall be paid to Lender. Save and except ad valorem taxes, any capital gain taxes
       or other taxes that may be owed resulting from a sale of the Toluca Ranch Collateral will be

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        the responsibility of and borne by Garcia Balli, LTD and/or Octavio Garcia and Spouse,
        individually and as owners of Garcia Balli, LTD, and the Bank is released from any and all
        liability as to such taxes. Solely for the purposes of Debtor’s/Bankruptcy Estate’s estimation
        only, it is believed that the amount owed to Bank at time of sale of the Toluca Ranch
        Collateral may produce proceeds to be paid to the Bank on the Garcia Balli Loan in the
        approximate amount of $460,000.00 (plus any accrued interest, expenses, and costs of
        collection).

    d. Loan #116006 [Garcia Grain Trading Corporation] – Debtor, Val Verde Grain Holdings,
       and Octavio Garcia and Spouse, individually and as owners of Val Verde Grain Holdings
       (collectively, Octavio Garcia and Spouse and Val Verde Grain Holdings will be referred to
       as “Val Verde Holdings”), acknowledge and agree that Vantage Bank Texas has a first lien
       on the property described as the Donna Warehouse, including any and all rights and
       agreements associated with the Donna Warehouse, (the “Donna Warehouse Collateral”) that
       secures the bankruptcy Loan #116006 to Garcia Grain Trading Corporation, as Borrower, as
       collateral securing all amounts owed to Vantage Bank Texas by Debtor. Debtor and Val
       Verde Grain Holdings agree that, at the Bank’s election, the Debtor and Val Verde Grain
       Holdings will deed and assign the Donna Warehouse Collateral to the Bank pursuant to a
       bankruptcy court order deeding and assigning the Donna Warehouse Collateral to the Bank
       (or its designated nominee) (subject to the Texas Banking Commissioner’s approval), free
       and clear of any and all liens, or by agreement as to a termination of automatic stay and/or
       any injunction to permit the Bank to proceed with foreclosure (deed and assignment to Bank
       by court order or foreclosure by Bank of Donna Warehouse Collateral shall collectively be
       referred to as the “Donna Warehouse Collateral Bank Sale”). Prior to the Donna Warehouse
       Collateral Bank Sale, the Donna Warehouse Collateral may be sold to a third party for a
       sales price agreed upon by the Bank in writing. The sale of the Donna Warehouse Collateral
       will be subject to any Lender regulatory requirements including but not limited to such
       requirements of the Office of Foreign Assets Control (also referred to as “OFAC”). For
       clarification, the Donna Warehouse Collateral will not be sold nor a contract for sale be
       entered into with a third party (“Proposed Buyer”) without prior written approval from the
       Bank which shall be contingent upon an OFAC search of all beneficial owners of the
       Proposed Buyer and/or its assigns (collectively, “Beneficial Owners”) acceptable to the
       Bank. The Proposed Buyer and its Beneficial Owners will be required to provide any
       information needed by the Lender to conduct such an OFAC search. The sale of the Donna
       Warehouse Collateral to any 3rd third-party buyer approved by the Bank will be free and
       clear of all liens and the Bank shall be entitled to all net proceeds after payment of standard
       closing costs from the sale of the Donna Warehouse Collateral. It is further understood that
       Vantage Bank Texas shall have the right to review and approve the closing settlement
       statement to include but not limited to all settlement or closing costs, proration of expenses,
       and withholdings from sale proceeds upon any sale of the Donna Warehouse Collateral. Any
       and all income, including but not limited to rental income, due and/or received for the Donna
       Warehouse Collateral shall be paid to the Bank. Save and except ad valorem taxes, any
       capital gain taxes or other taxes that may be owed resulting from the sale, disposition,

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        transfer, assignment, or other similar treatment of the Donna Warehouse Collateral will be
        the responsibility of and borne by the Debtor and/or Val Verde Grain Holdings and Bank is
        released from any and all liability as to such taxes. Solely for the purposes of
        Debtor’s/Bankruptcy Estate’s estimation only, it is believed that the sale of the Donna
        Warehouse Collateral may produce net proceeds to be paid to the Bank on its claim owed by
        Debtor in the approximate amount of $1,350,000.00.

    e. Bean Cash Collateral Proceeds – Debtor shall pay to Vantage Bank Texas the sum of
       $625,000.00 in cash (“$625,000.00 Bean Cash Collateral Payment”) derived from the cash
       and accounts receivable from the sale of the bean inventory (“Bean Cash Collateral
       Proceeds”) as a full and final settlement of its claim on the Bean Cash Collateral Proceeds.
       The $625,000.00 Bean Cash Collateral Payment shall be paid to the Bank no later than 10
       days after the entry of an order approving such payment to Vantage Bank Texas.


    f. Bean Inventory, Grain Inventory/Accounts Receivable, and Grain Surety Bonds
       Collateral – There is estimated an amount in excess of $600,000.00 of value of bean
       inventory (“Bean Inventory Collateral”) in which, pursuant to orders permitting use of the
       bean inventory and bean cash collateral, the Bank retains a first lien security interest.

        Additionally, the Bank claims a secured claim to any and all grain inventory and grain
        accounts receivable of Debtor (collectively, “Grain Collateral”). It is undetermined how
        much of such grain inventory and grain accounts receivable that are subject to the Bank’s
        claimed secured interest.

        Further, pursuant to warehouse receipts, the Bank claims a secured claim to the proceeds of
        any surety bond that covers any missing grain at the Santa Rosa Grain Facility and/or
        Progreso Grain Facility. The amount of the surety bond for the Santa Rosa Facility is
        approximately $739,000.00 and the amount of the surety bond for the Progreso Facility is
        approximately $1,009,750.00 (collectively, the Santa Rosa surety bond and Progreso surety
        bond will be referred to as the “Surety Bond”) for a Surety Bond total amount of
        $1,748,750.00.

        Debtor shall pay to Vantage Bank Texas the sum of $400,000.00 in cash in consideration of
        the Bank releasing any and claims it has as to the Bean Inventory Collateral, Grain Collateral
        or rights with respect to the warehouse receipts, and Surety Bond. Vantage Bank Texas will
        not release its claim on the Surety Bonds until after it receives the payment of the
        $400,000.00 which is to paid the earlier of (i) the closing of the sale of Toluca Ranch or (ii)
        the effective date of the confirmed Plan of Reorganization which shall be no later than 90
        days from entry of the order confirming the plan of reorganization and shall transfer to the
        Plan Agent the Vantage warehouse receipts.



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    g. Life Insurance on Octavio Garcia – As part of the Settlement, Octavio Garcia agrees to
       continue the assignment of Life Insurance Policy #T4000118328 issued by The Lincoln
       National Life Insurance Company covering the life of Octavio Garcia in the amount of
       $3,000,000 (the “Life Insurance Policy”) to Vantage Bank Texas and further agrees to
       continue the payment of the Life Insurance Policy through and including the Life Insurance
       Policy annual premium payment due for 2027. Vantage Bank Texas agrees to release its
       assignment of the Life Insurance Policy no earlier than 3/31/2028 and further agrees that in
       the event a claim is filed on the Life Insurance Policy and the Insurer tenders the benefits /
       funds to the Bank (the “Assigned Party’), the Bank and the Policy Owner and Beneficiaries
       agree that the Bank will use the Life Insurance Policy Proceeds to pay any remaining debt
       outstanding (the “Bank Deficiency”), if any, owed by Debtor, Garcia Grain Trading
       Corporation, and not paid or reduced from the net proceeds of the sale of collateral securing
       the loans described above, and/or other funds or proceeds as provided to the Bank as part of
       the Bankruptcy Settlement or a confirmed Bankruptcy Plan. For purposes of this provision,
       the Bank Deficiency shall include any remaining principal, accrued interest, expenses, legal
       and collections fees and other permissible expenses incurred by the Bank as to the above-
       described loans after application of any monies received by the Bank under the terms of this
       Agreement. All remaining Life Insurance proceeds after payment of any Bank Deficiency
       will be returned to the Decedent’s Estate or Beneficiary of Record. The Bank retains the
       right to fund the annual premium owing on the Life Insurance Policy.

    h. Mutual Release: Octavio Garcia, Gabriela Garcia, Val Verde Grain Holdings, Garcia Balli,
       LTD, Debtor and Debtor’s Bankruptcy Estate will release any and all claims, known or
       unknown, that they may have as to Vantage Bank Texas, its officers, directors, etc., and upon
       receipt of the $400,000 from the bankruptcy estate and the exchange of the collateral
       warehouse receipts Vantage shall release any and all claims, known or unknown, that it may
       have as to Octavio Garcia, Gabriela Garcia, Val Verde Grain Holdings, Garcia Balli, LTD,
       their officers, directors, and shareholders along with the Debtor and its Estate.

    i. Co-Guarantor: Vantage Bank Texas retains all rights and claims it has against co-
       guarantor, Plascencia.

        E.      Class 5 – Secured Claim of Falcon International Bank (Unimpaired)

        Class 5 consists of the Secured Claim of Falcon International Bank (“Falcon”) who filed
three Proofs of Claims (POC#38 for $1,152,412.11, POC #39 for $2,424,044.10 and POC #40 for
$2,412,696.50) in the total amount of $5,989,152.71 on June 14, 2023 for loaned money.

         Falcon’s claim is secured by a 1st Lien Deedfirst lien deed of Trusttrust against the Progreso
Elevator (i.e., the grain elevator facility owned by the Debtor located at the municipal address of 707
S. Int’l Blvd., Progreso, Hidalgo County, Texas) having an estimated value of $4,430,000.00, and a
1st Lien Deedfirst lien deed of Trusttrust against Moore Farms (located at Military Road, Progreso,

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Texas) having a current estimated value of $7,000,000.00 along with a security interest at equipment
valued at $330,000.00. Falcon has $5,770,847 of equity after payment of secured debt.
Thus, Falcon’s total collateral can be summarized as follows:


Falcon’s Security interest in Collateral              Value
                        st
Progreso Elevator (1 Lien Deedfirst lien              $4,430,000.00
deed of Trusttrust)
Moore Farms (1st Lien Deedfirst lien deed of          $7,000,000.00
Trusttrust)
Equipment (first lien security interest)              $330,00000.00
TOTAL                                                                                  $11,760,000

       Therefore, it follows that Falcon has an equity in the above collateral in the amount of
$5,770,847.29 (which is calculated as follows: total value of Falcon’s collateral, which is
$11,760,000, minus the total amount of POC #38, #39, #40, which is $5,989,152.71).
Treatment of Falcon Claims:
        Falcon will receive payment in full of its outstanding claim in the estimated amount of
approximately $6,000,000.00, plus all accrued interest and attorneys’ fees since the date of the
filing of its Proof of Claim, by receiving the net proceeds from the sale of the Moore Farm having an
estimateestimated value for purposes of the Plan of $7,000,000.00. The payment of the indebtedness
owed to Falcon will be consideration for Falcon releasing its Deeds of Trust against all other real
property of the estate including but nonot limited to its Deeds of Trust against the Progreso Facility
and any other tracts of real property encumbered in any manner by its recorded Deeds of Trust. For
purposes of the Plan, the Debtor projects that the sale of Moore Farms will result in unencumbered
net proceeds available to fund the Plan in the approximate sum of $500,000.
        Specifically:
    a. The secured claim of Falcon International Bank shall be satisfied in full by the sale of the
       Moore Farm tract. The Debtor agrees for the Moore Farm to be listed by Octavio with the
       real estate brokerage firm of Hanna Solutions for a listing price of $8,000,000, and a real
       estate commission of not more than 4%.


    b. Falcon agrees that it will accept a price for the Moore Farm sufficient to pay its secured
       claim in full. OctavioDebtor agrees that it shall accept a price of not less than $6,000,000.00.


    c. Any proceeds more than the amount necessary to satisfy the secured claim of Falcon shall be
       paid over to the bankruptcy estatePlan Agent and paid out as a plan contribution to satisfy


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        any unpaid administrative claims and then as dividends paid to the holders of Allowed
        General Unsecured Claims as more specifically provided hereinbelow.

        F.      Class 6 – Contested Secured Claim of GrainChain, Inc. (Impaired)

              Class 6 consists of the Secured Claim of GrainChain, Inc. (GrainChain”) who filed a
Proof of Claim (POC #42 filed on 6/19/2023)) in the amount of $7,841,054.99.
        GrainChain’s claim is secured by a 2nd Lien Deed of Trust against the Progreso Elevator and
Moore Farms (described above) against which Falcon International Bank holds the 1st Lien Deed of
Trust. The value of GrainChain’s equity interest in the above-described collateral is approximately
$5,770,847.29.
         In addition, GrainChain has a 1st Lien Deed of Trust against Emory Farms (i.e., a 56-acre
tract of land titled in PGS Properties 6) valued at $770,000.00, 1st Lien Deed of Trust against Baryta
Industrial Tract (titled in Octavio Garcia) valued at $650,276.00, and a 1st Lien Deed of Trust against
the Edcouch Elevator (i.e., the grain elevator facility owned by the Debtor located at the municipal
address of 624 W. Missouri, Edcouch, Texas 78538) valued at $1,334,435.00.
Together, the amount of GrainChain’s security interest is about $8,525,558.29, which can be
summarized as follows:
GrainChain’s Security interest in                     Value
Collateral
Progreso Elevator and Moore Farms (2st Lien           $5,770,847.29
Deed of Trust), against which Falcon holds
the 1st Lien Deed of Trust
Emory Farms (1st Lien Deed of Trust)                  $770,000.00
                            st
Baryta Industrial Tract (1 Lien Deed of               $650,276.00
Trust)
Edcouch Elevator (1st Lien Deed of Trust)             $1,334,435.00
TOTAL                                                                                $8,525,558.29


However, GrainChain obtained its liens within 90 days of the Petition Date of February 17, 2023,
known as the “preference period” under 11 U.S.C. § 547, in order to secure an antecedent debt and
enabled GrainChain to receive more than it would have been paid under a Chapter 7 proceeding; and
therefore those liens are subject to be nullified. This matter is settled between the Debtor and
GrainChain as set forth in this Plan.


6 PSG Equipment? PSGProducts, LLC?


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         In order to compromise and settle the dispute between the Debtor and GrainChain relating to
its asserted second liens against the Progreso Facility and Moore Farms, as well as its first liens
against the Baryta Industrial Tract, Emory Farms and the Edcouch Facility, the Parties have reached
an agreement to nullify the asserted liens of GrainChain against these assets. In exchange for
releasing its Deeds of Trust against these real property tracts, the Debtor has entered into an
agreement whereby GrainChain, the Unsecured Creditors (only Classes 7, 88 [Unsecured Bean
Claims], 9 [Unsecured Farmers’ and 10),Grain Claims] and 11 [General Trade Claims]), and Harco
Insurance will hold joint liens against the tracts with GrainChain being entitled to 45%, the General
Unsecured Creditors entitled to 4045% and Harco entitled to 1510%. Upon the sale of any of the
tracts the net proceeds from the sale will be paid over to the Plan Agent and he will distribute the
funds among these constituent groups in accordance with such percentages. These percentages, and
the division of the net proceeds according to these ratios, will continue until such time as the claims
of the constituent groups have been paid in full or all of the real property assets have been sold.
         Since Harco Insurance holds a contingent unliquidated claim that may not be determined by
the Effective Date for the first three years the net profits shall be divided solely between GrainChain
at the initial percentage of 45% and the General Unsecured Creditors receiving 55%. The unsecured
claim of Harco is being subordinated due to the fact that they are a creditor who must fund the
payment of the surety bondsTDA Surety Bonds to the creditorsCreditors entitled to receive them
under the provisions of this Plan. After the third year of the Plan Harco shall be entitled to receive
1510% of the net profits to reduce its presumably liquidated claim until such time as the claim is
extinguished from either the receipt of net proceeds realized from the sale of real property or its
share of the net profits of the Debtor.
       The net profits are understood to be derived from the combined operations relating to the
purchase and sale of grain, edible beans, and sunflower seeds as well as any other revenue
generating activities undertaken by the Debtor.

        GrainChain asserts first liens on Edcouch and Baryta and the second lien on Progreso.
Edcouch and Progreso are Debtor-owned and scheduled properties, and Baryta being lots 28 and 29
in the Lion Lake subdivision in Progreso, Texas with title vested in Octavio Garcia.

        Falcon asserts the first lien on Progreso.

       It is believed that no entity asserts liens on Edcouch and Baryta aside from GrainChain; only
Falcon and GrainChain assert liens on Progreso.

        GrainChain also asserts liens on the Debtor owned properties S FM 493 & Mile 3 North
Road and 120.5 acres located on Vertrees Road in Donna, Texas, collectively referred to as the
“Pitts Property.” The Pitts Property is currently the subject of the Order Granting the Debtor’s
Emergency Motion for Authority to Obtain Post Petition Financing, Pay off Asserted Liens of
Vantage Bank Texas [Dkt #517]. GrainChain supports the settlement with Vantage and as to the
Pitts Property will take such action as may be necessary regarding GrainChain’s asserted lien on the
Pitts Property as is congruent with the Vantage settlement contained in order at Docket Number 517.


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        GrainChain also asserts liens on the following non-Debtor owned properties for which
GrainChain’s liens have been in place for greater than 90 days: (a) 1,403 acres located on Military
Road collectively referred to as “Moore Farms” or “PSG Moore Farms” with recorded title vested
in PSG Products LLC; (b) 55 acres located on Santiago Galvan Road in the Lion Lake subdivision in
Progreso, Texas, and referred to as “Emory Farms” or “PSG Emory Farms” with recorded title
vested in PSG Products, LLC.

         Falcon asserts a first lien on PSG Moore Farms. PSG Moore Farms is potentially the subject
of sale in an amount greater than the dollar amount of Falcon’s asserted lien. It is anticipated that
either: (a) the Plan Trust will receive the net sales proceeds from such sale after payment of Falcon’s
asserted secured claim, to be distributed pursuant to the Sale’s Proceeds Division (defined below); or
(b) the Plan Trust will receive PSG Moore Farms and will liquidate PSG Moore Farms satisfying
Falcon’s asserted secured claim with the remainder of the next sales proceeds to be distributed
pursuant to the Sale’s Proceeds Division.

        GrainChain filed its secured proof of claim in the amount of $7,841,054.99 plus applicable,
interest fees and other unliquidated liabilities [claims reg. no. 42-1]. Pursuant to 11 U.S.C. § 506,
and as set out in the Plan and the Plan Support Agreement, GrainChain is deemed to be an
oversecured creditor, and as such GrainChain may be entitled to reasonable attorney’s fees and
interest on its claim as may be allowed by the Bankruptcy Court.

        The debts owed to GrainChain are guaranteed by Octavio Garcia and Rene Izaguirre. Octavio
Garcia and Rene Izaguirre will enter into tolling agreements with GrainChain (collectively, the
“Guaranty Tolling Agreements”). The Guaranty Tolling Agreements shall (a) provide that the
guaranties will remain in full force and effect during the Chapter 11 Plan term, (b) toll any and all
limitation periods through and including the sixth anniversary date of the Chapter 11 Plan’s
Effective Date, and (c) contain the terms and conditions upon which each guarantor will be released
from their respective guaranty. GrainChain advanced certain funds to the Debtor post-Petition under
one or more credit facilities upon which GrainChain is entitled to interest, fees and expenses
(collectively, the “Post-Petition Indebtedness”).

        Elkins and the Debtor entered into a Court approved lease of Progreso (the “Elkins Lease”)
and pursuant to Bankruptcy Court order or an Operating Agreement, GrainChain has been providing
Elkins with certain financing through one or more factoring arrangements with Elkins, with respect
to Elkins’ operations of Progreso. Those operations are under the supervision and review of the Plan
Agent and GrainChain. Certain before tax net profits have been generated by the operations (the
“Pre-Confirmation Pre-Tax Net Profits”). An operating agreement between Elkins, GrainChain
and the Debtor or Plan Trust will be approved by the Bankruptcy Court and entered into at or as a
result of Confirmation of the Plan. An operating agreement will be part of the Chapter 11 Plan and
Confirmation Order dealing only with the post-confirmation operations. The Elkins Lease will
terminate on the Effective Date of the Chapter 11 Plan as a result of the transfer of title, subject to
the terms of this Plan, of the Progreso and Edcouch Elevator and related land and improvements.

        Treatment of GrainChain Claims:

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        As part of the Chapter 11 Plan, the Debtor and GrainChain are settling the Debtor’s and its
Estate’s claims against GrainChain, if any, and GrainChain is agreeing to certain plan treatment and
commitment to funding New Co.’s operations through receivable factoring and such other agreed
financing, if any. The Settlement Agreement (“Agreement”) is generally as follows:

       This Agreement deals with certain assets on which GrainChain claims a lien and certain other
recovered assets, generally as follows:

                a.       The “Trust Transferred Properties” including PSG Moore Farms, PSG
                         Emory Farms, and Baryta Property; and

                b.       The “New Co. Transferred Properties” or the “New Co. Properties”
                         including the Progreso Elevator property and the Edcouch Elevator property
                         and the Baryta property; and

                c.       The “Recovered Properties,” including the Alamo Elevator now subject to an
                         avoidance action, as well as any other asset recovered on behalf of the Plan
                         Trust including recoveries from the Debtor’s Insiders or Affiliates or Insiders
                         to the Affiliates.

       Each of the asset categories shall shared among the three Classes of Creditors: (i) the Class of
Unsecured Creditors; (ii) the Class of the Harco Bond Claim; and (iii) the GrainChain Allowed
Secured Claim. These Claims shall be paid from Distributions of operating profits and the required
or potential sale of Plan Assets, with distributions of the proceeds paid, respectively 45%, 10% and
45% toward payment of the three (3) notes reflecting each Class’s Allowed Claim.

        This Agreement further deals with the payment of Administrative Claims of professionals
and of GrainChain. The pre-Petition lien granted by the Debtor to GrainChain for factoring
(financing) of the pre-Petition accounts receivables of the Debtor from the sale of grain is not
allowed and deemed released.

       The following terms, provisions and structure shall be incorporated into the Debtor’s
Confirmed Chapter 11 Plan:

       a.      On the Plan Effective Date, a Plan Trust (the “Plan Trust”) will be created with the
Chief Restructuring Officer Richard S. Schmidt (“CRO”) or his successor serving as the Plan Agent
with the Classes of Unsecured Creditors (holding the Unsecureds Class Note), GrainChain Class
Note, and the Bond Company (“Harco”) Class Note, as holders of the Notes and the sole
beneficiaries of the Plan Trust distributions from the Profits and Assets.

        b.     On the Effective Date GrainChain will release any purported or asserted pre-Petition
liens on Progreso, Edcouch and Baryta (collectively, the “New Co. Properties”) contingent upon
those properties being transferred to New Co. as provided herein.

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        c.      Upon the sale of the PSG Moore Farms Properties, sale proceeds will be applied to
fully satisfy any and all outstanding liens in favor of Falcon bank on its allowed secured claim such
that Falcon, having been paid in full, will release its lien on the Progreso Property. Any remaining
funds, if any, shall be paid to the Plan Trust.

        d.       GrainChain will create an entity for post-confirmation operations in a form and
structure that is acceptable to GrainChain (referred to here as “New Co.”), with the equity of New
Co. being owned by GrainChain and/or its authorized assigns. The function of New Co. will be to
continue operations of the Elkins Lease and such other operations in the business judgment of the
Plan trustee and GrainChain, with the distribution of the net profits of New Co. operations described
above and below [See, paragraphs I,1, II,3, g, o, q, r, u, v. New Co. will not further encumber assets
without the approval of the Plan Agent and satisfaction of certain credit metrics (either leverage or
interest coverage) to be further negotiated. New Co. will be subject to limitations on “Permitted
Investments” and “Capital Expenditures.” “Distributions” and “Dividends” from New Co. will
be subject to a Restricted Payment covenant, subject to further negotiation.

        e.      On the Chapter 11 Plan Effective Date, and contingent upon Court approval of all of
GrainChain’s requested Plan treatment (including without limitation the release set forth below in
the Chapter 11 Plan and Confirmation Order), the Post-Confirmation Debtor and/or the Plan Trust
(as may be applicable) the Plan Agent shall receive 55% of the Pre-Confirmation Pre-Tax Net Profits
to pay Allowed Administrative Expense claims of the case professionals (with GrainChain retaining
the remaining 45% of the Pre-Confirmation Pre-Tax Net Profits) to be applied to any remaining
balance of its Priority Loan and operations advances of approximately a net of $300,000. As of
October 31, 2023, the amount of 55% of the Pre-Confirmation Pre-Tax Net Profits is estimated to be
approximately $1,750,000, subject to changes based upon the future success of the operations and
commercially reasonable operational holdbacks as agreed by GrainChain and the Plan Agent.

        f.     The Debtor will convey by general warranty deeds the New Co. Properties to New
Co., with such conveyance being effective as of the Effective Date of the Plan (with title insurance at
New Co.’s/Grain Chain’s election, cost, and expense), pursuant to Sections 363 and/or 1141, free
and clear of any and all liens, claims, interest, and encumbrances other than as provided herein
below.

       g.       Contemporaneous with the transfers, New Co. will grant liens through the applicable
deeds of trust (“New Co. Deeds of Trust”) to the Unsecured Creditors Classes [8, 9, 10 and 11 ]
under the Chapter 11 Plan (the “Unsecureds”), Harco and GrainChain, and reflect those liens
through the issuance by the Plan Agent of the three Notes payable to the Unsecureds Class, Harco
Class and the GrainChain Class. Accordingly, all proceeds generated from the Trust Transferred
Properties, the Recovered Properties, and, as the case may be, the Recovered Properties shall be
payable to the Plan Trust and payments on the Notes distributed 45%, 10%, and 45% respectively.

      h.      The New Co. Deeds of Trust will secure the non-recourse notes (“Notes”) executed
by New Co. in favor of the Plan Trust/Plan Agent as the note oblige/payee as to the Unsecureds Note

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and the Harco Note and the GrainChain Note.

        i.    An intercreditor agreement between the Note Holders and New Co. shall be entered
into memorializing the Notes, deed of trusts and their related contractual terms (the “Intercreditor
Agreement”). The non-recourse notes and deed of trusts shall reference the Intercreditor Agreement
and incorporate such terms therein. In the event of a conflict between the Intercreditor Agreement
and this Agreement, this Agreement shall control.

        j.      The Unsecured Creditors Class [8, 9, 10 and 11] balloon non-recourse note (the
“Unsecureds’ Note”), to be executed by the Plan Agent on behalf of the Plan Trust as the note
oblige for the benefit of the Unsecureds upon completion of the claim objections, will be in the
dollar amount of the ultimate Allowed general unsecured claims against the Debtor in the case,
expressly excluding any and all deficiency claims, if any, by Vantage and Falcon; priority claims,
administrative claims; any claim, if any, by StoneX; any claim, if any, by Harco; and any taxing
authority claims of any kind, (including and without limitation local, county, state, and federal). The
non-recourse Unsecureds’ Note will be equal to or less than the amount of Allowed Unsecured
Claims. The Unsecureds’ Note shall not bear interest, provide for the payment of attorneys’ fees or
costs or any other fees whatsoever. The Plan provides that the Plan Agent shall have a period of 180
days to complete the claims allowance process for all claims not allowed as part of the Chapter 11
Plan confirmation. To the extent that the claims allowance process is not completed pre-confirmation
and/or through confirmation, in addition to the Plan Agent’s right to object to claims, GrainChain
and the Committee are expressly given standing to object to any general unsecured claim on any
basis, separate or jointly with the Plan Agent after Plan confirmation.

        k.     Harco currently holds a contingent and unliquidated general unsecured claim against
the Estate. Harco’s allowed claim (“Harco Allowed Claim”) will be in the same dollar amount as
Harco actually pays on the bonds or if not advanced in full by Harco, as allowed by any claims
objection heard at the confirmation hearing determining the proper amount to be paid by Harco. The
Harco Class [12] non-recourse note (the “Harco Note”), to be executed by the Plan Agent on behalf
of the Plan Trust as the Harco Note oblige for the benefit of Harco and will be in the same dollar
amount of Harco Allowed Claim. It is presently estimated that the Harco claim will be equal to Two
Million Four Hundred and Two Thousand Seven Hundred and Four Dollars ($2,402,704). The Harco
Note shall not bear interest, provide for the payment of attorneys’ fees or costs or any other fees
whatsoever.

        l.      The GrainChain Class [6, 12] non-recourse note (the “GrainChain Note”) shall be
executed by the Plan Agent as the non-recourse note oblige, shall be in the dollar amount of
GrainChain’s Allowed pre-Petition proof of claim Dkt #42-1, which shall be allowed under the
Chapter 11 Plan and Confirmation Order in full. It is presently anticipated that the GrainChain Note
will be in the amount of its pre-Petition indebtedness, and in addition to the amounts that may be
added to the Note as outlined below of $7,841,054.99. The GrainChain Note shall not bear interest,
provide for the payment of attorneys’ fees or costs or any other fees whatsoever. Pursuant to 11
U.S.C. § 506, and as set out in the Plan, if GrainChain’s liens were Allowed in full GrainChain
would be an oversecured creditor, and as such GrainChain would then be entitled to reasonable

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attorney’s fees and interest on its claim as determined by the bankruptcy court.

        m.      The treatment of GrainChain’s post-Petition indebtedness owed to it by the Debtor
shall be treated as follows:

                (1)     Payment of GrainChain’s Post-petition advances of approximately $1.2M for
        the cash deposit on the TDA mandated surety bonds (approximately $900K) and startup
        expenses incurred to otherwise fund the initial start-up of the Elkins-managed operations
        (approximately $300K), which operating expenses shall be deemed an Allowed
        Administrative Claim due GrainChain in the amount of $300,000.00. The Bond Deposit is
        owned and controlled by GrainChain as to all the bonding funds deposited and not property
        of the estate. In the event that New Co. or GrainChain default in the post-confirmation
        performance of their obligations and the cash bonds are called upon, GrainChain shall have
        no claim against the Plan Trust unless and until the Unsecured Class has been paid in full.
        Thereafter, GrainChain shall have a right to make a claim against any remaining funds or
        assets of the Plan Trust as the Trustee or the bankruptcy court may allow, if any.

                (2)    With respect to the Bean factoring, it will be treated as contained in the Bean
        Operating Agreement, the Court Order at Docket Number 517, and the financing documents,
        with the Plan Trust and the Reorganized Debtor liable for all such indebtedness. To the
        extent these amounts remain unpaid when the GrainChain Note matures, all such amounts
        may be then added to the GrainChain Note at GrainChain’s sole discretion and election.

        n.      The GrainChain Note shall be a five-year balloon non-recourse note. The
Unsecureds’ Note shall be a five-year balloon non-recourse note with the minimum yearly payment
of two hundred and fifty thousand dollars ($250,000) to be unconditionally funded and backstopped
by GrainChain whether the operations of New Co. are profitable or not. The Harco Note shall be a
five-year balloon non-recourse note with the initial three-year subordinated to the Unsecureds’ Class
and providing for profits-sharing payments to commence in year three. Payments from the
liquidation of assets or property by the Plan Trust shall, to the extent realized in year four and five,
be paid pro-rata on the Harco Note.

         o.      New Co. will operate with the anticipation of generating after-tax net profits.
GrainChain agrees to fund New Co.’s operations in a commercially reasonable manner through
factoring New Co.’s receivables. The anticipated after-tax net profits shall be calculated as provided
for in the post-confirmation operating agreement (“Elkins Operating Agreement”) to be executed by
Elkins, GrainChain, New Co., and Plan Agent (the “Elkins Profits”) detailing the terms of the post-
confirmation operations of New Co. with respect to the grain and sunflowers. New Co. shall not
charge fees or expenses to the Elkins operations except as set out in the Elkins Operating Agreement
nor shall New Co. or GrainChain make any monies from this parties regarding the Elkins
Operations. With respect to the bean operation (the “Beans”), the following parties will enter into a
Bean Operating Agreement: Garba, LLC (“Garba”), GrainChain, New Co., and the Post
Confirmation Debtor and Plan Agent. The Bean Operating Agreement shall contain similar terms as
the Elkins Operating Agreement. The anticipated to be distributed after tax net bean profits shall be

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calculated as provided for in the Bean Operating Agreement (collectively, the “Bean Profits”). The
Elkins Profits and the Bean Profits are collectively referred to herein as the “After-Tax Net Profits.”
The Plan Trust shall be paid the After-Tax Net Profits for distributions, after payments to the Plan
Trust operating expenses, and shall be paid over to the Unsecureds’ Note, the Harco Note and the
GrainChain Notes, 45%, 10% and 45% respectively.

         p.      The Chapter 11 Plan, Confirmation Order, the Elkins Operating Agreement and the
Bean Operating Agreement shall each reference and require the execution of certain non-competition
agreements with New Co., Garba, Octavio Garcia and certain of the Debtor’s other insiders so that
the Debtor’s insiders do not compete with New Co. during the first five years of its operations
(collectively, the “Non-Competition Agreements”). Likewise, neither New Co. nor GrainChain will
compete in the Rio Grande Valley in the grain industry outside its efforts and obligations to use best
efforts to operate or cause to be operated New Co., profitably. These Non-Competition Agreements
shall all be attached to the Confirmation Order.

        q.       With respect to the post-confirmation operations of New Co., New Co. will either be
entitled to the GrainChain Note’s 45% of the After-Tax Net Profits and/or convey all or some of
such anticipated monies to GrainChain, as solely determined by New Co. and GrainChain. As dollar-
for-dollar note payment and balance reduction on the Unsecureds’ Note, with such note payments
being made to the Plan Agent as the Unsecureds’ Note oblige, the Plan Trust will receive and
distribute either 55% of the After-Tax Net Profits during years one, two and three or two-hundred
and fifty thousand ($250,000) in year 1, two-hundred and fifty thousand ($250,000) in year 2, and
two hundred and fifty thousand ($250,000) in year 3, whichever is greater on a yearly basis, with any
such short-fall funded by GrainChain, and will receive either 45% of the profits in year 4 and year 5
or two-hundred and fifty thousand ($250,000) in year 4, and two hundred and fifty thousand
($250,000) in year 5, whichever is greater on a yearly basis, with any such short-fall funded by
GrainChain. All such After-Tax Net Profits paid on the Unsecureds’ Note shall reduce the debt
balance owed on the Unsecureds’ Note on a dollar-for-dollar basis. The Plan Agent may “hold-back”
and not distribute to the Unsecured Creditors, a reasonable percentage of the Unsecureds’ Note
Payments received by the Plan Trust for reasonable and necessary Plan Trust administration fees,
costs, and expenses. As dollar-for-dollar note payment and debt reduction on the Harco Note, with
such note payments being made to the Plan Agent as the Harco Note oblige, the Plan Trust will
receive 10% of the After-Tax Net Profits during year 4 and year 5. All such After-Tax Net Profits
paid on the Harco Note shall reduce the debt balance owed on the Harco Note on a dollar-for-dollar
basis. The GrainChain Note will not decrease during its five-year term except with respect to any
required calculation of all Note Holder pro-rata sharing on property sales proceeds. For clarity,
notwithstanding GrainChain’s accounting, the balance on the GrainChain Note to be used for
calculation of its pro-rata shall of Asset sale proceeds from time to time will include all payments of
profits and sales proceeds paid by the Plan trust. The GrainChain Note balance may increase as
detailed in the Intercreditor Agreement only in the event that the minimum yearly $250,000 payment
is made in any given year on the Unsecured Note, or after payment in full to the Unsecured Class.

       r.     GrainChain will release its purported and asserted pre-Petition liens on the following
Debtor Properties on the Effective Date, which the Debtor shall transfer to the Plan Trust free and

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clear of liens, claims interests and encumbrances on the Effective Date through plan confirmation:

               1.    The Pitts Property (but only if the Vantage settlement contained in the order
        at Docket Number 517 is not consummated) and

                2.     any and all other real property and/or real property sales proceeds that shall be
        conveyed (or to be conveyed) into the Plan Trust by the requisite entities, including without
        limitation,

                i.       PSG Emory Farms,

                ii.      Valverde Donna (but only in the event that the Vantage settlement contained
                         in the order at Docket Number 517 is not consummated), and

                iii.     PSG Moore Farms (or its net sales proceeds)

                iv.    Any other Debtor or Insider or Affiliate or Affiliate Insider properties
        recovered by the Plan Agent or post-confirmation Debtor. (hereinafter collectively referred
        to as “Trust Properties”).

        Neither GrainChain nor any Affiliate or Insider claims a lien on any of the Debtor’s Insiders
or Affiliates, or insiders of Affiliates, property not disclosed in this Agreement. The conveyances of
the Trust Properties shall be effective as of the Chapter 11 Plan’s Effective Date. The Plan Agent
shall market and liquidate the Trust Properties, in a commercially reasonable manner, with the net
sales proceeds being distributed to the Plan Trust beneficiaries as follows:

                •        45% to the Unsecureds’, with dollar-for-dollar debt payment and reduction of
                         the balance of the Unsecureds’ Note;

                •        10% to Harco, with dollar-for-dollar debt payment and reduction of the
                         balance of the Harco Note; and

                •        45% to GrainChain with no reduction on the GrainChain Note (collectively,
                         the “Sale’s Proceeds Division”) except for the purpose of calculating, the
                         pro-rata distributions paid by the Plan Trust paid to GrainChain by the Plan
                         Agent upon the sale or foreclosure of the New Co. Properties.

         The reduction of the Unsecureds’ Note and the Harco Note from the net sales proceeds shall
effect the amount to be distributed from any future sale of the Trust Properties as the percentages to
be paid from the net sales proceeds shall be determined by the percentage of the remaining
indebtedness owed on the Unsecureds’ Note and the Harco Note. At the end of the 5-year term of the
Plan the net proceeds realized from the sale of the New Co. Properties from a bona fide arms-length
transaction, either by third party sale or foreclosure, shall be paid out by the Plan Agent and will be
applied to the Unsecureds’ Note, the Harco Note and the GrainChain Note based upon the ratio of

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the balances owed on the individual notes compared to the total outstanding indebtedness remaining
which is secured by the liens against the New Co. Properties.

        The Confirmation Order shall require that all Debtor and non-debtor owned properties and
assets required to fund the Plan Trust are timely and properly conveyed to the Plan Trust. All the
Debtor’s and its Estate’s pre-Petition accounts receivable (domestic and foreign) shall be conveyed
to the Plan Trust as of the Effective Date, and the Plan Agent shall administer the net collected
accounts receivable in accordance with the provisions of the Plan Trust.

        s.     It is anticipated that the Unsecureds’ Note, and the Harco Note will be reduced by the
45%-10% distributions of sales proceeds of the Trust Properties and the 45%-10% distributions of
the After-Tax Net Profits paid as detailed above. The GrainChain Note will be reduced dollar-for-
dollar from the 45% sales proceeds of the Trust Properties, but not from the receipt of 45% After
Tax Net Profits paid as detailed above.

         t.    GrainChain will additionally agree to release its lien on non-debtor real property only
as to (a) PSG Moore Farms; and (b) PSG Emory Farms at either (a) the actual closing of such sales
in a commercially reasonable manner provided that the net sales proceeds from such sales are
contributed to the Plan Trust in a manner and amount satisfactory to both the Plan Agent and
GrainChain; and/or (b) after the conveyance of such properties by insurable fee simple title to the
Plan Trust, both for the sole benefit of GrainChain, Harco and the Unsecureds.

       u.      GrainChain shall receive the following release at confirmation, which shall also be
contained in the Confirmation Order:

         For the good and valuable consideration detailed in the Debtor’s Plan and Disclosure
Statement provided by GrainChain to the Debtor and its Estate, without which the Debtor would be
unable to confirm its Chapter 11 Plan and would likely convert its Bankruptcy Case to a case under
Chapter 7 of the Bankruptcy Code, GrainChain is hereby released and discharged by the Debtor and
its Estate from (and the Debtor and its Estate are indefinitely barred from prosecuting or attempting
to prosecute) any and all claims, obligations, interests, suits, judgments, damages, rights, remedies,
causes of action, and liabilities of any kind, including any derivative claims asserted or assertable on
behalf of the Debtor and/or its Estate, whether known or unknown, anticipated or unanticipated,
liquidated or unliquidated, matured or unmatured, contingent or non-contingent, current or
forthcoming at law, in equity. This includes, without limitation, any claims or causes of action under
the Bankruptcy Code or any other applicable law against GrainChain, its members, managers,
officers, directors, employees, partners, affiliates, funds, advisors, attorneys, agents, representatives,
and their respective properties. Notwithstanding anything to the contrary herein, nothing herein
should be interpreted to release any creditor or party in interest, including GrainChain, from any
liabilities, if any, directly arising from criminal activity committed intentionally or knowingly,
encompassing allegations or determinations of fraud, including any actions, claims, or liabilities
related to any intentional or knowing conspiracy to commit fraud or collusion with any party to
defraud another whether civil or criminal in nature, or any other causes of action discovered during
the course of the forensic accounting investigation into the pre-Petition loss of the $20 to $30 million

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of grain or grain receivables .

        v.      The three deeds of trust, the three non-recourse notes, the Intercreditor Agreement,
the Elkins Operating Agreement, the Bean Operating Agreement, the Guaranty Tolling Agreements
and the Debtor and Insider Non-Compete Agreements shall be attached to the Confirmation Order as
exhibits in substantially their final forms and the full execution and delivery of each are prerequisites
to New Co.’s operations. The three deeds of trust and the intercreditor agreement shall be filed in
the real property records upon execution of the three non-recourse notes.

        w.       After the expiration of five year note terms, the Unsecureds and Harco are no longer
entitled to a percentage of the After-Tax Net Profits. If at the end of the five-year note terms there is
any balance remaining on either the Unsecured or Harco note(s), then, as further detailed in the
Intercreditor Agreement, GrainChain in its sole discretion and election in full and final satisfaction
of the Unsecureds' Note and deed of trust and the Harco Note and deed of trust may either:

                        (a) select “The Foreclosure Election” and foreclose on its deed of trust liens
                on the New Co. Properties through one or more public foreclosure sales, with a
                prorated division of the foreclosure sales proceeds based upon the foreclosure sale
                price and the percentage ratios then owed on the non-recourse notes over an agreed
                upon time; or

                        (b) select “The FMV Election” and make payments to the Plan Agent as
                final payments on the two notes (Unsecureds and Harco) in a prorated amount based
                upon the New Co. Properties then fair market value (based upon a market valuation
                approach) and the percentage ratios then owed on the non-recourse notes over an
                agreed upon time.

        If GrainChain selects The FMV Election, GrainChain will hire an appraiser to determine the
fair market value based upon a market value approach for a one-year sale. The Plan Agent can either
accept this appraisal or obtain an appraisal of his own at the Trust’s own expense as to the fair
market value based upon a market value approach for a one-year sale. In the event no agreement is
reached between GrainChain and the Plan Agent as to the fair market value, then GrainChain and the
Plan Agent will jointly hire (and split costs accordingly) a third appraisal as to the fair market value
based upon a market value approach for a one-year sale and then average all three values (the
“Averaged Value”) to determine the fair market value. If such Averaged Value is not acceptable to
GrainChain, GrainChain may switch its election from The FMV Election to The Foreclosure
Election.

         x.      If GrainChain ultimately selects The Foreclosure Election, the formula (which shall
be contained in the Intercreditor Agreement and referenced in the non-recourse notes and deeds of
trust) shall be shall provide that the net proceeds from the sale of any of the New Co. Properties is to
be paid pro rata to the Unsecureds’ Note, the Harco Note, and the GrainChain Note based upon the
percentage the outstanding balances owed on such notes bear to the total outstanding indebtedness
owed against the New Co. Properties.

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         y.     If GrainChain ultimately selects The FMV Election, the formula (which shall be
contained in the Intercreditor Agreement and referenced in the non-recourse notes and deeds of trust)
 shall provide that the net proceeds from the sale of any of the New Co. Properties is to be paid pro
rata to the Unsecureds’ Note, the Harco Note, and the GrainChain Note based upon the percentage
the outstanding balances owed on such notes bear to the total outstanding indebtedness owed against
the New Co. Properties.

       z.      The Plan Trust/Plan Agent shall use all the insurance funds necessary to make the
required and proper repairs on Progreso in the business judgment of GrainChain and the Plan Trust.
Any disputes shall be resolved by the bankruptcy court, upon notice and hearing, pursuant to its
reserved jurisdiction provided in the Plan.

        aa.     All GrainChain (or any Affiliate or Insider of GrainChain) recoveries arising from the
GrainChain allowed claims and not dealt with above, received or obtained from the Debtor, Debtor’s
Insiders or Affiliates or the Affiliates’ Insiders, shall be contributed to the Plan Trust and distributed
as a Plan Trust asset.

        G.      Class 7 – Secured Claim of Ford Motor Credit (Impaired)

        This Class consists of the Secured Claim of Ford Motor Credit Company, LLC (“Ford
Credit”) in the amount of $29,349.59 which is secured by a purchase money security interest in a
2020 Ford F-150 bearing vehicle identification number 1FTEW1E59LFB68462. This debt is the
subject of a retail installment sales contract for the vehicle.

        Treatment of Secured Claim of Ford Motor Credit

Debtor proposes to pay the secured claim of Ford Credit in full pursuant to the terms of the Motor
Vehicle Retail Installment Sales Contract (the “Contract”) attached to Ford Credit's proof of claim.
[POC #7] by reamortizing the balance outstanding over three (3) years at the current interest rate of
4.29%. The new reamortized payments will be paid in equal quarterly payments with the first such
payment to be made on March 31, 2024, and the remaining monthly payments to be paid on or
before the last business day of each quarter thereafter until the full amount of principal and interest is
paid in full. Notwithstanding anything in the Plan to the contrary, (1) Ford Credit will, until the
Secured Claim of Ford Credit is paid in full, require Debtor to maintain comprehensive and collision
insurance coverage with a deductible not to exceed $1,000.00 as required by the terms of the
Contract with Ford Credit designated as loss payee by requiring Debtor to provide proof of current
coverage within five (5) days of receipt of a request for proof of insurance coverage, (2) Ford Credit
shall retain its first-priority, purchase money security interest until paid in full per the terms of the
Contract as modified herein, and (3) Ford Credit will be entitled to enforce the Contract pursuant to
its terms without modification by this Plan save and except the payment re-amortization provisions
contained herein.

         (III). CLASSIFICATION AND TREATMENT OF UNSECURED CLAIMS


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         The Unsecured Claims under the proposed Plan consist of Classes 78 through 1011 described
below.

        The Unsecured Claims described in this section do not include the unsecured portions of the
claims of StoneX, Vantage Bank, and GrainChain, Inc. because they are being treated and resolved
by another method as described above. Any preferences shown in the Plan which are not specifically
designated to be settled and released for opting into treatment under General Unsecured Claims or
retained by the Debtor may be prosecuted or settled at the discretion of the Plan Agent.

      This Plan classifies the Unsecured Claims into four main groups: (1) Bean Claims; (2)
Farmers’ and Grain Claims; (3) Administrative Convenience Class; and (4) General Trade
Claims, each of which correspond to itsare classified and treated in their own class.

        The category “Bean Claims” (Class 78) consists of the claims of companies who sold beans
to the Debtor; the category “Farmers and Grain Claims” (Class 89) consists of the claims of farmers
or grain companies who sold grain (corn, sorghum, and the like) to the Debtor; the category of
“Administrative Convenience Class” (Class 910) consists of the claims that total less than $50,000;
and the category “General Trade Claims” (Class 1011) consists of the claims of parties that have
sold other goods and merchandise (such as fertilizers, chemicals, and the like) to the Debtor.


         H.     Class 78 – Unsecured Bean Claims (Impaired)

      Class 78 (the Unsecured Bean Claims) consists of the Unsecured Bean Claims of American
Bean, LLC (POC #14 filed 3/10/2023) in the amount of $184,000.00; and the claim of Stony Ridge
Food, Inc. (POC #31 filed 5/5/2023) in the net amount of $1,320,489.00439,027.75 after deduction
of $237,077.50118,538.75 (for twoone PACA ClaimsClaim paid) from the original POC #31 amount
of $1,557,566.50.
The Debtor’s calculations based on the information provided in its Statement of Financial Affairs
(SOFA) [Dkt #51], Exhibit 3 as well as Vantage Bank statements, indicates that these two claimants
have received a total of $1,337917,189.27 of payments that constitute “preference claims” of the
estate under 11 U.S.C. § 547, as shown in more detail below. Vantage Bank check numbers were
noted in parenthesis next to the dates those checks were deposited.

        Likewise, the creditors who did not file a POC in the Bankruptcy Case but had a claim listed
in the Schedules were noted below. Those claims amount to an estimated total of $617,572.24.
Together, all Unsecured Bean Claims have an estimated amount of $2,240,600.24 and a portion of
this amount is identified as preference amounts as noted below.

Name of Unsecured                Amount of Claim           Potential Preference Received
Creditor                         (POC)

American Bean, LLC                        $184,000.00           12/2128/2022           $45,954.00
(POC #14)                                                             (7440)

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                                                            12/21/20221/4/202             $45,954.00
                                                                      3 (7441)
                                                                    12/27/2022            $46,000.00
                                                                    12/27/2022            $46,000.00
                                                                    11/14/2022           $119,000.00
                                                                    11/14/2022           $119,000.00
                                                            1/314/2023 (7462)          $9246,000.00
                                                              1/10/2023 (7463)         $9046,000.00
                                                                           TOTAL = $603183,908.00
Stony Ridge Food, Inc.                  $1,557,566.50       12/27/20221/5/202             $61,130.90
(POC #31)                          minus $237,077.50                   3 (7456)
                                      (two118,538.75        12/27/20221/9/202             $59,036.85
                                          (one PACA                   3 (7457)
                                   ClaimsClaim paid)        12/27/20221/18/20             $23,320.00
                                                    =                23 (7458)
                                  $1,320,489439,028.        12/27/20221/18/20             $23,320.00
                                                   00                23 (7459)
                                                            12/27/20221/10/20             $59,065.88
                                                                     23 (7460)
                                                             1/12/27/20222023             $59,065.88
                                                                         (7461)
                                                            1/319/2023 (7495)             $59,065.88
                                                            1/323/2023 (7496)             $59,065.88
                                                            1/324/2023 (7497)             $60,320.00
                                                            1/326/2023 (7498)             $60,320.00
                                                           1/1920/2023 (7542)             $58,145.00
                                                           1/1931/2023 (7543)             $58,145.00
                                                                  1/192/7/2023            $23,320.00
                                                                         (7546)
                                                                  1/192/6/2023            $23,320.00
                                                                         (7545)
                                                                  1/192/3/2023            $23,320.00
                                                                         (7544)
                                                                  1/192/8/2023            $23,320.00
                                                                         (7547)
                                                                              TOTAL = $733,281.27
TOTALSubtotal of Bean                        POCs                            Subtotal of Preferences
Claims (who filed POC)           $1,504,489.623,028                      $1,337(for those with POC)
                                                .00                                      $917,189.27
Name of Unsecured                Amount of Claim           Potential Preference Received
Creditor (Not filed POC)
Forest River Bean Co.            $565,372.75               2/14/2023 (7618)         $51,888.75
                                                           2/2/2023 (7549)          $51,964.50

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                                                           1/31/2023 (7548)         $51,964.50
                                                                     TOTAL Forest River Co. Pref:
                                                                                       $155,817.75
PKT Associates, Inc.             $52,199.49                                        (No preferences)
Subtotal of Bean Claims          No POCs                   Subtotal of Preferences
(No POC)                         $617,572.24               (for those without POC)
TOTAL Bean Claims                $2,240,600.24                         TOTAL Class 8 Preferences:
                                                                                     $1,073,007.02

This Plan will resolve the Unsecured Bean Claims as follows:

    A. The Unsecured Bean Claim of American Bean, LLC (POC #14)

American Bean, LLC has filed an unsecured claim in the amount of $184,000 (POC #14). In return,
the Estate has a preference claim against American Bean, LLC in the amount of $603,908.00. The
preference claims will be settled or prosecuted by the Plan Agent.

    B. The Unsecured Bean Claim of Stony Ridge Food, LLC (POC #31)

Stony Ridge Food, Inc. (“Stony Ridge”) has an unsecured claim in the net amount of
$1,320,489.00439,027.75 after deduction of $237,077.50118,538.75 (for twoone PACA
ClaimsClaim paid) from the original POC #31 amount of $1,557,566.50. In return, theThe Estate has
a preference claim against Stony Ridge in the amount of $733,281.27. The The Debtor has agreed to
seek recognition of Stony Ridge as a “critical vendor” and to settle the preference claims by
offsetting approximately30% of the amount of the claimed preferences against its claim and agreeing
that the Estate will recognize Stony Ridge as having an Allowed Unsecured Claim in the agreed
upon sum of $1,220,000 to be settled or prosecuted by the Plan Agenttreated as a General Unsecured
Claim. In exchange Stony Ridge will continue to supply the Debtor with black beans at a price and
terms to be mutually agreed upon between Stony Ridge and the Debtor.

        G.      Class 8 – Farmers’ and Grain Claims (Impaired)

        Class 8Treatment of Unsecured Bean Claims

        The Allowed Unsecured Claims of the creditors classified as Unsecured Bean Claims shall be
treated equally with the Claims of General Unsecured Claims in Class 10 as described hereinbelow,
and share pro rata with the holders of General Unsecured Claims from the distributions made by the
Plan Agent to participants in the Unsecured Note to be paid 40% of the net after tax profits of New
Co. or from the sales of the New Co. properties.

        I.      Class 9 – Unsecured Farmers’ and Grain Claims (Impaired)

        Class 9 (the Farmers’ and Grain Claims) consists of the claims of farmers (“Farmers”) or

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other grain claimants (“Grain Claimants”) who have sold grains to the Debtor. Farmers and Grain
Claimants holding claims that may be entitled to distributions from the proceeds of the surety bonds
may either choose to be paid solely by the bond receipts, or to participate and receive their pro-rata
share of the percentages paid to General Unsecured Creditors on a pr-rata basis from the receipt of
net proceeds from the sales of real estate or the net profits from the operations of the Debtor.

        All Farmers and Grain Claimants deemed eligible to participate in the distribution of the
surety bond proceeds will be paid from the pool of funds to be distributed by the TDA. However, if
these holders of grain claims choose distribution from the bond claims they will not have any
preferences they received waived by the Debtor.

        For the Class 9 claimants who filed POCs in the Bankruptcy Case, their Claim Amounts are
calculated as the POC Amounts minus the $7,475 priority amounts claimed under the Bankruptcy
Code Section 507(a)(6) where applicable, which is the non-priority positions of their claims. The
priority portions of the same claims are treated under Class 2 above. For those Class 9 claimants
who have not filed POCs, their Claim Amounts are the estimated scheduled amounts.

        The Debtor’s calculations based on the information provided in its Statement of Financial
Affairs (SOFA) [Dkt #51], Exhibit 3 as well as Vantage Bank statements, indicates that these
Farmers who have filed a POC have received aan estimated total of $2,964,506.713,896,715.69 of
payments that constitute “preference claims” of the Estate under 11 U.S.C. § 547, as shown in more
detail below (Vantage Bank check numbers were noted in parenthesis next to the dates those checks
were deposited). The claims of the Farmers and Grain Claimants who have filed a POC (calculated
as the POC amount minus the priority portions of their claims which are treated under Class 2)
amount to an estimated total of $3,509,951.12; and the claims of Farmers and Grain Claimants who
have not filed a POC amount to an estimated total of $188,515.29, and together, Class 9 is estimated
to have a total amount of $3,698,466.41:

           FARMERS AND GRAIN CLAIMANTS WHO HAVE FILED A POC
Name of Unsecured          Amount of       Potential Preference Received
Creditor                   Claim (POC
                           minus the
                           $7,475 priority
                           amount where
                           applicable)
Brian Jones Farms             $76,916.82 -           1/27/2023 (GrainChain)       $84,749.45
(POC #19)                           $7,475                             TOTAL = $84,749.45
                              = $69,441.82
Carl Hensz (POC               $97,748.78 -               1/1723/2023 (7536)       $50,000.00
#22)                              $47,475                              TOTAL = $50,000.00
                              = $90,273.78
Chad Szutz (POC               $58,495.56 -                             (No preference claims)
#24)                                $7,475
                              = $51,020.56


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Dreibelbis Farms             $290,691.70 -                                   (No preference claims)
(POC #35)                           $7,475
                             = $283,216.70
Eat Fresh Farms                $65,769.41 -                     2/223/2023 (7635)       $64,976.24
(POC #13)                           $7,475                      2/323/2023 (7656)          $793.02
                              = $58,294.41                     1/2730/2023 (7589)        $1,900.00
                                                      Z-Ernte (EatFresch/Advance
                                                                      Harvesting)
                                                                 2/13/2023 (7631)        $4,050.00
                                                      Z-Ernte (EatFresch/Advance
                                                                      Harvesting)
                                                                             TOTAL = $71,719.26
Fike Farms (POC              $353,230.88 -                       1/35/2023 (7492)        $1,515.00
#32)                                $7,475                      1/327/2023 (7493)       $37,051.61
                             = $345,755.88                   12/1220/2022 (7412)        $50,000.00
                                                             12/1215/2022 (7411)        $50,000.00
                                                                 1/20/2023 (7490)       $59,500.43
                                                                1/310/2023 (7486)       $59,500.45
                                                                1/318/2023 (7487)       $59,500.45
                                                                1/313/2023 (7488)       $59,500.45
                                                                 1/34/2023 (7484)       $59,500.45
                                                                 1/36/2023 (7485)       $59,500.45
                                                                 2/39/2023 (7639)       $49,564.06
                                                                  TOTAL = $485,632.92545,133.35
Frank Bailey Grain             $653,585.11                      12/17/2022 (7382)       $65,375.37
Company (POC #33)                                               12/18/2022 (7383)       $58,022,48
                                                               12/112/2022 (7384)       $65,830.54
                                                             12/1319/2022 (7419)        $58,869.22
                                                             12/1320/2022 (7420)        $20,292.55
                                                             12/1320/2022 (7421)        $46,959.48
                                                             12/1323/2022 (7422)        $47,286.60
                                                             12/1328/2022 (7423)        $54,412.81
                                                      12/13/2022 1/3/2023 (7424)        $53,780.99
                                                      12/13/2022 1/5/2023 (7425)        $45,108.44
                                                      12/13/2022 1/9/2023 (7426)        $50,638.10
                                                               1/1017/2023 (7521)       $65,375.37
                                                               1/1018/2023 (7522)       $58,022,48
                                                               1/1023/2023 (7523)       $65,830.54
                                                                            TOTAL = $639,760.01
HAR-VEST (POC                $182,214.60 -                                   (No preference claims)
#15)                                $7,475
                             = $174,739.60


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Johnny Guin (POC             $117,560.65 -                                   (No preference claims)
#25)                                $7,475
                             = $110,085.65
Karen Arnold (POC            $107,332.39 -                                   (No preference claims)
#26)                                $7,475
                              = $99,857.39
Lothringer Family              $70,618.69 -                              2/27/2023     $23,452.13
Farms (POC #46)                     $7,475                      (7636)Soybean setl
(Late)                        = $63,143.69                     12/1516/2022 (7433)      $6,300.00
                                                           Z-Ernte (Harv Lothringer
                                                                          Soybean)
                                                                               TOTAL = $29,752.13
Planters Grain                 $255,696.00                  2/13/2023 (7579)        $50,661.31
Cooperative of                                              2/13/2023 (7577)        $50,661.31
Odem, TX (POC                                               2/13/2023 (7578)        $50,661.31
#34)                                                          2/3/2023 (7576)       $50,661.31
                                                              2/2/2023 (7575)       $50,661.31
                                                    TOTAL Preference of Planters = $253,306.55
Robert Walsdorf                 $8,018.76 -                              (No preference claims)
(POC #43)                           $7,475
                                 = $543.76
Russell Plantation II        $668,169.85 -                  1/27 2/14/2023 (7600)       $66,516.99
(POC #11)                           $7,475                  1/272/10/2023 (7599)        $66,516.99
                             = $660,694.85                   1/27 2/7/2023 (7598)       $66,516.99
                                                             1/27 2/6/2023 (7592)       $66,516.99
                                                             1/27/2023TOTAL =           $66,516.99    Deleted Cells
                                                                     $266,067.96
Skalitsky Farms              $149,842.47 -            1/27/202311/22/2022 (7271)        $66,516.99    Merged Cells
(POC #29)                           $7,475                             $84,567.82                     Merged Cells
                             = $142,367.47                      11/25/2022 (7272)
                                                                       $84,567.82
                                                                11/29/2022(7273)
                                                                       $84,567.82
                                                                 12/2/2022 (7274)
                                                                       $84,567.82
                                                                 12/6/2022 (7275)
                                                                       $84,567.82
                                                                 12/8/2022 (7276)
                                                                       $84,567.82
                                                                12/13/2022 (7310)
                                                                       $84,567.83
                                                                12/16/2022 (7311)
                                                                       $84,567.83

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                                                              12/20/2022 (7312)
                                                                     $84,567.83
                                                              12/23/2022 (7313)
                                                                     $84,567.83
                                                              12/28/2022 (7314)
                                                                     $84,567.83
                                                              12/28/2022 (7315)
                                                                     $84,567.83
                                                 1/4/2023 (7316)     $84,567.83

                                                 1/6/2023 (7317)    $84,567.83

                                                              1/10/2023 (7318)
                                                  $84,567.83         1/17/2023
                                                         (7319)     $84,567.83
                                                              1/18/2023 (7320)
                                                 $84,567.83          1/20/2023
                                                         (7321)     $84,567.83
                                                              1/27/2023 (7322)
                                                                    $84,567.83
                                                              1/27/2023 (7323)
                                                                    $84,567.83
                                                              1/27/2023 (7324)
                                                                    $84,567.83
                                                                     1/27/2023     $66,516.99      Split Cells
                                                                     1/27/2023     $66,516.99      Split Cells
                                                                     1/27/2023     $66,516.99
                                                                     1/27/2023     $66,516.99
                                                                     1/27/2023     $66,516.99
                                                                     1/27/2023     $66,516.99
                                                                     1/27/2023     $66,516.99
                                                                     1/27/2023     $66,516.94
                                                       TOTAL = $931,237.81Pref: $1,775,924.37

Skalitsky Farms                $149,842.47                                (No preference claims)
(POC #29)
Wesley Valerius              $119,444.52 -                 1/272/15/2023 (7595)    $60,100.87
(POC #28)                           $7,475                  1/27 2/9/2023 (7594)   $60,100.87
                             = $111,969.52                  1/27 2/2/2023 (7593)   $60,100.87
                                                                       1/27/2023   $60,100.87
                                                                       1/27/2023   $59,343.64
                                                                TOTAL = $299,747.12180,302.61


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Zdansky Joint                $346,739.93 -             11/9/2023 (GrainChain)No        $53,127.73    Deleted Cells
Venture (POC #17)                   $7,475                           preferences                     Split Cells
                             = $339,264.93                                                           Split Cells
                                                         11/9/2023 (GrainChain)        $247,367.81
                                                                           TOTAL = $300,495.54
TOTAL Farmers’                       POCs            Subtotal of Preferences (for those with POC)
and Grain Claims           $3,366,380.12T                               $2,893,094.243,896,715.69
(with POC)                       otal POCs
                           ($3,622,076.12)
                                minus total
                                    priority
                                   portions
                              ($112,125) =
                             $3,509,951.12

                                    In sum,
        FARMERS AND GRAIN CLAIMANTS WHO HAVE NOT FILED A POC
                               (Only Scheduled)
Name of Unsecured Creditor Amount of Claim             Potential Preference Received
Attebury Grain, LLC                         $58,821.21 12/29/2022 (7442) $53,520.03
                                                       12/29/2022 (7443) $53,520.03
                                                             TOTAL Attebury Pref:
                                                                         $107,040.06
Cadena Farms                                $13,797.49 2/15/2023 (7647) $66,276.15
                                                              TOTAL Cadena Pref:
                                                                          $66,276.15
Fred Karle                                  $14,456.18                (No preference)
Luna Brothers                               $40,453.65 2/15/2023 (7567) $53,879.78
                                                       2/15/2023 (7559) $40,453.65
                                                       2/10/2023 (7565) $53,879.78
                                                       2/10/2023 (7566) $53,879.78
                                                       2/6/2023 (7563) $57,137.66
                                                       2/1/2023 (7562) $30,052.09
                                                       1/27/2023 (7561) $38,379.28
                                                       1/26/2023 (7558) $1,339.86
                                                       1/26/2023 (7556) $8,821.01
                                                       1/26/2023 (7557) $8,164.16
                                                       1/4/2023 (7446) $25,000.00
                                                       12/29/2022 (7445) $25,000.00
                                                           TOTAL Luna Bros Pref:
                                                                         $395,987.05
Mark Miller                                    $986.76                (No preference)
Wesley Vanderpool                           $60,000.00 1/20/2023 (7398)


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                                                                        (Vern Vanderp.) $45,386.41
                                                                        1/20/2023 (7401)
                                                                        (Vern Vanderp.) $14,613.59
                                                                              TOTAL W.Vanderpool
                                                                                               Pref:
                                                                                          $60.000.00
TOTAL Farmers’ and Grain                                      Amounts     Subtotal of Preferences for
Claims (without POCs)                                       $188,515.29         those without POCs)
                                                                                         $629,303.26

TOTAL (All Class 9)                                        $3,698,466.41    Total Class 9 Preferences:
                                                                                         $4,526,018.95


Treatment of Claims of Unsecured Farmers’ and Grain Claims

        The provisions of the Plan provide the Unsecured Farmers’ and Grain Claims will be
resolved according to each claimant’s choice to opt in or opt out of the treatment of General
Unsecured Claims under the Plan, i.e., either be paid solely by the bond receipts or to participate and
receive their pro-rata share of the percentages paid to General Unsecured Creditors on a pro-rata
basis from the receipt of net proceeds from the sales of real estate or the net profits from the
operations of the Debtor in exchange for release of all preference claims and obligations arising
under this Bankruptcy Proceeding.

        The division and distribution of profits of the Reorganized DebtorNew Co. shall be in accord
with the provisions established for the split of profits in the Operation Agreement approved by the
Bankruptcy Court and as provided in this Plan, whereby GrainChain, Harco National Insurance
Company (“Harco”), and the General Unsecured Creditors each receive their respective share of the
profits from the operations of the Debtor in relation to the amount their claims constitute a
percentage of the total amount of the General Unsecured Class. In this regard, the total amount of
unsecured claims is estimated to total $17,284,00020,126,212 while the claims of the General
Unsecured Creditors are estimated to total $7,038,659.27 (40%),9,770,328.65, Harco’s unliquidated
and contingentallowed subrogation claim evidenced by its filed proof of claim tied to the payment of
the surety bonds it granted to the Texas Department of Agriculture (“TDA”) is estimated to total
$2,402,704.00 (15%),, and GrainChain’s unsecured claim in the amount of $7,841,054.99 (45%)..
         A specific provision of the Plan of ReorganizationsReorganization shall be that upon the
entry of the confirmation order the claims asserted by the estate contesting the nature, extent and
validity of the liens of GrainChain against certain assets of the estate and its related entities as well
as any other claims or causes of action the estate may be entitled to assert against GrainChain shall
be fully compromised and settled in exchange for the commitment by GrainChain to provide post-
confirmation financing to the Reorganized DebtorNew Co. and its agreement to release and declare
null and void its liens asserted against the Progreso Facility, the Edcouch Facility, the Moore Farms
tract, the Emory Farms tract, and the Baryta Industrial tract. The Progreso Facility, the Edcouch


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Facility, the Moore Farms tract, the Emory Farms tract, and the Baryta Industrial tract are
collectively referred to herein as the Contested Lien Tracts (“Contested Lien Tracts”)..
        In consideration of GrainChain’s agreement to release its asserted liens against the Contested
Lien Tracts, and in consideration of the estate’s agreement to release any claims or causes of action
it may hold against GrainChain, the provisions of the Plan of Reorganization shall provide that
GrainChain, the General Unsecured Creditors, and Harco are each granted a lien against the
Contested Lien Tracts in the amounts of their respective percentages – i.e.., GrainChain a 45% lien
to secure the payment of its claim of $7,841,054.99, the holders of General Unsecured Claims a
4045% lien to secure the payment of its estimated claims of $7,038,659.27, and Harco a 1510% lien
to secure the payment of its contingent unliquidated claim in the amount $2,402,704.00.

         I.J.    Class 910 –Administrative Convenience Class (Impaired)

       Class 910 consists of the Administrative Convenience Class. These claimants will be given
two options: either (1) to receive 40% of their claims on the effective date or (2) to participate in the
sharing of net profits of operation of GrainChain and Elkins according to the scheme outlined above
and repeated in this section.

The Administrative Convenience Class consists of the following claims:



Name of Unsecured         Amount of Claim   Potential Preference Received
Creditor                  (POC or
                          Scheduled
                          Amount)
American Express National         $4,617.90                   (No preference claims)
Bank (POC #12)

Amex Trs. Co. Inc. (POC                      $8,524.35                       (No preference claims)
#30)
Cargill Incorporated (POC         $49,351.2044,422.9                         (No preference claims)
#45)                                               0

Citi Business Card                           $2,036.05                       (No preference claims)


Hans Hovda                                      $42.89                       (No preference claims)




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Jonathan Ruiz                              $14,589.06                      (No preference claims)


United Agricultural Coop                     $7,967.04                     (No preference claims)


University of Missouri                       $5,341.28                     (No preference claims)


USDA AMS                                       $131.25                     (No preference claims)


Vi-Cal Grain Co.                             $2,428.40          1/13/2023 (7524) $115,000.00
                                                                 1/9/2023 (7504) $49,956.20
                                                                 1/9/2023 (7505) $190,000.00
                                                              TOTAL Vi-Cal Pref: $354,956.20
TOTAL Administrative                 $62,493.45Total            Total Adm. Convenience Class             Inserted Cells
Convenience Claims                          Amount                    Preferences: $354,956.20
                                          $90,101.12

Treatment of Administration Convenience Claims

       The Debtor offers to pay 40 cents on the dollar for each of the claimants making up the
Administrative Convenience Claims disregarding any of its preference claims against any. This way,
the amount paid for Administrative Convenience Claims will amount to $24,997.3836,040.44
[which is calculated as $62,493.4590,101.12 (x0.40)]

       In sum, the Administrative Convenience Claims will be resolved by payment of a total sum
of $24,997.3836,040.44 to the claimants making up this class in exchange of release of all claims
and obligations arising under this Bankruptcy Proceeding or they participate in the Plan treatment for
General Unsecured Creditors.

        Of theThe total amount of General Unsecured Claims of $6,848,061.63, a9,770,328.65 does
not take into account the total amount of $112,125.00 of “priority” portions of Farmers’ claims,
which are considered “Priority.” treated under Class 2.This amount is made up of the claims of the
Farmers claiming $7,475.00 Priority under 11 U.S.C. § 507(a)(6). Those Farmers are as follows:
Brian Jones Farms, Carl Hensz, Chad Szutz, Dreibelbis Farms, Eat Fresh Farms, Fike Farms, HAR-
VEST, Johnny Guin, Karen Arnold, Lothringer Family Farms, Robert Walsdorf, Russell Plantation
II, Skalitsky Farms, Wesley Valerius, and Zdansky, J.V. These priority claims are treated in the
Administrative Claims (Class 1) categoryunder Class 2, and priority grain claims will be paid in full
on the Effective Date.



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       Allowed general unsecured claims in an amount less than $10,000, including the Priority
Claims of shall be paid in full by the Plan Agent on the Effective Date of the Plan.

        J.K.    Class 1011 – General Trade Claims (Impaired)


        Class 1011 consists of General Unsecured Trade Claims of the following claimants:


Name of Unsecured                  Amount of Claim                  Potential Preference Received
Creditor                                  (POC or
                                        Scheduled
                                         Amount)
Graneros Guadalupe SA de               $506,334.56                          (No preference claims)
CV (POC #27)

Helena Agri-Enterprises,                  $518,134.08      (No preference claims)12/23/2022 (7430)
LLC (POC #16)                                                                            $9,621.26
                                                               12/23/2022 (7431)        $53,950.25
                                                               12/29/2022 (7432)        $53,950.25
                                                               TOTAL Helena Pref = $117,521.76
Planters Grain Cooperative                $255,696.00               1/24/2023           $50,661.31
of Odem, TX (POC #34)                                               1/24/2023           $50,661.31
                                                                    1/24/2023           $50,661.31
                                                                    1/24/2023           $50,661.31
                                                                    1/24/2023           $50,661.31
                                                                 TOTAL Preference of Planters =
                                                                                       $253,306.55
Simplot AB Retail (POC                    $217,537.13                        (No preference claims)
#23)
United Sorghum Checkoff                   $301,795.30      (No preference claims)11/21/2022 (7257)
Program (USCP) (POC                                                                     $69,533.37
#20)                                                         11/29/2023 (7258)          $69,533.37
                                                                TOTAL USCP Pref. = $139,066.74
Valley Coop Mill                          $115,201.99                        (No preference claims)
(VALCO) (POC #21)
BH Genetics                               $228,960.00                       (No preference claims)

BWAB Mexico S De RL                       $303,353.30                       (No preference claims)
CV AV
Manuel Ramíro Sànchez                     $495,000.00                       (No preference claims)



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Prosedora De Alimentos                  $1,000,000.00                      (No preference claims)

Texas G&S Investment                       $54,844.52       12/7/2022 (7386)          $31,880.97
                                                            12/23/2022 (7439)         $26,525.19
                                                            TOTAL Texas G&S Pref: $58,406.16
TOTAL General Trade                           POCs                    Total Class 11 Preferences
Claims                            $1,914,699.06Amo                        $253,306.55314,994.66
                                                 unt
                                       $3,741,160.88

    H. Class 11 – Unsecured Claims of Harco and GrainChain, Inc. (Impaired)

               Class 11 To sum up, the Total Unsecured Claims (Classes 8 through 11) consisting
of Class 8 (Unsecured Bean Claims in the estimated total amount of $2,240,600.24 with an
estimated total Preference Amount of $1,073,007.02); Class 9 (Unsecured Farmers’ and Grain
Claims in the estimated total amount of $3,698,466.41 with an estimated total Preference Amount of
$4,526,018.95); Class 10 (Administrative Convenience Class in the estimated total amount of
$90,101.12 with an estimated total Preference amount of $354,956.20); and Class 11 (General Trade
Claims in the estimated amount of $3,741,160.88 with an estimated total Preference Amount of
$314,994.66) together add up to $9,770,328.65 with an estimated Total Preference Amount of
$6,268,976.83.
When we add Secured Creditors and TDA Surety Bonds, here’s a concise summary of all potential
preferences.
                                                    Claim Amount            Preference Amount
TOTAL Vantage and StoneX                                     POCs                    Preferences
                                                    $28,250,121.88                $6,162,339.44
TOTAL Farmers (Class 9)                                                              Preferences
                                           $3,509,951.12 (POC) +         $3,896,715.69 (POC) +
                                          $188,515.29 (no POC) =        $629,303.26 (No POC) =
                                                   $3,698,466.41                  $4,526,018.95
TOTAL Beans (Class 8)                                                                Preferences
                                          $1,623,028.00 (POC) +            $917,189.27 (POC) +
                                         $617,572.24 (No POC) =           $155,817.75 (No POC)
                                                   $2,240,600.24                  $1,073,007.02
TOTAL Other/General Trade                                                            Preferences
Claims (Class 11)                         $1,659,003.06 (POC) +            $256,588.50 (POC) +
                                         $2,082,157.82 (No POC)          $58,406.16 (No POC) =
                                                 = $3,741,160.88                    $314,994.66
TOTAL Administrative                         $57,565.15 (POC) +                      $0 (POC) +
Convenience Class (Class 10)              $32,535.97 (No POC) =           $354,956.20 (No POC)
                                                      $90,101.12                  = $354,956.20

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 TOTAL GrainChain                                                  POC                               Preference
                                                          $7,841,054.99                           $1,515,612.47
 TOTAL TDA Surety Bond                                            POCs                               Preference
 Claims                                                   $2,402,704.00                                    D/K
 TOTAL                                                   $48,264,209.52                          $13,946,928.74



              (IV)     UNSECURED CLAIMS OF HARCO AND GRAINCHAIN, INC.
                                       (Class 12)

         L.          Class 12 – Unsecured Claims of Harco and GrainChain, Inc. (Impaired)


        Class 12 is a category of unsecured claims Unsecured Claims that is separate from Classes 7,
8, 9, 10 and 911. Class 1012 consists of the Unsecured Claims of Harco National Insurance
Company (“Harco”) whowhich has filed a claimProof of Claim in the amount of $2,402,704.00
(POC #44 filed 6/20/2023) for surety bondsthe full amounts due on the TDA Surety Bonds, general
indemnity agreement, and of GrainChain, Inc. (“GrainChain”) who7 which has filed a claimProof
of Claim in the amount of $7,841,054.99 (POC #42 filed 6/19/2023) for factoring Agreements,
indebtedness owed, and). The Plan Allows Harco Claim in full upon Harco’s vote to accept the Plan
treatment.

        Harco’s obligation on these Bonds is limited to the face amount of the Bonds to pay for lost
grain handled by or in storage from time to time related to the respective elevators. It has been
disclosed that the Debtor’s operations caused grain stored in various Bonded elevators to be
transferred between Bonded elevators and as a result co-mingled with grain in all other Bonded
elevators, and in most all instances, finally transferred and comingled at the Progreso Elevator for
sale to Mexico, most always the best market for grain sales.8 This Plan treats all Harco Bonds and
all Debtor’s Harco Bonded Elevators as effectively combined; that is the aggregate amount of the
Bonds are treated as applicable to the aggregation of the Elevators Bonded. Any claim by a Creditor
as to any elevator will be deemed to apply to all Elevators and all Bonds.

        TDA Surety Bond claims may only be made pursuant to the Texas Statutes applicable to the
delivery of grain to a Bonded Elevator for hire; provided, however, any claims to a right to payment
on any Harco Bond and not made pursuant to this Plan provisions allowing Creditors to assign their
claims, without warranty of any kind, to StoneX, shall constitute and be deemed an opt-in of the


7        GrainChain asserts a claim in the amount of $7,841,054.99 (POC #42 filed 6/19/2023) for factoring financing of
Grain purchase agreements, indebtedness owed, and claims against the Debtor, including but not limited to, conversion,
breach of contract, misrepresentation, and/or breach of fiduciary duty.
8        Likewise, none of the Harco Bonds restricted transfer to elevators covered by other of the Harco Bonds and the
Harco Bonds in total cover less than 15% of what has been discovered as missing or lost grain which likely exceeds $20
million.


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Unsecured Class of Creditors entitled to all distributions provided herein, but not Distributions from
the Harco Bonds. Any creditor electing to opt-out of Distributions from the Unsecured Class of
Creditors must look to the Harco Bonds for payment as an exclusive remedy against the Debtor, or
Harco.

        Additionally, TDA may take the position that simple delivery of grain for sale to a Bonded
Facility without requesting any “for hire” services entitles the delivering party (generally a farmer)
to a claim on the Harco Bond (which unsecured claims are estimated in this case to exceed $25
million). Any Harco Bond claim resulting from an opt-out vote of any Creditor shall be administered
as the TDA requires or allows.

        Finally, a strict reading of the Texas bonding statutes may limit claims on the Harco Bonds to
only those Creditors that delivered grain to an elevator “for hire” of some service – storage,
handling, sale, etc. and subsequently suffered a lost. In fact, if that is the proper statutory reading,
only holders of the outstanding approximately $24 million Warehouse Receipts issued by the Debtor
(with less than $7 million in actual grain inventory) will be entitled to TDA Surety Bond Claims. If
litigated in a state court proceeding or a state court receivership, resolution of this dispute will be
delayed a number of years, not including but not limited to, conversion, breach of contract,
misrepresentation, and/or breach of fiduciary dutyappeals.

TheTreatment of Unsecured Claims of Harco:

       To resolve these issues as among the TDA, Harco, and the various claimants and avoid
multi-years litigation, the Debtor proposes the following solution to resolve all unsecured claims
(which includes the Unsecured Claims section described above, plus the unsecured portions of
Harco’s and GrainChain’s claims):
   • Since GrainChain and Elkins Grain Company (“Elkins”) are leasing the Edcouch (i.e., the
       grain elevator facility owned by the Debtor located at the municipal address of 624 W.
       Missouri, Edcouch, Texas 78538) and Progreso Facility (i.e., the grain elevator facility
       owned by the Debtor located at the municipal address of 707 S. Int’l Blvd., Progreso,
       Hidalgo County, Texas), as set forth in the Operating Agreement between the parties, and

        1.      Harco’s filed Proof of Claim (POC #44) shall be allowed in full.
2.       GrainChain, Harco and General Unsecured Claims (subject to the 3-year subordination of
Harco Claims Dividends) each will receive under the Plan (from Net Operating Profits and Plan
Trust or GrainChain real property sales) under the Plan Distributions according to the following
percentages mutually agreed between all partiesParties described herein: GrainChain 45% of the net
proceeds from sale proceeds of encumbered real estate and net profits; Unsecured Claims 4045% of
the net proceeds from the sale of encumbered real estate and 55% of the net profits for three (3)
years and 4045% beginning on the fourth (4th) year; Harco 15%ten percent (10%) of net proceeds of
all sold Plan Trust real estate, and ten percent (10%) of the proceeds of the sale of encumbered real
estate, and 15% of the net profits staring in the fourth year.


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        Under the Plan, the Debtor will give these parties according to their respective percentages
               as part of settlement against those(4th) and continuing through the fifth (5th) year and
               final New Co. disposition of Harco’s interest in New Co.’s encumbered assets. But
               for the first three years, Harco will be subordinated until such time as their claim is
               fully liquidated and the amount is established by the claims reconciliation process or
               by the agreement of the parties.
Treatment:

Class 11 Claims will be treated as follows:

    a. Upon confirmation of the Plan of Reorganization GrainChain shall exclusively control the sale
       and management of all assets of the Reorganized Debtor not otherwise conveyed into the Plan
       Trust.

    b. Upon completion of the payments to the General Unsecured Creditors GrainChain will own
       100% of the equity of the Reorganized Debtor.

    c. The Debtor and its insiders and their affiliates cannot be involved in any grain transactions
       outside of the operations of the Reorganized Debtor until the unsecured creditors are paid in
       full, and such non-competition agreements must be signed at confirmation binding all the
       requisite parties to not compete with Reorganized Debtor.

    d. All property of the Reorganized Debtor not otherwise liquidated by the provisions of the Plan
       of Reorganization shall be free and clear of all liens, claims, interests and encumbrances,
       including the asserted claims of GrainChain, save and except for those liens specifically
       identified and contemplated under the terms and provisions of the plan of reorganization.

    e. The tax basis of all assets of the Reorganized Debtor will be determined by the professionals
       of the estate so as to minimize any tax consequences of the sale of estate assets or assets of its
       related entities so the maximum amount possible can be paid to GrainChain and the holders
       of General Unsecured Creditors as contemplated under its terms and provisions.

    f. Any sale of an asset of the Reorganized Debtor will consider appropriate capital gains taxes
       that the Reorganized Debtor must pay and all allocation and splitting of the sale proceeds
       with respect to net sale proceeds shall only be distributed after applicable capital gains taxes
       and costs of sale are paid in full.

    g. The division and distribution of profits of the Reorganized Debtor shall be in accord with the
       provisions established for the split of profits in the Operation Agreement approved by the
       Bankruptcy Court whereby GrainChain, Harco National Insurance Company (“Harco”), and
       the General Unsecured Creditors each receive their respective share of the profits from the
       operations of the Debtor in relation to the amount their claims constitute a percentage of the
       total amount of the General Unsecured Class. In this regard, the total amount of unsecured
       claims is estimated to total $17,284,000 while the claims of the General Unsecured Creditors

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       are estimated to total $7,038,659.27 (40%), Harco’s unliquidated and contingent subrogation
       claim tied to the payment of the surety bonds it granted to the Texas Department of
       Agriculture (“TDA”) is estimated to total $2,402,704.00 (15%), and GrainChain’s unsecured
       claim in the amount of $7,841,054.99 (45%).

    h. A specific provision of the Plan of Reorganization shall be that upon the entry of the
       confirmation order the claims asserted by the estate contesting the nature, extent and validity
       of the liens of GrainChain against certain assets of the estate and its related entities as well as
       any other claims or causes of action the estate may be entitled to assert against GrainChain
       shall be fully compromised and settled in exchange for the commitment by GrainChain to
       provide post-confirmation financing to the Reorganized Debtor and its agreement to release
       and declare null and void its liens asserted against the Progreso Facility, the Edcouch Facility,
       the Moore Farms tract, the Emory Farms tract, and the Baryta Industrial tract. The Progreso
       Facility, the Edcouch Facility, the Moore Farms tract, the Emory Farms tract, and the Baryta
       Industrial tract are collectively referred to herein as the Contested Lien Tracts (“Contested
       Lien Tracts”).

    i. In consideration of GrainChain’s agreement to release its asserted liens against the Contested
        Lien Tracts, and in consideration of the estate’s agreement to release any claims or causes of
        action it may hold against GrainChain, the provisions of the Plan of Reorganization shall
        provide that GrainChain, the General Unsecured Creditors, and Harco are each granted a lien
        against the Contested Lien Tracts in the amounts of their respective percentages – i.e.
        GrainChain a 45% lien to secure the payment of its claim of $7,841,054.99, the holders of
        General Unsecured Claims a 40% lien to secure the payment of its estimated claims of
        $7,038,659.27, and Harco a 15% lien to secure the payment of its contingent unliquidated
        claim in the amount $2,402,704.00.

    j. General Unsecured Creditors shall receive a minimum profit distribution of $250,000 annually
       or their percentage of the net profits, whichever is greater, and such net profits are to be paid
       over to the Plan Trust. Upon the distribution of the net profits to the Plan Agent the lien
       securing their claim shall be reduced by a dollar-for-dollar credit, and its percentage share of
       the net profits shall be reduced proportionately. The Plan Agent shall pay over the net
       proceeds to the holders of the General Unsecured Claim at least once annually.

    k. Since Harco’s claim is contingent and unliquidated Harco shall not participate in a share of the
       net profits of the Reorganized Debtor for the first three (3) operating years of the Plan
       (meaning 2023, 2024, and 2025). Thereafter, it shall be entitled to have its share of the net
       profits paid over to the Plan Trust, that is, the amount its allowed claim bears to the remaining
       claims of the Unsecured Creditors and the 45% claim of GrainChain, and the Plan Agent shall
       annually distribute the funds to Harco.

    l. GrainChain will expeditiously market and seek to sell the Emory Farms tract and the Baryta
       Industrial tract (“Debtor Non-Operational Assets”), and the net sales proceeds from the sale
       of the Debtor Non-Operational Assets are to be paid over to the Plan Trust – 40% to be held
       for payments to holders of General Unsecured Claims and 15% for the benefit of Harco. It

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       being understood that the Plan Agent shall distribute these proceeds to the holders of General
       Unsecured Claims at least once annually and that the 3-year moratorium on the distribution of
       net profits to Harco from operations shall not apply to its percentage of the distribution of the
       net sales proceeds from the sale of the Debtor Non-Operational Assets. It being understood
       that the distributions of the percentage of net sales proceeds shall not affect the respective
       percentages to which the General Unsecured Creditors and Harco are entitled to share in any
       future sales of the Debtor Non-Operational Assets or any sales of the other assets of the
       Reorganized Debtor.

    m. The insurance funds paid to the Debtor for the repair of the Progreso and Edcouch Facilities
      shall be used by the CRO to fully repair and put in good order the two grain elevator facilities
      so they are fully operational. These grain elevator facilities shall continue to be leased to
      Elkins Grain Company and their operations financed by GrainChain in accord with the
      provisions of the Operating Agreement approved by the Bankruptcy Court. In this regard,
      Elkins Grain Company in cooperation with GrainChain agree to use their best good faith
      efforts to operate the facilities using the best management and storage practices recognized to
      be prudent and efficient in the grain industry so that they can endeavor to produce the
      maximum profits possible from their operations.

        3.      As to Plan Trust Asset and Properties (excluding the New Co. encumbered assets), if
                as and when sold at any time after the Effective Date, Harco shall receive its ten
                percent (10%) pro-rata portion through and including any property sales after the end
                of the fifth year as provided in the Plan.

Alternative Treatment:
       Harco has filed its proof of claim and is entitled to vote to accept or reject this Plan, and
otherwise may object to this Plan treatment. In the event that Harco votes to reject the Plan, the
Debtor invokes 11 U.S.C. § 1129 to confirm the Plan over dissenting votes. However, in the event
Harco objects to the Plan treatment, the following Plan Terms Apply:


             a. Harco must file a written objection to the Plan timely in accordance with the
                objection deadlines set by Bankruptcy Court Order;
             b. Upon the filing of a Harco Objection, the Debtor shall be deemed to a have, without
                further pleading, filed a Motion to invoke the Adversary Rules of Procedure to the
                Objection, to all responses or intervention pleadings, to the discovery provided
                below, and to the testimony and evidence her or admitted, as well as any ruling and
                any appeal from any such ruling.
             c. Filing of the Objection must also include any response of Harco or reply to the Plan




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                   provisions that invoke the Adversary rules to any such Harco Objection;9 and
              d. Debtor and Creditors or Parties in Interest desiring to reply must timely file
                 responses to the Harco Objection in accordance with the objection deadlines set by
                 Bankruptcy Court Order;
              e. The Debtor and Harco shall be entitled to limited discovery prior to the confirmation
                 hearing consisting of one deposition each of a corporate representative including a
                 reasonable request for production of documents; and
              f. At the Confirmation hearing, as scheduled by the Bankruptcy Court, the Bankruptcy
                 Court shall hear evidence and arguments of counsel and determine the Harco
                 Objection.

                                   ARTICLE IVVII
                      TREATMENT OF CLAIMS OWNED BY THE ESTATE

      The Debtor has initiated one adversary proceedingAdversary Proceeding based upon
fraudulent conveyance and preference actions against a former owner of the Debtor, and two
Adversary Proceedings to collect outstanding accounts receivable from purchasers of grain.

      Except as settled prior to or as a part of the Plan, all preference claimsPreference Claims
pursuant to Section 547 of the Bankruptcy Code, all fraudulent transfer claimsFraudulent Transfer
Claims pursuant to Section 548 of the Bankruptcy Code, all claims relating to post-petition
transactionsPost-Petition Transactions under Section 549 of the Bankruptcy Code, all claims

9         The single distinction between the merits of a core proceeding and an adversary proceeding is the scope of the
application of Part VII of the rules. Invoking the adversary rules in a contested matter, in lieu of filing an adversary
proceeding in specific circumstances, frequently occurs to facilitate the litigation procedure of the parties and resolve any
issue of how to proceed. See, e.g., In re Zohouri Group South Padre, L.P., WL 1856095 at *2 (Bankr S.D. Tx. 2009); In
re ElderCare, 568 F.3d 506, 61(5th Cir. 2009) [the Debtor’s request that the Court invoke the adversary rules for this
Motion as authorized by Federal Rules of Bankruptcy Procedure 8011 and 9014 was granted in declaratory judgment
cause of action involving objection to proof of claim, declaratory relief, and the related motion to assume executory
contract]. Rule 9014(c) provides in part:
          “Except as otherwise provided in this rule, and unless the court directs otherwise, the following rules
          shall apply: 7009, 7017, 7021, 7025, 7026, 7028-7037, 7041, 7042, 7052, 7054-7056, 7064, 7069, and
          7071. . . . The court may at any stage in a particular matter direct that one or more of the other
          rules in Part VII shall apply.”
See, e.g., In re Adam Aircraft Industries, Inc., 2009 WL 2100929 (Bkrtcy. D.Colo., 2009) at *7 [although Rule 7023
does not appear in the adversary rules that “shall apply to contested matters” under Rule 9014, “[t]he court may at any
stage in a particular matter direct that one or more of the other rules in Part VII shall apply.” FED. R. BANKR.P.
9014(c).] There are a number of reported cases where various Part VII rules have been made applicable to contested
matters. See, e.g., In re Kerlo, 311 B.R. 256 (Bkrtcy. C.D.Cal., 2004) [FRBP 9014(c) also provides that other adversary
rules may be applied to contested matters upon notice and order from the court. Therefore, a court order applying FRBP
7070 is a necessary step in obtaining relief under FRBP 7070 in a contested matter]; In re MacDonald. 326 B.R. 6
(Bkrtcy. D.Mass., 2005); Reid v. White Motor Corp., 886 F.2d 1462, 1470-72, (6th Cir. 1989) (claimant should move for
permission to have Bankruptcy Rule 7023 made applicable to assert class proof of claim); Matter of Rimsat, Ltd., 223
B.R. 345, 346 (Bankr. N.D. Ind. 1998) (court applies Rule 12(e) to proof of claim proceeding).


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recoverable under Section 550 of the Bankruptcy Code, all claims against any third party on account
of an indebtedness or any other claim owed to or in favor of the Debtor, are hereby preserved and
will vest in the Plan Trust for enforcement in accordance with the discretion of the Plan Agent
subsequent to the Effective Date of this Plan for a period of two (2) years following the
Confirmation Order.

      This includes any claims or causes of action that the Debtor may have derivatively or
otherwise that are discovered as a result of the forensic accounting investigation being conducted by
D. Williams & Co. and Dundon AdvisorsAdvisers or otherwise revealed during the course of the
administration of the bankruptcy caseBankruptcy Case.

      Additionally, any claims or causes of action belonging to or acquired by the Debtor over the
course of the administration of the bankruptcy caseBankruptcy Case tied to or related in any way to
the surety bondsTDA Surety Bonds issued to indemnify depositors of grains from the proceeds of
surety bondsTDA Surety Bonds issued by Harco National Insurance Co. in order for the TDA to
issue public grain warehouse licenses at the locations of the various grain facilities owned or
operated by the Debtor.

        Unless expressly released by the Plan or by an order of the Bankruptcy Court, any and
all such claims and Causes of Action against third parties are specifically reserved to the Plan
Trust with authority to manage and prosecute, as the case may be, by the Plan Agent,
including but not limited to any such claims or Causes of Action relating to any counterclaims,
demands, controversies, costs, debts, sums of money, accounts, reckonings, bonds, bills,
damages, obligations, liabilities, objections, legal proceedings, equitable proceedings, and
executions of any nature, type, or description, avoidance actions, preference actions,
fraudulent transfer actions, strong-arm power actions, state law fraudulent transfer actions,
improper assignment of interest, negligence, gross negligence, willful misconduct, usury, fraud,
deceit, misrepresentation, conspiracy, unconscionability, duress, economic duress, defamation,
control, interference with contractual and business relationships, breach of fiduciary duty,
conversion, aiding and abetting, civil conspiracy, conflicts of interest, misuse of insider
information, concealment, disclosure, secrecy, misuse of collateral, wrongful release of
collateral, failure to inspect, environmental due diligence, negligent loan processing and
administration, wrongful recoupment, wrongful setoff, violations of statutes and regulations of
governmental entities, instrumentalities and agencies, equitable subordination, debt re-
characterization, substantive consolidation, securities and antitrust laws violations, tying
arrangements, deceptive trade practices, breach or abuse of any alleged fiduciary duty, breach
of any special relationship, course of conduct or dealing, obligation of fair dealing, obligation
of good faith, malpractice, at law or in equity, in contract, in tort, or otherwise, known or
unknown, suspected or unsuspected.

                               ARTICLE VVIII
                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

     All executory contracts and unexpired leases not assumed prior to or through the Plan shall be
assumed if not previously rejected by formal order of the Bankruptcy Court.

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                                           ARTICLE VIIX
                                          THE PLAN TRUST

        The Plan Trust. The Plan Trust, duly organized under the laws of the State of Texas, is
created for the purpose of carrying out the implementation of the Plan and administration of
claimsClaims as provided herein and making the Payments or Distributions to (i) certain holders of
Allowed Unsecured Clams and (ii) settling parties who are entitled to the payment of consideration
pursuant to a compromise and settlement of claims described in the Plan. The recipients of such
distributionDistribution will be deemed Plan Trust Beneficiaries, who will be treated as grantors and
deemed owners for federal income tax purposes, are the holders of Plan Trust Interest. The Plan
Trust shall file federal income tax returns for the Plan Trust as a grantor trust pursuant to Section 671
of the Internal Revenue Code of 1986, as amended, and the Treasury Tax Regulations promulgated
thereunder. The parties shall not take any position on their respective tax returns with respect to any
other matter related to taxes that is inconsistent with treating the Plan Trust as a “Plan Trust” within
the meaning of Treasury Regulation Section 301.7701-4(d), unless any party receives definitive
guidance from the Internal Revenue Service.

        Funding of Res of Trust. . For all federal and applicable state and local income tax purposes,
all Persons (including without limitation the DebtorsDebtor, the Plan Agent and the Plan Trust
Beneficiaries) will treat the transfers and assignment of the Plan Trust Assets to the Plan Trust for
the benefit of the Plan Trust Beneficiaries as (a) a transfer of the Plan Trust Assets directly to the
Plan Trust Beneficiaries followed by (b) the transfer of the Plan Trust Assets by the Plan Trust
Beneficiaries to the Plan Trust. The Plan Trust will be treated as a grantor trust for federal tax
purposes and, to the extent permitted under applicable law, for state and local income tax purposes.
The Plan Trust Beneficiaries will be treated as the grantors and deemed owners of their allocable
portion of the Plan Trust Assets for federal income tax purposes.

       The fair market value of the portion of the Plan Trust Assets that is treated for U.S. federal
income tax purposes as having been transferred to each Plan Trust Beneficiary will be determined by
the Plan Agent, and all parties (including, without limitation, the Plan Agent and the Plan Agent
Beneficiaries) must utilize such fair market values determined by the Plan Agent for federal and
applicable state and local income tax purposes.

        The Plan Trust’s taxable income, gain, loss, deduction or credit will be allocated to the Plan
Trust Beneficiaries in accordance with their relative beneficial interests in the Plan Trust during the
applicable taxable period. Such allocation will be binding on all parties for federal and applicable
state and local income tax purposes, and the parties will be responsible for the payment of any
federal, state and local income tax due on the income and gain so allocated to them.

        Plan Agent.    Upon confirmation of the planPlan of reorganizationReorganization, the CRO
shall become the Plan Agent (the “Plan Agent”),”) and shall administer the Plan Trust in accordance
with the terms and provisions of the trust agreement as described and set forth in the Plan. The Plan
Agent shall administer the Plan Trust consistent with the terms of this Plan, Confirmation Order,

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general trust law (except as superseded by this Plan) and the Plan Trust Agreement, and shall have
all of the rights, obligations, powers and duties as set forth in the Plan, Plan Trust Agreement and
Confirmation Order.
        Plan Beneficiaries. The Plan Trust beneficiaries (the “Plan Beneficiaries”) are the holders
of Allowed Secured Claims, Allowed Unsecured Claims, Priority Claims and Administrative Claims
as set forth and described in the Plan.
        Plan Distributions. The Plan Agent shall make Distributions to the Plan Beneficiaries
annually with the first Distribution to be made on the Effective Date and on the same date every year
until the termination of the Plan Trust provided there are available funds to distribute.
        Retention of Professionals. The Plan Agent shall have the right to retain the services of
attorneys, accountants, and other professionals that, in the discretion of the Plan Agent, are necessary
to assist the Plan Agent in performance of his duties. The Plan Agent shall be permitted to use a
portion of the Plan Trust Expense Reserve to retain attorneys, accountants or other professionals that
may be necessary to evaluate and/or effectuate the liquidation of the Liquidating Assets. perform his
duties. However, after initial payments are made for retention of such professionals, any further fees
of such professionals shall be paid by the Plan Trust only after recovery and liquidation of the
Liquidating Assets has begun, and such fees shall only be paid to the extent that such fees and
expenses are related to Liquidating Assets that have actually been liquidated. the administration of
the Plan or the pursuit of causes of action owned by the Plan Trust. Subject to any further agreement
with the Professionals, the Plan Trust shall bear its own expenses. Professionals of the Debtor shall
be eligible for retention by the Plan Agent, and former employees of the Debtor shall be eligible for
retention by the Plan Trust and Plan Agent.

       Compensation of the Plan Agent.     . For services rendered by the Plan Agent in
administering the Plan Trust, the Plan Agent shall receive reasonable compensation as the Plan
Agent may agree to with the Plan Trust Board if one is formed.

        Plan Trust Expenses. Subject to the provisions of the Plan Trust Agreement, all costs,
expenses and obligations incurred by the Plan Agent in administering this Plan, the Plan Trust, or in
any manner connected, incidental or related thereto, in effecting distributions from the Plan Trust
thereunder (including the reimbursement of reasonable expenses) shall be a charge against the Plan
Trust Assets remaining from time to time in the hands of the Plan Agent. Such expenses shall be
paid as they are incurred without the need for Bankruptcy Court approval.

        Liability, Indemnification of Plan Agent. The Plan Agent shall not be liable for any act or
omission taken or omitted to be taken in his or her capacity as the Plan Agent, other than acts or
omissions resulting from such Person’s willful misconduct, gross negligence or fraud. The Plan
Agent may, in connection with the performance of his or her functions, and in his or her sole
absolute discretions, consult with attorneys, accountant and agents, and shall not be liable for any act
taken, omitted to be taken, or suffered to be done in accordance with advice or opinions rendered by
such professionals. Notwithstanding such authority, the Plan Agent shall be under no obligation to
consult with attorneys, accountants or his or her agents, and his or her determination to not do so

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should not result in imposition of liability on the Plan Agent unless such determination is based on
willful misconduct, gross negligence or fraud. The Plan Trust shall indemnify and hold harmless the
Plan Agent and his or her agents, representatives, professionals, and employees from and against and
in respect to any and all liabilities, losses, damages, claims, costs and expenses, including, but not
limited to attorneys’ fees and costs arising out of or due to their actions or omissions, or
consequences of such actions or omissions, with respect to the Plan Trust or the implementation or
administration of this Plan; provided, however, that no such indemnification will be made to such
Persons for such actions or omissions as a result of willful misconduct, gross negligence or fraud.

        Termination. The duties, responsibilities and powers of the Plan Agent shall terminate after
all Plan Trust Assets, including Causes of Action transferred and assigned to the Plan Trust, are fully
resolved, abandoned or liquidated and the Cash and other amounts held in Reserve Accounts have
been distributed in accordance with this Plan and the Plan Trust Agreement. Except in circumstances
set forth below, the Plan Trust shall terminate no later than five (5) years after the Effective Date.
However, if warranted by the facts and circumstance provided for in this Plan, and subject to the
approval of the Bankruptcy Court upon a finding that an extension is necessary for the purpose of the
Plan Trust, the terms of the Plan Trust may be extended one or more times (not to exceed a total of
five extensions, unless the Plan Agent received a favorable ruling from the Internal Revenue Service
that any further extension would not adversely affect the state of the Plan Trust as a grantor trust for
federal income tax purposes) for a finite period, not to exceed six months, based on the particular
circumstances at issue. Each such extension must be approved by the Bankruptcy Court with notice
thereof to all of the unpaid beneficiaries of the Plan Trust. Upon the occurrence of the termination of
the Plan Trust, the Plan Agent shall file with the Bankruptcy Court a report thereof, seeking an order
discharging the Plan Agent.

        Plan Trust Board. Not later than five (5) days before the Confirmation Hearing, at least
three (3) of the members of the Unsecured Creditors Committee may be designated by the
Committee to serve on the Plan Trust Board. The members selected to serve must, by that deadline,
file with the Bankruptcy Court a notice of the same, signed by the members or its counsel (and
multiple notices for multiple members may be combined into one such notice). So long as at least
three (3) members file such notices, the Plan Trust Board shall be created by this Plan. If at least
three (3) members do not timely file such notice(s), no Plan Trust Board shall be created and all
provisions of this Plan and any provisions in the Plan Trust Agreement applicable to the Plan Trust
Board shall be null and void. In the event of the death or resignation of a member of the Plan Trust
Board, the remaining members of the Plan Trust Board shall have the authority to, and shall
promptly, appoint a successor member to the Plan Trust Board, unless the remaining members
number at least three (3), in which case the remaining members may, instead, determine to not
appoint a successor member. The Plan Trust Board shall dissolve if, at any point in time, and after a
reasonable period to locate and obtain a replacement member has expired, there are fewer than three
(3) Plan Trust Board Members.

        Function, Duties and Responsibilities. The Plan Trust Board and the Plan Agent may agree
to such role for the Plan Trust Board as they find appropriate, so long as such role does not conflict
with any provision of this Plan.

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        Compensation and Expenses. The members of the Plan Trust Board shall be entitled to
reimbursement of reasonable expenses by the Plan Trust, provided, that, any such reimbursement of
reasonable expenses shall not include fees or compensation of an individual member’s attorneys or
other professionals. Such reimbursement shall be paid from the Plan Trust without further order of
the Bankruptcy Court. Members of the Plan Trust Board shall not be entitled to any other
compensation from the Plan Trust.

        Liability, Indemnification of Plan Trust Board. Neither the Plan Trust Board, nor any of its
members, or designees, nor any duly designated agent or representative or the Plan Trust Board, or
their respective employees, shall be liable for the act or omission of any other member, designee,
agent or representative of the Plan Trust Board, nor shall any member of the Plan Trust Board be
liable for any act or omission taken or omitted to be taken in its capacity as a member of the Plan
Trust Board, other than acts or omissions resulting from such member’s willful misconduct, gross
negligence or fraud. The Plan Trust Board may, in connection with the performance of its functions,
and in its sole and absolute discretion, consult with attorneys, accountants, and its agents, and shall
not be liable for any act taken, omitted to be taken, or suffered to be done in accordance with advice
or opinions rendered by such professionals. Notwithstanding such authority, the Plan Trust Board
shall be under no obligation to consult with attorneys, accountants or its agents, and its determination
to not do so should not result in imposition of liability on the Plan Trust Board, or its members
and/or designees, unless such determination is based on willful misconduct, gross negligence or
fraud. The Plan Trust shall indemnify and hold harmless the Plan Trust Board and its members,
designees, and Professionals, and any duly assigned agent or representative thereof (in their capacity
as such), from and against and in respect to any and all liabilities, losses, damages, claims, costs and
expenses, including, but not limited to attorneys’ fees and costs arising out of or due to their actions
or omissions, or consequences of such actions or omissions, with respect to the Plan Trust or the
implementation or administration of this Plan; provided, however, that no such indemnification will
be made to such Persons for such actions or omissions as a result of willful misconduct, gross
negligence or fraud.

        Privilege. All communication between the Plan Agent and the Plan Trust Board shall be
confidential and privileged by the attorney-client and the joint-interest privilege, unless a majority of
the Plan Trust Board waives the same for any given issue or actual litigation ensues between the Plan
Agent and the Plan Trust Board.

       Standing of the Plan Trust. The Plan Trust shall be deemed an independent entity and shall
have standing to sue and be sued in its own name in any court and to otherwise appear before any
administrative body, tribunal or other proceeding.

                               ARTICLE VIIX
           LIQUIDATION AS AN ALTERNATIVE TO PLAN CONFIRMATION

      The alternative to a Chapter 11 Plan of Reorganization would be a Chapter 7 liquidation,
whereby the assets of the bankruptcy estate would be liquidated and proceeds distributed to the

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Creditors. All of the Debtor’s assets are encumbered by the liens of secured creditors and upon
liquidation in a Chapter 7 it is uncertain as to whether the proceeds would extinguish the amount of
the secured claims. It is estimated by the Debtor that the liquidation value of the Debtor’s assets is
such that there would in a best -case scenario there would be only sufficient funds to pay 400.034%
of the claims of General Unsecured Creditors after the payment of all outstanding liens,
encumbrances, and administrative claims.

        However, the Debtor asserts that the proposed Plan will provide more certainty for a full pay-
out to the Creditors than the Chapter 7 liquidation alternative. Under the Plan, the impaired classes
of Creditors will receive a larger percentage of their claims as the Debtor continues to operate its
business; whereas, a Chapter 7 liquidation would yield uncertain distributions to the General
Unsecured Creditors. The Plan provides for an immediate 40% dividend to be paid to all
creditorsCreditors in the Administrative Convenience Class and a 100% dividend to the remaining
Unsecured Creditors over a 5-year period. Thus, the Plan yields a more certain payout to Creditors
than the Chapter 7 liquidation alternative.

        The risk to Creditors is minimal as the Debtor has sufficient amounts of cash flow to make
the above-mentioned payments from the Debtor’s continued operations as well as the anticipated
sale of certain real property.

                                         ARTICLE VIIIXI
                                      TAX EFFECTS OF PLAN

        An analysis of the federal income tax consequences of the Plan to Creditors, Interest Holders,
and the Debtor requires a review of the Internal Revenue Code of 1986 (the “IRC”), final and
temporary Treasury Regulations promulgated thereunder, judicial decisions and administrative
determinations of the Internal Revenue Service (the “IRS”) in effect as of the date of this Disclosure
Statement. Changes in these authorities, which may have retroactive effect or new interpretations of
existing authorities, may cause the federal income tax consequences of the Plan to differ materially
from the consequences described below. No rulings have been requested from the IRS and no legal
opinions have been requested from counsel with respect to any tax consequences of the Plan.

        No tax opinion is given by this Disclosure Statement. No representation or assurance is being
made with respect to the federal income tax consequences as described herein. The foregoing
discussion is not intended as tax advice to the Debtor’ Creditors and Interest Holders regarding the
federal income tax consequences to them under the Plan. Each Holder of a Claim or Equity Interest
affected by the Plan must consult and rely upon such holder’s own tax advisor regarding the specific
tax consequences of the Plan with respect to such holder’s claim or equity interest.

                              ARTICLE IXXII
           FEASIBILITY AND ACCOUNTING PROCESSES USED AND THE
        IDENTITY OF THE PERSONS WHO FURNISHED THE INFORMATION

        A.      FEASIBILITY

         The Debtor believes that the Plan as proposed is feasible based on the financial projections

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for the next five years as reflected in the cash flow statements to be attached hereto prior to approval
of the Disclosure Statement and the solicitations of votes for confirmation of the Plan. The cash flow
projections reflectCashflow Analysis attached to Debtor’s First Amended Disclosure Statement as
Exhibit “C” prior to approval of the Disclosure Statement and the solicitation of votes for
confirmation of the Plan. Exhibit “C” to the Disclosure Statement (Cashflow Analysis) is a five-year
(2023-2028) forecast prepared by Elkins Grain, LLC showing a projection of total revenues and
expenses, net revenues and expenses, and net income for New Co. based on all information currently
available to the Debtor as well as reasonable assumptions made under the circumstances. Based on
the Debtor’s 2023 circumstances, the Cashflow Analysis identifies five major sources of revenue for
New Co. for the next five-year period, which are the sales of cottonseed, pinto beans, black beans,
yellow corn, and sunflower. Each comes with its associated costs in addition to the indirect expenses
and administrative expenses to be incurred in order to enable New Co.’s operations. The Cashflow
Analysis projects a steady level of Total Net Revenues for each year ($60,245,086) for the next five-
year period, which is significantly higher than—in fact, more than double—the 2023 figure
($27,234,148). Likewise, the Cashflow Analysis shows a steady level of Total Commodity Gross
Profit for each year ($7,311,718) for the next five-year period, which is also significantly higher
than—and in fact more than double—the 2023 figure ($3,212,890). The Cashflow Analysis shows
increased costs and expenses; however, the five-year projections show sufficient Net Income Before
Taxes, which is projected to be more than double the 2023 figures and which the Debtor believes is
sufficient to justify this Plan.

        In sum, the Cashflow Analysis projects that the Plan Agent will be able to make the
payments contemplated under the provisions of the Plan. Therefore, based upon these financial
projections, the Debtor asserts that the Plan is feasible and is not likely to be followed by liquidation
or the need for further financial reorganization. These financial projections illustrate that New Co.,
as the successor of the Debtor, will have available the necessary cash to fund the Plan of
Reorganization after confirmationConfirmation; have the ability to generate future cash flows
sufficient to make the payments called for under the Plan and necessary to continue in business; and
other than vagaries of its operations and markets and general economic conditions there are no
factors which might make it impossible for New Co., as successor of the Debtor, to accomplish that
which it promises under the terms of the Plan or allow it to continue in business as contemplated
under the Plan.

        B.      ACCOUNTING PROCESSES USED AND IDENTITY OF PERSONS
                FURNISHING INFORMATION

       All information in the Originalthis First Amended Plan of Reorganization and this
Accompanyingits accompanying First Amended Disclosure Statement that is being filed
simultaneously has been submitted by the Debtor, unless otherwise indicated. The Debtor’s
accounting system is on a cash basis and all financial information provided herein is, therefore,
based on a cash basis accounting system as opposed to an accrual basis accounting system.

                          ARTICLE XXIII
    EFFECTS OF CONFIRMATION OF PLAN, INJUNCTION AND EXCULPATION

        Notice of the Effective Date. On or before ten (10) Business Days after occurrence of the


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Effective Date, the Plan Agent shall mail or cause to be mailed to all holders of Claims and Equity
Interests a notice that informs such holders of the following: (a) entry of the Confirmation Order; (b)
occurrence of the Effective Date; (c) the Administrative Claim Bar Date; (d) Professional Claim Bar
Date; and (e) such other matters that the Plan Agent deems appropriate.

        Binding Effect of Plan. Upon the Effective Date, the Plan and each of its provisions shall be
binding on the Committee, the Chapter 11 Trustee, the Debtor, the Plan Trust, the Plan Agent, all
Creditors, all Equity Interest holders, and all Persons acquiring property under the Plan, whether or
not they voted to accept the Plan, whether or not they had a right to vote on the Plan, whether or not
any Claim or Equity Interest held by any of them is Impaired under the Plan, whether or not any
Claim or Equity Interest held by any of them is Allowed in full, only in part, or Disallowed in full,
and whether or not a Distribution is made to any of them under the Plan.

        Vesting of Assets. Upon the Effective Date, all of the Assets shall vest in the Plan Trust.

       Discharge. Except as otherwise provided in this Plan or in the Confirmation Order, the
Confirmation of the Plan will not discharge the Debtor of any debts.

        Injunction Against Interference with Plan. Upon the Effective Date, all holders of Claims, all
holders of Equity Interests, and all other parties in interest in the Bankruptcy Cases, along with their
respective current and former officers, directors, principals, employees and agents, shall be and are
hereby enjoined from taking any action to interfere with the implementation or consummation of the
Plan, save and except for any duties and responsibilities of the members and managers of Garcia
Grain, along with the requisite authority, to prepare and file the final tax returns for the Debtor.

      Exculpation. NEITHER THE COMMITTEE, THE INDIVIDUAL MEMBERS OF THE
COMMITTEE, AND PROFESSIONAL PERSONS EMPLOYED BY THE COMMITTEE
(COLLECTIVELY, THE “EXCULPATED PARTIES”), SHALL HAVE OR INCUR ANY
LIABILITY TO ANY PERSON FOR ANY ACT TAKEN OR OMISSION IN CONNECTION
WITH OR RELATED TO FORMULATING, NEGOTIATING, IMPLEMENTING, CONFIRMING
OR CONSUMMATING THE PLAN, THE DISCLOSURE STATEMENT OR THE TRUST
AGREEMENT, EXCEPT FOR WILLFUL MISCONDUCT AND GROSS NEGLIGENCE. THE
EXCULPATED PERSONS SHALL HAVE NO LIABILITY, EXCEPT FOR WILLFUL
MISCONDUCT AND GROSS NEGLIGENCE, TO THE DEBTOR, ANY CREDITOR, ANY
EQUITY INTEREST HOLDER, AND ANY OTHER PARTY IN INTEREST IN THE
BANKRUPTCY CASES, OR ANY OTHER PERSON FOR ACTIONS TAKEN OR NOT TAKEN
UNDER THE PLAN, IN CONNECTION HEREWITH OR WITH RESPECT THERETO, OR
ARISING OUT OF THEIR ADMINISTRATION OF THE PLAN OR THE PROPERTY TO BE
DISTRIBUTED UNDER THE PLAN INCLUDING, WITHOUT LIMITATION, FAILURE TO
OBTAIN CONFIRMATION OR TO SATISFY ANY CONDITION OR CONDITIONS, OR
REFUSAL TO WAIVE ANY CONDITION OR CONDITIONS, TO THE OCCURRENCE OF
THE EFFECTIVE DATE, AND IN ALL RESPECTS SUCH EXCULPATED PERSONS SHALL
BE ENTITLED TO RELY UPON THE ADVICE OF COUNSEL WITH RESPECT TO THEIR
DUTIES AND RESPONSIBILITIES UNDER THE PLAN.

                                             ARTICLE XIV

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                                 MODIFICATIONS OF THE PLAN

        Amendments Prior to Confirmation Date. The Debtor reserve the right to amend or modify
the Plan prior to Confirmation pursuant to Section 1127(a) of the Bankruptcy Code, and the Plan, as
amended shall become the new Plan.

        Amendments After Confirmation Date. The Debtor may amend or modify the Plan before its
substantial consummation, provided that the Plan, as amended or modified, meets the requirements
of the Bankruptcy Code and the Bankruptcy Court, after notice and hearing, confirms this Plan, as
modified.

        Effect on Claims. A holder of a Claim that has accepted or rejected this Plan shall be deemed
to have accepted or rejected, as the case may be, this Plan, as modified, unless, within the time fixed
by the Bankruptcy Court, such holder changes its previous acceptance or rejection.

                                          ARTICLE XV
                                      GENERAL PROVISIONS

       Certain Rights Unaffected. Except as otherwise provided herein, any rights or obligations
which the Creditors may have among themselves as to their respective Claims or the relative priority
or subordination thereof are unaffected by this Plan.

        Incorporation of Valuation Motion. To the extent necessary to effectuate and implement the
provisions of this Plan, the Plan shall be deemed to constitute a motion for valuation under the
Bankruptcy Code, including the value of any lien, security interest, or encumbrance treated by this
Plan; provided, however, that nothing in this Plan shall alter any valuation ordered by Final Order of
the Bankruptcy Court in the Bankruptcy Cases.

       Automatic Stay. The automatic stay provided in Section 362 of the Bankruptcy Code, shall
remain in effect through the Effective Date, unless otherwise specifically modified, annulled, or
terminated by the Bankruptcy Court pursuant to a separate order, and shall terminate on the Effective
Date.

       Reservation of Rights. The Plan shall have no force or effect unless and until the Effective
Date occurs. Prior to the Effective Date, none of the filing of the Plan, any statement or provision
contained in the Plan, or action taken by the Committee with respect to the Plan shall be, or shall be
deemed to be, an admission or waiver of any rights of the Debtor or any other party with respect to
any Claims or Equity Interests or any other matter.

        Dissolution of Committee. The Committee shall continue in existence through the Effective
Date to exercise those powers and perform those duties specified in Section 1103 of the Bankruptcy
Code. Unless otherwise ordered by the Bankruptcy Court, on the Effective Date, (a) the Committee
shall be dissolved and their members shall be released of all their duties, responsibilities and
obligations in connection with the Bankruptcy Case, this Plan and the implementation of the same


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and (b) the retention or employment of the Committee’s Professionals and other agents shall
terminate.

        Rights Under 1129(b). The Debtor and Committee hereby gives notice of their intent to
seek confirmation under the cramdown provisions of Section 1129(b) of the Bankruptcy Code,
if necessary.

       Headings. The article and section headings used in this Plan are inserted for convenience and
reference only and neither constitute a part of this Plan nor in any manner affect the terms,
provisions or interpretations of this Plan.

       Severability. If any term or provision in this Plan is determined to be unenforceable, such
determination shall in no way limit or affect the enforceability and operative effect of any other term
or provision of this Plan.

        Governing Law. Except to the extent that the Bankruptcy Code is applicable, the rights and
obligations arising under this Plan and any documents, agreements and instruments executed in
connection with this Plan (except to the extent such documents, agreements and instruments
designate otherwise) shall be governed by, and construed and enforced in accordance with, the laws
of the State of Texas.

        Successors and Assigns. The rights and obligations of any entity named or referred to in this
Plan shall be binding upon, and shall inure to the benefit of, the successors and assigns of such
entity.

        Insurance. Notwithstanding anything to the contrary in this Plan, neither the Confirmation
Order nor Confirmation and consummation of this Plan shall have any effect on the insurance
policies of any of the Debtor or their current or former directors, officers or managers (including, but
not limited to, director and officer liability policies to the extent that the Debtor or their current or
former directors, officers and managers have any rights under such policies) in which any of the
Debtor or their current or former directors, officer or managers are or were an insured party or any
claim asserted thereunder. Each insurance company is prohibited from denying, refusing, altering or
delaying coverage for any Debtor (or their current or former directors, officers or managers) on any
basis regarding or related to any of the Bankruptcy Cases, this Plan or any provision within this Plan,
including the treatment or means of liquidation set out within this Plan for insured claims.

        Compliance with Regulations of the Office of the U.S. Trustee. During the pendency of these
Proceedings, the Debtor will comply with all regulations promulgated by the Office of the U.S.
Trustee, including remaining current on all quarterly fees assessed against the Estates by the U.S.
Trustee. Upon confirmation of the Plan, and until a final decree is entered in the Bankruptcy Cases,
the Plan Agent shall file the required quarterly reports and pay the fees due under the provision of 28
U.S.C. section 1930(a)(6) on behalf of Garcia Grain Trading Corp.

                                                 ARTICLE XVI

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                                     RETENTION OF JURISDICTION

       Implementation of Plan. Until this Proceeding is closed, the Bankruptcy Court shall retain
such jurisdiction as is legally permissible, including that necessary to insure that the purpose and
intent of the Plan are carried out and to hear and determine all issues at Confirmation of the Plan as
well as invoking the adversary rules of procedures in any contested matters in the sole discretion of
the Court, and thereafter to determine any Claims and Interests set forth in Article IIIVI or elsewhere
herein that could have been brought before the entry of the Confirmation Order.

       Causes of Action. The Bankruptcy Court shall retain jurisdiction to hear and determine all
Claims against the DebtorsDebtor, and to enforce all causes of action that may exist on behalf of the
DebtorsDebtor. Nothing contained herein shall prevent the Reorganized DebtorsNew Co. Plan Trust
from taking such action as may be necessary in the enforcement of any cause of action which may
exist on behalf of the DebtorsDebtor and which may not have been enforced or prosecuted, unless
satisfied herein.

       Claims Determinations. After the Effective Date, the Bankruptcy Court shall further retain
jurisdiction for the purpose of classification of Claims that have been allowed for purposes of voting,
and the determination of such objections as may be filed to Claims and Interests.

       Property Determinations. The Bankruptcy Court shall further retain jurisdiction through and
after the Effective Date for the purpose of determining all questions and disputes regarding
ownership and/or title to the assets of the Estate, or the proceeds thereof, and determination of all
causes of action, controversies, disputes concerning the DebtorsDebtor and any other party,
including, but not limited to any claim or entitlement associated with the Equity Interests of the
DebtorsDebtor or any right of the DebtorsDebtor to recover assets pursuant to the provisions of the
Bankruptcy Code and to adjudicate all Claims or controversies arising out of any purchase, sale or
contract made or undertaken by the Debtors or the Debtors corporationDebtor with respect to this
Proceeding, the terms or actual implementation or enforcement of the Plan.

       Other Post-Confirmation Matters. The Bankruptcy Court shall further retain jurisdiction
for the following purposes through and after the Cash Distribution Date:


              (a)    To modify the Plan after Confirmation pursuant to the Bankruptcy Rules and the
                     Bankruptcy Code;

              (b)    To assure the performance by the Reorganized Debtors of its obligations under
                     theNew Co., GrainChain, or any obligation undertaken by any term or any party
                     to this Plan;

              (c)    To enter such orders, including injunctions, as are necessary to enforce the title,
                     rights, and powers of the Reorganized DebtorsNew Co. and to impose such
                     limitations, restrictions, terms and conditions on such title, rights and powers as

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                     the Bankruptcy Court may deem necessary;

              (d)    To enter an order concluding and terminating this Proceeding;

              (e)    To correct any defect, cure any omission, or reconcile any inconsistency in the
                     Plan or the Confirmation Order as may be necessary to carry out the purposes
                     and intent of the Plan or to declare the effect or performance of or under any Plan
                     term;

              (f)    To decide issues and Claims concerning all tax liabilities which arise in
                     connection with or related to the DebtorsDebtor, this Proceeding or the Plan,
                     including, without limitation, to hear and determine matters concerning state,
                     local and federal taxes pursuant to Sections 346, 505, 506, 507, 523, and 1146 of
                     the Bankruptcy Code;

              (g)    To hear and determine any action or proceeding brought by the Reorganized
                     DebtorsNew Co. pursuant Sections 510, 542, 543, 544, 545, 547, 548, 549, 550,
                     551 and 553 of the Bankruptcy Code;

              (h)    To resolve any disputes arising from distributions made pursuant to the Plan, and
                     adjudicate all controversies concerning classification or allowance of any Claim
                     or Interest;

              (i)    To hear and determine all Claims arising from the rejection of Executory
                     Contracts and Unexpired Leases and to consummate the rejection and
                     termination thereof, and further, to hear and determine all matters relating to the
                     assumption of Executory Contracts and Unexpired Leases;

              (j)    To liquidate damages or estimate Claims in connection with disputed, contingent
                     or unliquidated Claims;

              (k)    To hear and determine all actions brought by or against the Reorganized
                     DebtorsNew Co. arising in or related to this Proceeding or arising under the
                     Bankruptcy Code in its performance under the Plan;

              (l)    To hear and determine all requests for compensation and/or reimbursement of
                     expense that may be made after the Confirmation Date.




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      The Debtor requests all creditors vote in favor of confirmation of the Plan. In order to pursue
a cram-down confirmation under the provisions of 11 U.S.C. § 1129(b) the Debtor invokes the
Federal Rules of Bankruptcy Procedure governing adversary proceedings.

Dated: November 8, 2023


                                                  Respectfully submitted,

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                                                  By__/s/ David R. Langston________________
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                                                  Corporation




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